~ OP>LANES” Case 8:22-cv-02597-DKC Document 61-9 Filed 10/30/23 Page 1 of 82
Gk DHL RNG iis MED Mg ged Lanes Sud FINAL ENVIRONMENTAL IMPACT STATEMENT

VILLAGE OF NORTH CHEVY CHASE
September 21, 2020
Response to DEIS Comment #1
Testimony to Federal Highway Administration (FHWA), the Maryland Department of Transportation (MDOT), Thank you for your comment concerning impacts to the Village of North Chevy Chase. As described in the Supplemental
the State Highway Administration (SHA) and the Maryland Department of the Environment (MDE) DEIS, the Preferred Alternative was identified after coordination with resource agencies, the public, and stakeholders to
respond directl i id di i ignifi i

As part of public testimony in response to the |-495/I-270 Managed Lanes Study Draft Environmental Impact p y to feedback received on the DEIS to avoid displacements and impacts to significant environmental

#1 Statement (DEIS) and as residents and elected officials of the Village of North Chevy Chase, we would like to resources, and to align the NEPA approval with the planned project phased delivery and permitting approach which focused
reiterate the Village's significant concerns about any expansion of !-495, including use of MD-185 (Connecticut on Phase 1 South only. The Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes on 1-495 in
Ave) for toll lane access. While our community abuts the portion of |-495 that has been slated for Phase I! of each direction from the George Washington Memorial Parkway to west of MD 187 and conversion of the one existing high-
any potential project, given that the DEIS addresses both phases of the project, we would like to speak to our on: rete | . divest 1-270 t HOT ma dls a addi Hal ewavewedt leece h
ongoing concern about the potential environmental impacts arising from the proposed public-private DEMP SOY VERS JERS H-GAen recren OF a nage HE ANG SEGINg ONE ew nage Fe) ah
partnership structure and potential environmental impacts for our community and the region as a whole of any direction on |-270 from I-495 to north of I-370 and on the I|-270 east and west spurs. The Preferred Alternative includes no
|-495 expansion. action or no improvements at this time on I-495 east of the I-270 spur to MD 5 in Prince George's County. See Figure 1-1 in
As you can imagine, our community and numerous others are highly skeptical of the proposed public-private the FEIS. The potential impacts raised in your comment had been identified in the DEIS related to build alternatives that
partnership in which any proposed construction of |-495 and |-270 would take place. The recent contract would have spanned the entire study area. Because the Village of North Chevy Chase is located outside the Preferred
hagotiations with the Purple Line Transit Partners have highlighted the significant risks to taxpayers in such Alternative limits of build improvements, those impacts have now been completely avoided. Any future proposal for
arrangements, including the possibility of significant environmental disruption for a project that may ultimately ‘ 5 Sid nn 2
fail to be constructed. While State officials and planners have highlighted that there will be no cost to improvements to the remaining parts of |-495 within the study limits, outside of Phase 1 South, would advance separately
taxpayers for the beltway project, utility companies such as WSSC have calculated that it could cost up to $2 and would be subject to additional environmental studies, analysis, and collaboration with the public, stakeholders, and
billion to move pipes and infrastructure to accommodate the planned widening of |-270 and |-495, which could agencies.
add thousands of dollars to residents’ utility bills and which infrastructure relocations themselves could have
serious environmental impacts unaddressed at all in the DEIS. Of particular concern is how any contract Refer to Chapter 9, Section 3.5 for a response to the P3 Program and Project Cost.
would be structured to ensure that the winning bid adheres to the State's environmental requirements and
critically, property acquisitions and relocations. Once control of the project shifts from government authorities to Refer to Chapter 9, Section 3.7 for a response to comments related to public involvement and engagement.
private contractors, the ability to ensure that environmental concems rather than the economic self-interest of
those private contractors are fully taken into account is a paramount concern, yet this is in no way addressed in Refer to Chapter 9, Section 3.1 for a response on Purpose and Need and effects of the Pandemic.
the DEIS document.
Our community is also gravely concerned about the total lack of transparency in the project to date. The study
notes that the 6 alternatives beyond No Build all involve widening the pavement of |-495. The Village has
residents whose property abuts the beltway as well as MD-185/Connecticut Avenue leading to the |-495 on
ramp. Residents of the Village of North Chevy Chase received letters from State Highway Administration in
November 2019 notifying them that SHA would be accessing their private property to “complete field research
and survey activities” as part of the |-495 & |-270 P3 Program. Despite our efforts, including State Delegates’
efforts, to receive information from SHA on which properties received the letters to better understand the
breadth of the survey, SHA would not disclose the information, citing an act meant to protect citizens’ personal
data. Adding to the perception of opaque decision making is giving individuals and communities a relatively
limited time period (originally 90 days and only recently extended to 120 days) to absorb and assess an
18,000-page technical document in the middle of a pandemic.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-342

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Comments addressed above.

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#1 We are very concerned about proposals to utilize Connecticut Ave (MD-185) as an on ramp to proposed toll
Cont lanes. While SHA is currently undertaking improvements to the intersection of Connecticut Ave and Jones
Bridge Rd as part of the overall BRAC project, there is significant congestion throughout the area during the
day, with virtually no opportunities to expand the streets further given the dense population of the area. The
community has already suffered from significant canopy loss due to Purple Line construction as well as large
multi-family complexes such as Chevy Chase Lake, impacting the area's air quality and storm water
management capacities.

We strongly encourage you to revisit the alternatives beyond the No Build in the Managed Lane Study to draw
lessons from the COVID-19 pandemic and its effects on traffic patterns. The notable reduction in traffic along
|-495 and |-270 during the pandemic highlights opportunities to more fully take account of the manner in which
virtual work and staggered work hours at businesses and government offices throughout the area will affect
future travel volumes and density. Rather than looking forward to an honest assessment of future
transportation needs and how best to meet them, it appears as though the impetus for this project is focused
on a rear-view mirror assessment of problems that are in no way related to the traffic situation and
transportation needs likely to be present over the next 20 years. Avoidance of unnecessary and harmful
environmental impacts for a project that is ill-suited to meet the actual transportation requirements of the next
quarter century should be a paramount priority for all those involved. Governor Hogan and Governor Northam
have cooperated on proposals for expansion of the American Legion Bridge — it would seem beneficial for
them to combine efforts in looking more thoroughly at no build alternatives as well for the region as a whole.
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Sincerely,

Council of the Village of North Chevy Chase
Adrian Andreassi, Chair

Brian Hoffner, Vice Chair

Maury Mechanick, Secretary

Chas Stuart, Treasurer

Ronald Jones, Member

cc: Maryland House of Delegates Representatives Carr, Shetty and Solomon
Maryland State Senator Waldstreicher
Montgomery County Executive Elrich
Montgomery County Council Representatives Friedson, Albornoz, Glass, Jawando and Riemer
U.S. Congress Representative Raskin
U.S. Senators Cardin and Van Hollen
Maryland Governor Hogan
Maryland Comptroller, Peter Franchot
Maryland Treasurer Kopp

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-343

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1
#2
#3
#4

WASHINGTON BIOLOGISTS’ FIELD CLUB — ALBERT MANVILLE

From: Albert Manville <amanville634@gmail.com>
Sent: Monday, November 9, 2020 5:01 PM
To: MLS-NEPA-P3
. Albert Manville; Albert Manville
Subject: Testimony from a WBFC Member on I-485 & I-270 DEIS
Attachments: DEIS Plummers Island Comments-Final.docx

Dear Officials at the Maryland Department of Transportation:

Kindly accept my following comments as a member in good standing of the Washington Biologists’ Field Club, and our
cabin and Plummers Island property donated to the National Park Service. Thank you. -AMM-

Albert M. Manville, II, Ph.D, C.W.B., and WBFC Member
2124 Greenwich Street
Falls Chureh, VA 22043

November 9, 2020

(DEES Phase: and Comments-Find docx}

Attn: Ms. Lisa B. Choplin

DBIA, Director, 1-495 & 1-270 P3 Office
MDOT State Highway Administration
707 N, Calvert Street

Baltimore, MD 21201 VIA Email

Dear Ms. Choplinand MDOT Officials:

Asa ber in good ding of the Washington Biologists’ Field Club (WBFC; official website https://WBFC science) since 1991, | submit for
the record the following comments opposing the [1-495/1-270 DEIS, and kindly request that you accept my brief ec ts for the administrative

record,

My positions on the DEIS: Asa Ph.D. certified wildlife biologist, former Federal environmental/wildife official, long-standing member of the
WBEC and former chairman of the Centennial Committee, and current graduate university program instructor, |

L. ppose this highway expansion project including the portion of the project calling for expansion of the American Legion Bridge;
[_ 2. strongly support the no build option;
3.___find none of the other DEIS alternatives acceptable; and

rT find the DEIS legally deficient, faulty, and incomplete — including but by no means limited to:

« — destruction of Maryland State Park and National Park Service parklands and wetlands;

© — destruction of the Rock Run Culvert which will totally disrupt the biological and physical integrity of Plummers Island,

*  acomplete failure to understand the biological and historical research significance of Plummers Island and the adjoining parklands which
WBFC members and others have been studying and publishing on for more than 120 years;

©  agrossly incomplete and inadequate analysis of the Island’s wetland and rare plant communities (some surveyed at inappropnate seasonal
times, lacking robust survey protocols);

« the failure to include any alternatives to condemmng part of Plummers Island for the Cabin John Bndge expansion;

e a failure to include additional transportation options such as electric buses, light rail expansion, new high occupancy vehicle requirements,
or other environmentally-friendly alternatives,

*® massive costs, almost certain massive cost-overruns (think the Purple Line experience), and high toll prices (think VA 1495 and 166 peak
toll costs), and cost overruns which will be passed on as additional taxes and fees to the taxpayers;

« = the complete failure to senously consider let alone address massive traffic congestion, gndlock and wasted fuel (think pollution,
greenhouse gases, and climate change) during the projected 5-10 years of construction, or longer, with no discussion on reducing highway
use rather than increasing it — ultimately resulting in no-net change in gridlock and congestion, and

e the failure to include these and other issues as part of the cumulative impacts analysis in the DEIS National Environmental Policy Act
(NEPA) review. This incomplete and inadequate NEPA review and analysts in the DEIS, including reduced traffic consequences from the
current Covid-19 pandemic, makes it impossible for all the affected agencies to assess overall impacts, let alone_for the public to review
and comment on those impacts. Once the EIS is final, it will be too late to assess these issues.

Brief Discussion: | ama Ph.D- professional wildlife biologist by training, certified by The Wildlife Society, and retired in 2014 as a Senior
Wildlife Biologist for the Division of Migratory Bird Management (DMBM), U.S. Fish & Wildlife Service (USFWS), Washington DC headquarters
office, after 17 years with DMBM. [| was my agency’s national lead on all things human-related impacting migratory birds, including tree cutting,

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Response to DEIS Comment #1

MDOT SHA and FHWA appreciate your comment on the proposed action. As a result of the NEPA process, including
consideration of all public, stakeholder and agency comments concerning the project, MDOT SHA and FHWA have identified
Alternative 9 — Phase 1 South as the Preferred Alternative giving consideration to economic, environmental, technical, and
other factors as detailed in the SDEIS and FEIS.

Response to DEIS Comment #2

NEPA’s CEQ regulations require every environmental impact statement to include a No Build Alternative for detailed
assessment. The No Build Alternative serves as a baseline alternative for comparison to all proposed action alternatives. For
the Study, the No Build Alternative does not include any improvements to |-495 and |-270 but does reflect all other
multimodal transportation initiatives and projects included in the “Visualize2045” plan adopted by the Metropolitan
Washington Council of Governments (2018). See DEIS, Chapter 2, Section 2.3. Based on a comprehensive review of regional
demographics and traffic data, the No-Build Alternative would not address any of the significant operational issues under
existing conditions and fails to accommodate any of the congestion relief metrics established for evaluating all Build
Alternatives. See DEIS, Chapter 3 and DEIS Appendix C. For a discussion of the basis for the Purpose and Need and for the
Selection of the Preferred Alternative, please see related Common Theme Responses and the SDEIS and FEIS.

Response to DEIS Comment #3
Refer to Chapter 9, Section 3.3.A for a response to Analysis of Alternatives Retained for Detailed Study.

Response to DEIS Comment #4

Wetlands were delineated according to NPS requirements and RTE plant species on NPS land within the project LOD were
surveyed as part of a four-season survey coordinated closely with NPS, DNR, and VDWR. NPS reviewed the survey report and
responded that the survey and report were well done, and they had no comments.

The project has worked closely with USFWS and there is no indication that the project would result in un-permitted take of
migratory birds.

As described in Chapter 2 of the Supplemental DEIS, the Preferred Alternative includes the full replacement of the American
Legion Bridge (ALB) on I-495 spanning the Potomac River with a new, wider bridge on the existing centerline. Comments on
the Build Alternatives presented in the DEIS reflected a common support for advancing replacement of the ALB. With its
location over the Potomac River and adjacent to several federally-owned parks, MDOT SHA created a separate group (the
ALB Strike Team) whose mission was to investigate alternative bridge designs and construction techniques that could be
employed to reduce, minimize, and avoid impacts to water and parkland resources in and around the ALB. The results of the
effort are reflected in the Preferred Alternative and are the result of the coordination with key agency and public
stakeholders, including NPS, M-NCPPC, USACE, MDE, and Maryland DNR. The National Park Service properties that border
the Potomac River at the ALB include the George Washington Memorial Parkway, the Chesapeake and Ohio Canal National
Historic Park (including the Chesapeake and Ohio Canal Towpath and Plummer's Island), and Clara Barton Parkway. In
addition to these sensitive properties, there are also many construction challenges associated with replacement of the ALB,
such as access constraints. A number of bridge types and construction methods (both standard and innovative) were
evaluated during the Strike Team's analysis. A westward/upstream shift of the bridge alignment and additional phases of
construction were also evaluated for the different bridge options. These options were presented to the stakeholders and a
conventional structure was recommended that remained on the existing bridge centerline. Impacts to Plummer's Island were
significantly reduced compared to those presented for the Build Alternatives in the DEIS by strategically locating the
proposed piers for the replacement bridge and eliminating construction access from the island. In addition to a reduction of
total impacts at the bridge construction site, the Strike Team effort resulted in a reduction of the number of construction
access locations from all four quadrants, as noted in the DEIS, to the northwest quadrant only, due to its grade and proximity
to a nearby roadway. This change substantially minimized impacts to the surrounding land.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-344

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- \ OP LAN ES 1-495 & |-270 Managed Lanes Study

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FINAL ENVIRONMENTAL IMPACT STATEMENT

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road building. water diversion, bridge building and expansion, habitat destruction/degradation, and the “take” (un-permitted killing, injury, or
enppling loss) of Federally protected migratory birds — among many other issues. Un-permitted “take” (including so-called incidental or
unintentional take — which are still illegal) will most certainly occur if this road building and expansion project is approved and initiated. From
what I can tell, these issues of migratory bird “take” (e.g¢., loss of active nests, chick abandonment, hatchling starvation, and Bald Eagle disruption
and disturbance) have not been addressed in any significant detail if'at all in the DEIS, including the cumulative impacts of bird “take” under the
authority of a NEPA review.

Cumulative impacts must be evaluated in detail under an EIS through full NEPA review, and the previous bird “take” enforcement authonty under
the Obama Administration's Migratory Bird Treaty Act Solicitor’s enforcement provisions are now back in force. Under the Trump Administration's
2017 M-37050 legal opinion, most previous migratory bird enforcement provisions had been rescinded, but U.S. District Judge Valene Caprom in
her August 11, 2020, ruling reversed the Tramp decision. | was invited to provide an affidavit in this case. Now once again, un-permitted “take” of
migratory birds is a potential criminal offense, with potential legal consequences which have not been evaluated in the DEIS.

T also ama Senor Lecturer and Adjunct Professor for the Advanced Academic [Graduate] Programs, Johns Hopkins University, Washington, DC
Campus. Early on when I was a youngster, my father, the late Dr. Richard H. Manville (formerly WBFC Secretary) mentored me in the importance
of protecting this wonderful Island, and its native flora and fauna. On several occasions we overnighted at the WBFC Plummers Island cabin, and he
shared with me some of his research publications about Plummers Island and its wildlife (e.g, Manville, R.H., USFWS. 1968. Natural History of
Plummers Island, Maryland, Special Publication of the Washington Biologists’ Field Club, XX Annotated List of the Vertebrates, 44 pp., among
others).

This Island, its adjoining parklands, the history of biclogical discovery and investigation, and the flora and fauna present are incredibly important
tome. Their loss, degradation, and/or destruction will irrevocably affect my standing as a Club member and wildlife biologist who has for years
enjoyed, visited, overnighted, fished, and even swum the Potomac River from Maryland to Virginia and back. That will all change if this massive

project is allowed to proceed.
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Thank you for the opportunity for me to provide these comments on issues of great importance to me, the environment, and collectively to the
planet. Respectfully submitted,

fs!

Albert M. Manville, II, Ph.D.

Certified Wildlife Biologist (CWB), The Wildlife
Society, Senior Lecturer and Adjunct Professor, Krieger School of Arts and
Sciences, Advanced Academic Programs, Johns Hopkins University, Wash DC
Campus (21 years}, Sole Propnetor, Wildlife and Habitat Conservation Solutions LLC (registered w/
VA State Corporation Commission), and retired Senior Wildlife Biologist, Division of Migratory Bird Management, U.S. Fish & Wildlife Service, Wash. DC
HQ Office (17 years)
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It is anticipated that construction will last approximately five to six years. Details related to precisely when and where
construction related activities will occur will be determined in final design, however, the project will likely require night work
to occur when activities could not be completed safely during the day. Advanced notice of construction related activities
would be provided and all reasonable efforts to minimize impacts to residential communities would be undertaken. Impacts
associated with construction that will be further evaluated for the Selected Alternative in final design include traffic
congestion associated with construction maintenance of traffic, utility disruptions, construction vibration, erosion and
sediment and control, and construction related noise.

The management of construction impacts is addressed in an agreement between MDOT SHA and the Developer. Pursuant
to that agreement, coordination with the neighboring communities will continue through final design and construction. The
agreement includes requirements to minimize impacts to surrounding communities and the traveling public, while
completing construction as soon as possible. Work hours and duration of construction will be identified to minimize impacts
to traffic in an effort to reduce construction related congestion and in consideration of noise and vibration impacts to
adjacent communities. Construction methods and materials will comply with contract, state and federal regulation, and
environmental permits and mitigation requirements. Careful attention will be taken to assure that material placement will
occur when weather conforms to industry standards and regulation. In addition to required governmental inspections, the
Developer is required by contract to provide independent environmental, quality, and safety oversight of its contractor’s
performance. Refer to Final Phase 1 P3 Agreement, https://oplanesmd.com/p3-information/phase-1-agreement/. Once the
Developer has selected a Design-Build Contractor(s), the schedule and duration for Phase 1 South construction will be made
available to the public. Refer to Chapter 9, Section 3.4.1 for a response to construction impacts.

Refer to Chapter 9, Section 3.2.B for a response to Alternatives Not Retained for Detailed Study.
Refer to Chapter 9, Section 3.4.B for a response to traffic modeling and analysis.

Refer to Chapter 9, Section 3.1 for a response on Purpose and Need and effects of the Pandemic.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

#2

WASHINGTON BIOLOGISTS’ FIELD CLUB — ROBERT SORENG (ORAL TESTIMONY)

1-495 and |-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: Robert Soreng

Joint Public Hearing Date: 9/3/2020
Type/Session: Live Testimony/Morning
Transcription:

My name is Robert Soaring, R-O-B-E-R-T S-O-R-E-N-G. My address is 5506, Uppingham Street,
Chevy Chase, Maryland, 20815.

Can you hear me?
| am opposed to the highway expansion project. | support the No Build option. None of the
presented DEIS alternatives are acceptable. | am a professional botanist and field biologist with
a Bachelors, Masters and Ph.D in Science. I'm also a member of the Washington Biologists’ Field
Club, WBFC.science, I'm also testifying on behalf of the Washington Biologist Field Club. WBFC
purchased the property known as Plummers Island and the adjacent mainland up to the C&O
Canal Towpath in 1901 for a meeting place and research station. The Club has been meeting on
Plumbers Island continuously for nearly 120 years. The Club gave the property to the National
Park Service on July 24, 1959, with a written understanding that the Club retained the right to
maintain the island as a natural wild area for its use, for scientific research, for meetings of the
Club and to purchase, pursue the studies in field biology and natural history. The American Legion
Bridge was constructed immediately to the west of the island starting in 1962. That construction
led to many invasive plants infesting the island and disturbing the water flow to its flanking
wetlands. Plumbers Island is known as the most thoroughly studied island in North America and
perhaps the world. Since 1901, nearly 400 scientific publications have focused on the island's
biota. Birds, fish, mammals, reptiles, amphibians, plants, insects and others who'd been stated
that the Potomac Gorge is a gem among our national parks. And | would say Plumbers Island is a
crown jewel in that. The plant and animal diversity are tremendous, with many rare species and
long-term ongoing research projects. | and many other biologists have walked and observed
every nook and cranny of this topologically diverse island with its rocky hills and cliffs, including
the globally and state rare Potomac River bedrock terrace [INAUDIBLE] forest and sensitive
wetland bottoms. We love this place. Rebuilding and expanding the American Legion Bridge on

the island would destroy much of it. | and all other WBFC members beg you to preserve this
national treasure. Please visit our website WBFC.science. We will present more detail on our
written testimony. Thank you.

Response to DEIS Comment #1
Refer to Chapter 9, Section 3.3.A for a response to Analysis of Alternatives Retained for Detailed Study.

Response to DEIS Comment #2

As described in Chapter 2 of the Supplemental DEIS, the Preferred Alternative includes the full replacement of the American
Legion Bridge (ALB) on |-495 spanning the Potomac River with a new, wider bridge on the existing centerline. Comments on
the Build Alternatives presented in the DEIS reflected a common support for advancing replacement of the ALB. With its
location over the Potomac River and adjacent to several federally-owned parks, MDOT SHA created a separate group (the
ALB Strike Team) whose mission was to investigate alternative bridge designs and construction techniques that could be
employed to reduce, minimize, and avoid impacts to water and parkland resources in and around the ALB. The results of the
effort are reflected in the Preferred Alternative and are the result of the coordination with key agency and public
stakeholders, including NPS, M-NCPPC, USACE, MDE, and Maryland DNR. The National Park Service properties that border
the Potomac River at the ALB include the George Washington Memorial Parkway, the Chesapeake and Ohio Canal National
Historic Park (including the Chesapeake and Ohio Canal Towpath and Plummer's Island), and Clara Barton Parkway. In
addition to these sensitive properties, there are also many construction challenges associated with replacement of the ALB,
such as access constraints. A number of bridge types and construction methods (both standard and innovative) were
evaluated during the Strike Team's analysis. A westward/upstream shift of the bridge alignment and additional phases of
construction were also evaluated for the different bridge options. These options were presented to the stakeholders and a
conventional structure was recommended that remained on the existing bridge centerline. Impacts to Plummer's Island were
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proposed piers for the replacement bridge and eliminating construction access from the island. In addition to a reduction of
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access locations from all four quadrants, as noted in the DEIS, to the northwest quadrant only, due to its grade and proximity
to a nearby roadway. This change substantially minimized impacts to the surrounding land.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

#2

WASHINGTON BIOLOGISTS’ FIELD CLUB — ROBERT SORENG (WEBSITE)

Washington Biologists' Field Club

For full comments on the DEIS Please see the attached pdf WBFC written Testimony
This Authorized I-495 and I-270 P3 Program DEIS Testimony is submitted on behalf of The
Washington Biologists’ Field Club (WBFC). November 2020.
Our website is https://WBFC.science
Dear MDOT Officials:
_—thank you for the opportunity to comment on this important issue.
The WBFC is OPPOSED to the highway expansion project including the American Legion Bridge
(ALB) expansion part.
WBFC supports the NO BUILD OPTION
None of the other presented DEIS alternatives are acceptable.
WBFC considers the DEIS legally faulty and incomplete for many reasons, including:
- Destruction and disturbance of State of Maryland and National parklands with wetlands, including
but not limited to several miles of Rock Creek Regional Park (including moving substantial
stretches of Rock Creek), and ca. 80 acres of the Chesapeake & Ohio National Historical Park
(CONHP), including ca. 5 acres of the 12 acre Plummers Island and moving "Rock Run".
- The destruction of "Rock Run Culvert" in building the American Legion Bridge violates the
integrity of Plummers Island (CONIHP, Montgomery Co., Maryland).
- Lack of understanding or recognition of the value of the extensive historical and ongoing
biological research on Plummers Island and the WBFC's 120 years of contributions and
commitments to that. Records of many rare plants, animals and habitats from the Island were not
considered.
- Lack of Due Diligence on study of impacts on Plummers Island's wetlands and rare plant
communities, and rare plant and animal species (the evaluation of the organisms on the Island was
apparently based on one summertime visit to the head of the Island in 2019). DEIS APPENDIX L.
(Natural Resources Technical Report) subordinate Appendices A-R cover Natural Resources
considered along the route. As is documented below, APPENDIX L is woefully incomplete as
concerns Plummers Island. Plummers Island is in the large Potomac River / Rock Run (PR/RR)
Natural Resources unit. The DEIS surveys for rare plants and animals on the Island was cursory,
brief, and at the wrong season of the year to identify many of the organisms of concern.
- Lack of alternatives to condemning part of Plummers Island for the ALB proposed project.
- Lack of consideration of the impact of the Covid-19 epidemic on present and future transportation
loads and patterns (many folks are teleworking and attending virtual meetings). With peak traffic
flows down due to changed behavior patterns resulting from Covid-19, toll lanes will be unlikely to
provide revenue streams of sufficient reward to P3 contractors, likely leaving taxpayers on the hook
for billions of dollars.
- Lack of forward thinking on Climate Change (only more cars powered by petrol).
- Lack of accepted Build options with mass transportation options (trains, light rail, monorail, etc.)
- Massive costs, with near certain cost overruns passed on to taxpayers. Regarding Washington
Suburban Sanitary Commission (WSSC) expenditures, estimated to be $2 billion, It remains unclear
if ratepayers would be responsible for this cost.
- Toll lanes that could cost as much as $50 in peak traffic hours, which would provide little benefit
to the average commuter.
- Massive traffic congestion and delays during the construction period lasting 5-10 years, after
which the traffic flow will be just as congested as it was prior to the construction due to the

Response to DEIS Comment #1
Refer to Chapter 9, Section 3.3.B for a response to Analysis of Alternatives Retained for Detailed Study.

Response to DEIS Comment #2

Since the DEIS and Draft Section 4(f) Evaluation, substantial efforts to avoid and minimize impacts to park and historic
resources around the American Legion Bridge (ALB) has occurred. MDOT SHA and FHWA met with the National Park Service
(NPS) on December 8, 2020 to discuss the limit of disturbance (LOD) in the vicinity of the ALB that was presented in the DEIS.
The ALB Strike Team considered bridge construction approaches to determine if any of the approaches could further reduce
the LOD. The Strike Team conducted detailed investigation of a top-down segmental construction approach; a top-down
cable stayed design approach; and a slide-in place bridge construction approach. In addition, after field analysis and review
of readily available information, MDOT SHA and the ALB Strike Team determined that access to the existing bridge could be
consolidated to the northwest quadrant along Clara Barton Parkway, eliminating the construction access from the other
three quadrants around the bridge and significantly reducing impacts to NPS land.

MDOT SHA has minimized impacts to the Chesapeake & Ohio National Historical Park and would impact 0.28 acres of
Plummers Island, of which less than 0.1 acres would be permanent impact and 0.27 acres would be temporary impact.
Impacts would not relocate Rock Run or destroy the Rock Run Culvert. MDOT SHA assembled a team of bridge specialists
from around the country to consider all alternatives for replacement of the American Legion Bridge. The Preferred
Alternative represents the least impactful alternative to NPS land and resources. MDOT SHA understands the value of the
extensive historical and ongoing biological research on Plummers Island and has considered the rare plants, animals, and
habitats on Plummers Island and within the Chesapeake and Ohio Canal National Historical Park in general. MDOT SHA is
working closely with NPS to devise an ecological restoration plan to mitigate for project impacts in this area. A four season
survey of RTE plant species on NPS lands within the project LOD was conducted in 2020 and will inform the ecological
restoration in this area. MDOT SHA conducted a thorough analysis of potential COVID-19 impacts on traffic and determined
that there would be a short-term reduction in traffic load, however it would soon return to pre-COVID 19 levels.

As described in Chapter 2 of the Supplemental DEIS, the Preferred Alternative includes the full replacement of the ALB on I-
495 spanning the Potomac River with a new, wider bridge on the existing centerline. Comments on the Build Alternatives
presented in the DEIS reflected a common support for advancing replacement of the ALB. With its location over the Potomac
River and adjacent to several federally-owned parks, MDOT SHA created a separate group (the ALB Strike Team) whose
mission was to investigate alternative bridge designs and construction techniques that could be employed to reduce,
minimize, and avoid impacts to water and parkland resources in and around the ALB. The results of the effort are reflected
in the Preferred Alternative and are the result of the coordination with key agency and public stakeholders, including NPS,
M-NCPPC, USACE, MDE, and Maryland DNR. The National Park Service properties that border the Potomac River at the ALB
include the George Washington Memorial Parkway, the Chesapeake and Ohio Canal National Historic Park (including the
Chesapeake and Ohio Canal Towpath and Plummer's Island), and Clara Barton Parkway. In addition to these sensitive
properties, there are also many construction challenges associated with replacement of the ALB, such as access constraints.
Anumber of bridge types and construction methods (both standard and innovative) were evaluated during the Strike Team's
analysis. A westward/upstream shift of the bridge alignment and additional phases of construction were also evaluated for
the different bridge options. These options were presented to the stakeholders and a conventional structure was
recommended that remained on the existing bridge centerline. Impacts to Plummer's Island were significantly reduced
compared to those presented for the Build Alternatives in the DEIS by strategically locating the proposed piers for the
replacement bridge and eliminating construction access from the island. In addition to a reduction of total impacts at the
bridge construction site, the Strike Team effort resulted in a reduction of the number of construction access locations from
all four quadrants, as noted in the DEIS, to the northwest quadrant only, due to its grade and proximity to a nearby roadway.
This change substantially minimized impacts to the surrounding land.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-347

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above.

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#2 encouragement of more cars to be on the road, also known as induced demand.

Cont - Because the DEIS's analysis is incomplete, it is impossible for the concerned Agencies to assess,
and the public to comment on, the proposed project's impacts. The Agencies cannot wait until a
final EIS is complete to analyze the project's full impacts, as it will then be too late for the public to
meaningfully comment on them and for the Agencies to consider the public's comments and choose
the alternative that best alleviates the impacts based on this information. We respectfully request
that the Agencies conduct a supplemental EIS to provide the public the ability to meaningfully
review and comment on the impacts before a final EIS is produced.

Alternative placement of the Bridge not considered in the DEIS

- MDOT should consider building and placing construction platforms only upstream from the
current bridge to reduce impacts to the Chesapeake and Ohio Canal NHP and Plummers Island.

- MDOT should consider construction of other crossings to alleviate traffic over the ALB instead of
bridge enlargement.

- We respectfully ask that agencies consider these options to the ALB portion of this project to
reduce and minimize impacts to Plummers Island and the surrounding area.

WBFC Background. The WBFC (the Club) was founded in 1900 by professional field biologists
living and working in the Washington, DC vicinity (Perry 2007). Perry (2007) provides a detailed
history of the Club, the Island, and brief biographies of the hundreds of past and present members
up to that time. The members are all professional biologists. Plummers Island, Chesapeake & Ohio
Canal National Historical Park, Montgomery County, Maryland, has been the WBFC research
station and meeting place since 1901 (Appendix 1). Plummers Island is located immediately
downstream from the ALB. The Island covers 12.2 acres of land, the widest part of which is on the
ALB end. The proposed expansion of the ALB, as part of the I-495 expansion, threatens the
existence, and violates the integrity, of the Island as a designated natural wild area (Appendix 2).
"Rock Run Culvert" as identified in the DEIS is actually a natural Potomac River channel that has
divided the Island from the mainland since time immemorial (Perry 2007). There is a small true
concrete and pipe culvert running under the ALB which drains into the river channel where the
channel bends eastward (water apparently rarely flows from this ALB culvert).

The current ALB proposal would cut across the Island, move or destroy the true channel "Culvert"
that separates the Island from the mainland, clear the trees and level a substantial part of the Island,
clear the significant healthy native beech tree forest on the mainland side (Popkin 2019, a deadly
beech disease is spreading in the NE US), destroy the wetlands associated with the island and
mainland, and result in major infestations of invasive plants. If implemented this DEIS project
would jeopardize future research on trends in biodiversity on the Island. Noise pollution from
expanding the ALB onto the Island would make WBFC meetings meetings on the Island nearly
impossible.

Old map (above) showing the real Rock Run and Plummers Island (copied from Perry 2007). Map
of Plummers Island Pre-ALB (below). Calling the Potomac River channel "Rock Run Culvert"
allows it to be "excluded" from consideration as a protected wetland in the DEIS Natural Resources
APPENDIX L. It is not a Culvert! And "Rock Run" has been misapplied to it.

Head of Plummers Island adjacent to ALB separated by "Rock Run" channel or "Culvert" from the
mainland, showing Potomac Gorge Riverside Outcrop Barrens, wetland mud flats (inundated here)

and sandbars.

The Drafi EIS is seriously flawed in many ways. The most pertinent to the WBFC is the failure to

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Comments addressed above.

apes
#2 discuss and evaluate the impact of the destruction of part of Plummers Island, a historical and
Cont biological treasure within the Chesapeake and Ohio Canal National Historical Park. There is not

even a footnote about the incalculable value of the long-term research on the biology of this Island,
and nothing about WBFC's place in it.

The WBFC leased Plummers Island in June 8, 1901, for a meeting place and research station, and
built the cabin that year. The WBFC finally settled the legal purchase the property known as
Plummers Island (Appendix 1), and most of the adjacent mainland up to the C&O Canal Tow Path,
in 1908 (Perry 2007).

The Club has been meeting on Plummers Island continuously for nearly 120 years, and conducting
research there on a wide range of subjects. The Club gave the property to the National Park Service
on July 24, 1959, with the written understanding (Appendix 2) that the Club retained the right to
maintain the island as a natural wild area, use it for scientific research, for meetings of the Club, and
to pursue its studies in the field of biology and natural history.

Plummers Island is known as "The most thoroughly studied island in North America", and perhaps
in the world.

The Club holds events each year on the Island where members gather with guests. We maintain the
historic Club cabin, "Winnemana Lodge.” built in 1901. The name Winnemana was the name
originally given to the cabin (Lodge) in 1906 and is translated from a Native American language
meaning "beautiful island." The epithet winnemana has been given to Latin names for various
insects and mammals described from Plummers Island collections.

Winnemana Lodge built in 1901. The Cabin is still standing and well maintained by WBFC.

There are always research projects ongoing on the Island, conducted both by members and by
grantees funded by our Endowment Research funds. Many of these projects run for years, and are
follow-ups to pre-ALB censuses, showing impacts of pollution, and changes in fauna and flora.
WBFC reviews dozens of research grant proposals each year and usually funds 5 to 10 of them each
year, with first priority given to studies on the Island, second priority to the Potomac Gorge,
eventually allowing studies in the Mid-Atlantic region. Voucher specimens for plants and animals
collected for the scientific studies on the Island are housed and catalogued in the National Museum
of Natural History, Smithsonian Institution. These specimens and observations from catch and
release and other sightings are reported in hundreds of published scientific papers.

The ALB was constructed immediately to the west (up river) of the island starting in 1962. The
placement of the original bridge was intentionally positioned to protect the Island (Appendix 2 & 3)
to ensure the continuation of WBFC's valuable long-term biological research program. When the
ALB was expanded in the early 1990s, the expansion was done by filling in the gap between the
north and south-bound lanes, again avoiding direct damage to the Island. Despite the best efforts of
engineers and construction implementation to avoid impacting the Island, the original ALB
construction and 1992 expansion led to many invasive plants infesting the Island, and disturbing the
water flow to its flanking wetlands. The worst of the invasive plant infestations are on the head of
the Island adjacent to the ALB. Negative impacts of local environmental pollution on lichens and
insects have been documented on the Island. Traffic on the ALB also led to Lead pollution from
vehicle exhaust and declines in lichen species, which are particularly sensitive, from 70 to 20
(Lawrey & Hale 1979). This illustrates the importance of long-term scientific research on the
Island, which influenced legislation to reduce lead in gasoline, and eventual reduction in lead
contamination locally and world-wide.

xcerpt of Washington Post article 19 May 1994 by D'Vera Cohn about lichens and Pollution.

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#3

Since 1901, over 400 scientific publications have focused on the Island's biota: birds, fish,
mammals, reptiles and amphibians, plants, insects, arachnids, nematodes, and other groups (Many
published titles in the Proceedings of the Biological Society of Washington, available at

https:// WBFC.science/biological-studies/) (see Appendix 7 for titles in this series)

An article in the Potomac Basin Reporter (1973) (Appendix 4) cited "1,226 species of plants and
4,293 species of animals on the Island...." including "1500 species of beetles" and "300 to 400
species of bees". The Island "is 'type-locality' for at least 175 species, ..." "No less than 16 genera
and three families of plants and animals have been described on the basis of specimens collected on
the Island." Some of these numbers were overestimates made before computer databases were
compiled. Insect inventories are still substantially incomplete (see Brown & Bahr 2008). The
number of vascular plants recorded on the Island, stands around 900 (Shetler et al. 2006; including
newer records).

Many thousands of plants and animals have been documented from Plummers Island over 120 years
of WBFC research,

Invertebrates on the Island

The Brown & Bahr (2008b) appendix lists all Invertebrate taxa known from the Island, including
Insects. (Taxa are taxonomic groups of any rank, such as a species, genus, family, order, or class).
Class Insecta diversity on the Island

Brown & Bahr (2008a & b) documented the known insect species records for the Island. "Based on
an examination of the insect collection of the National Museum of Natural History and a review of
relevant literature, we document 3012 insect species in 253 families, encompassing 18 insect
orders: Collembola, Odonata, Dermaptera, Blattodea, Phasmatodea, Orthoptera, Psocoptera,
Thysanoptera, Hemiptera, Neuroptera, Megaloptera, Coleoptera (beetles), Mecoptera, Trichoptera,
Lepidoptera, Diptera, Siphonaptera, and Hymenoptera." The authors acknowledge that 16 families
of the 600 beetle species have been recorded for the Island, yet they conclude this probably
includes only a quarter of the families likely present. Among insects recorded from Plummers
Island are $36 species of butterflies and moths (Lepidoptera), with 27 different species of moths
described from specimens collected on the island (Brown et al. 2008). Many of these species were
described from collections made on the Island. No site in North America has been surveyed as
intensively, yet much of the insect fauna remains to be studied, with hundreds of additional species
likely to be documented.

Many of these Insect orders depend on wetland habitats for all or much of their life-cycles. Seven
types of wetlands are characterized on the Island (Simmons et al. 2016, units 1-5).

Steiner (2000) documented a globally and state-rare click beetle on the Island. Steiner (2008)
inventoried 128 species of Tenebrionidae beetles from Maryland, most of which occur on
Plummers Island.

A few of the many Tenebrionidae from Plummers Island and nearby. (Steiner 2008 fig. 1-16)

In 2015 Steiner collected the first Emerald Ash Borer (EAB) on the Island. Within the following
two years nearly all the mature American and Green Ash trees on the Island were dead or dying.
These trees were major components of vegetation types 5 to 11 (see Plummers Island Plant
Communities section, below), and they have been decimated over much of Eastern North America.

Imperial moth caterpillar (Eacles imperialis) at head Plummers Island, Oct. 2013 (Soreng photo).
These moths are rarely seen any more in the area.

Insects, like other organisms, are experiencing major declines globally (Borenstein 2018; Hallman
et al. 2017; Jarvis 2018; Vogel 2017). Giant silk moths (Saturniidae) include Imperial, Cercropia,
Luna, Polyphemus, Royal Walnut, Rosy maple etc. In New England, most of these are stale

Response to DEIS Comment #3

MDOT SHA has worked with NPS to identify minimization measures at the American Legion Bridge location to reduce impacts
to Plummers Island to the maximum extent practicable. The Preferred Alternative impacts approximately 0.28 acres of
Plummers Island along its western edge, of which less than 0.1 acres would be permanent impact and 0.27 acres would be
temporary impact. The majority of the island will not be impacted by the project and biodiversity research will be able to
continue.

MDOT SHA has coordinated closely with USFWS regarding the Peregrine Falcon nest box on the American Legion Bridge. The
nest box will be removed from the bridge prior to construction and replaced post-construction. Removal of the nest box is
necessary, since the entire bridge will be replaced. Nesting at this location will be interrupted for the duration of
construction. Since Plummers Island is located near suburban communities and is in close proximity to several existing
roadway5, it is likely its bird communities are currently and will continue to be affected by vehicular traffic and other nearby
human activities.

MDOT SHA conducted a bat bridge survey at the American Legion Bridge as well as an acoustic survey throughout the corridor
study boundary in coordination with the US Fish and Wildlife Service and Maryland Department of Natural Resources. The
Northern Long-Eared bat and the Eastern Small-footed Myotis were not detected around the American Legion Bridge during
this study. MDOT SHA is aware that several bat species and various other mammalian species occur in the vicinity of
Plummers Island.

MDOT SHA is aware of the various plant communities and vegetation zones on Plummers Island. MDOT SHA conducted a
four-season rare plant survey on NPS lands within the project LOD in 2020 and the small portion of Plummers Island that is
within the LOD was included in this survey.

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CO-350

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#3
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#4

endangered species because they have been hammered by an introduced biocontrol agent -- a
non-native tachinid fly, Compsilura concinna, which was introduced to try and control gypsy moths
in Massachusetts. That fly has wreaked havoc in New England because it is a generalist and the
Saturniids have been heavily impacted. This pest has arrived in DC and vicinity but impacts here
are not yet known (John Lil pers. comm. 2020). Thanks to the long history of research on insects of
Plummers Island, the Island would be a key place to further document this "insect apocalypse,"
assuming the Island remains intact. The DEIS ALB project puts WBFC Plummers Island research
on trends in biodiversity in jeopardy.

Birds on the Island and American Legion Bridge

An established Peregrine Falcon nest is located on the American Legion Bridge and two adults and
at least one chick was observed this past June (Putnam 2020). The nest box was put there by MD
State Highway Association (SHD) working with US Fish & Wildlife Service (USFWS) in 2007,
and peregrines have been nesting there for 12 years. In the DEIS document, "they propose moving
the nest box to another location just before nesting season when the bridge constructions begins, but
as an established nest this recommendation may not be successful" (Carla Dove, WBFC member,
Smithsonian Ornithologist, pers, comm.). A Mississippi Kite was also observed this year. Wetmore
& Manville (in Manville 1968) account for birds known from the Island to that time. Johnston &
Winings (1987) attribute the decline of forest breeding birds on the Island and vicinity to vehicular
traffic.

Mammals on the Island

Five bat species are documented by Smithsonian collections from the Island. Among these are the
Endangered northern long-eared bat, Myotis septentrionalis, and the eastern small-footed Myotis,
Myotis leibii. The latter was separately described as Myotis winnemana. Other mammals collected
include shrews, moles, mice, voles, eastern cottontail, eastern gray squirrel. Georgian bat, large
brown bat, red bat, evening bat, whitetail deer, eastern skunk, mink, eastern long-tailed weasel, fox
squirrel, eastern flying squirrel, eastern otter, chipmunk, eastern red fox, Virginia muskrat, and
woodchucks have also been recorded (Manville 1968). Mammologists these days often monitor by
catch and release and other methods, rather than preparing museum specimens from animals on the
Island. For example, the last regional report of an eastern wood rat was reported on Plummers
Island. Also, DNA from bones, feathers, fur, or feces can now be used to precisely identify species.

Plummers Island Plant Communities

The National Park Service prepared a map of the vegetation zones in the region with a coarse map

for Plummers Island. The plant communities were remapped in finer detail in 2016 (Simmons et al.

2016). (Appendix 6, also available at WBFC.science). This map included 12 communities, $ within

wetlands, and one upland type that is unique to the Potomac Gorge. These plant communities are
proxies for where other organisms also live or might be found.

Plummers Island wetlands (units 1 to 7).
The Island's wetland habitats were mapped by Simmons et al. (2016). These were divided into 5
major communities, and 3 subdivisions within those. These include sandbars and mud flats (units 1
& 2), rocky outcrop barrens (3A & B), to regularly flooded bottom land forests (4-6). These areas
flood frequently. Community 7 is higher and infrequently flooded. Community 8, i Piedmont Basic
Mesic Forest, includes a rich herb layer that is rare in the Potomac Gorge and is rarely flooded.
The sandbars, mud flats, and rock barrens occur on the Potomac River side. Mud flats also occur

along the usually sluggish "Rock Run" channel. The flooded bottom bench lands (units 5, 6 & 7)

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Comment #3 addressed above

Response to DEIS Comment #4

The small portion of Plummers Island that is within the project LOD was delineated for wetlands and waterways based on
Section 404 methods, as regulated by the US Army Corps of Engineers, and using NPS wetland delineation methodology as
required in DO #77-1. The regulated wetlands within the LOD are depicted and reported in the DEIS and FEIS. This area was
also included in the 4-season rare plant survey conducted in 2020 for the project. All rare plants targeted by the survey were
reported in the survey report, including Hibiscus laevis and Paspalum fluitans. |f these species were not reported in a
particular location, then they were not observed within the survey area on the days in which the surveys were conducted.

Construction plans for the |-495 & I-270 Managed Lanes Study will seek to avoid changes in flow to the oxbow channel around
Plummers Island and the Potomac River mainstem.

MDOT SHA is aware that Plummers Island supports a broad variety of plant species, some of which are rare and only found
within the Potomac Gorge. MDOT SHA is coordinating closely with NPS to minimize impacts to the flora and fauna of
Plummers Island and other NPS lands to the maximum extent practicable and to develop an ecosystem restoration plan to
limit impacts and restore communities that are affected.

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CO-351

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Comments addressed above.

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#4 cover much of the area adjacent to "Rock Run" channel and the toe of the Island. There are some
Cont rock-bottomed swales in the interior the Island (unit 5A). The low benches are mostly flooded only
when high waters reach above the 9 ft mark at Little Falls Gauging Station (3 miles downstream)
(https://water. weather. gov/ahps2/hydrograph.php?gage=brkm2& wfo=lwx). This level is reached or
exceeded often in winter and spring, but frequency and duration vary greatly from year to year.
There are rare plants and animals in these zones. Many species records for the Island come only
from these zones, and many of these species are reliant on these different wetland habitats for some
or all of their life-cycles. Flooding above the 4.5 fi mark, basically makes the Island inaccessible
even by wading, and covers all the sand and mud flats up to the breaks to the bench lands. See
Brown & Bahr (2008) for Insect inhabitants of the riparian zones.

Populations of two rare plants of concern were observed within the zone of disturbance in the
riverside mud flats (Simmons et al. 2016, unit 1) on 31 October 2020 Hibiscus laevis and Paspalum
fluitans. Neither of these were reported by the survey crew contracted for the DEIS. Any DEIS
related construction plans should seek to avoid changes to water flowing to Plummers Island
wetlands including "Rock Run" channel.

Hibiscus laevis in mud flats between Potomac Gorge Riverside Outcrop Barrens (by DEIS SHH102
survey stake, Soreng photo 2020). This species also occurs at the closer head of the Island

Potomac Gorge Riverside Outcrop Barrens

The rocky Potomac Gorge headlands on Plummers Island harbor the rare Solidago racemosa, and
Hypericum prolificum. These barrens are routinely scoured by high floods, but these plants hang on!

Solidago racemosa, Potomac Gorge Riverside Outcrop Barrens at the head of the Island (Soreng
photo 2020).

Potomac Gorge Riverside Outcrop Barrens near the head of the Island Hibiscus laevis in
foreground. ALB in background (Simmons photo 2020).

Piedmont Basic Mesie Forest (unit 8).

This vegetation zone floods rarely, being more than 15 ft above the low flow. This area ts rich in
herbaceous plant species known only here on the island. And it is gorgeous to see in the spring. It
includes the largest population of Jeffersonia diphylla (Twinleaf) that we know of in the Potomac
Gorge. The rare Phacelia covillei thrives here, as does the rare Erigenia bulbosa and Valeriana
pauciflora, and the leatherwood shrub, Dirca palustris.

Piedmont Basic Mesic Forest includes a large stand of Jeffersonia diphylla (Soreng photo).

Potomac River Bedrock Terrace Hardpan Forest (unit 12)

This Globally and State rare plant community is endemic to the Potomac River Gorge. On the
Island it covers the east and west knolls which rarely ever flood, being as much as 60 fi above the
riparian zone. ‘The vegetation is markedly different from the other zones as soils are thin over
bedrock, and the trees and shrubs are stunted and slow growing. Various sedges and grass species
(e.g. including Melica mutica, Dichanthelium aciculare, Piptochaetium avenaceum), and trees and

shrubs, are only known from this zone on the Island.
A

Potomac River Bedrock Terrace Hardpan Forest (unit 12) @ Piptochaetium avenaceum
/ blackseed needle grass glade on ALB survey line. The bridge is visible in the
background (Simmons photo 2020).

The Potomac Gorge is a gem among our National Parks

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The following pages reflect the attachments included in the letter. There are no comments or responses provided on these
pages; they are included for the record.

(https://academic.oup.com/bioscience/article/54/1/8/234660),

Plummers Island is a special part of the middle section of the Potomac Gorge. ‘The plant and animal
diversity are tremendous with many rare species and long-term ongoing research projects. State and
Globally rare plants and Natural Vegetation Communities are documented in Simmons et al. 2016
& 2000 (Appendix 5 & 6). These reports were based on over 120 years of collecting plants and
making herbarium vouchers (detailed in Shetler et al. 2006), species surveys for a DNA barcoding
project led by J. W. Kress (Gambino, 2009), and vegetation plots established from 1998 to 2000 by
E. Fortson-Wells to document invasive plants in the flood plains of the island, followed up by a
three year survey of invasive plants and vegetation between 2012 and 2015, conducted by the
WBFIC Invasive Biota Committee. Voucher specimens, housed at the United States National
Herbarium, Department of Botany, National Museum of Natural History, Smithsonian Institution,
are recorded and mostly imaged (records available online at
https://collections.nmnh.si.edu/search/botany/ ). Many plants and animals occur in the Potomac
Gorge at the northern extensions of their geographic ranges.

Many biologists have walked and observed every nook and cranny of this topographically diverse
island with its rocky hills and cliffs, including the globally and state rare Potomac River Bedrock
Terrace Hardpan Forest, and sensitive wetland bottoms of "Rock Run" Channel and sand lenses and
mud flats on the Potomac River side of the Island. We love this place and its historical, current, and
hopefully future biological relevance. Rebuilding and expanding any part of the American Legion
Bridge or access to that on the Island would destroy or seriously damage much of it and violate the
integrity of the Island.

The noise pollution and visual impact of the current ALB are annoying at best to our meetings on
the Island. Expanding the ABL onto the Island will make conversation at meetings at the Cabin on
the Island nearly impossible. The noise and air pollution will be much worse during the
construction phase. The noise impact on birds may be more extreme (Johnston & Winings 1987).
Rare plants and animals and habitat will be lost. It will no longer be "Winnemana", a beautiful
island.

If you argue otherwise, we are lost as a Nation. The efforts of science are meaningless. Losing even
a piece of this Island is to lose the heart and soul of what our conservation ethic means.

We believe Plummers Island is as important as any of the national museums in Washington, DC,
and WBFC members implore MDOT to preserve intact this Historical and Biological National
Treasure.

Please visit our web site @ https://WBFC.science

Thank you

WBFC President, Vice President. and members

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Appendices:

1. WBFC Deed to Plummers Island (1908).

2. Transfer of the WBFC property to United States Government (1959).

3. Washington Post article, 1959

4. Potomac Basin Reporter, 1973 [Plummer Island Beetles & Bees and Type locality]

5. Rare Flora and Natural Communities of Plummers Island, Montgomery County. Maryland.

6, Natural Communities of Plummers Island, Montgomery County, Maryland.

(Vegetation plots are numbered. Plot 4 was lost due to the ALB abutments redirecting the flow of
Rock Run Channel / "Culvert" between 2000 and 2013. Plots not mapped, nor are two newer plots
and older NPS plots)

7. Titles in the Bulletin of the Biological Society of Washington series "Natural History of
Plummers Island, Maryland," and other key publications.

Appendix 1. Title to Plummers Island and adjacent mainland
Appendix 1. cont.
Appendix 1. cont.

Appendix 2 AGREEMENT WITH NATIONAL PARK SERVICE, 1959

AGREEMENT WITH NATIONAL PARK SERVICE

AGREEMENT AND STIPULATIONS BETWEEN THE WASHINGTON BIOLOGISTS' FIELD
CLUB, INC. AND THE UNITED STATES OF AMERICA

This agreement made this 5th day of March, 1959, by and between the Washington Biologists’ Field
Club, Inc. and the United States of America.

WITNESSETH:

WHEREAS, The United States Government has by condemnation proceedings, in the United States
District Court for the District of Maryland in Civil No. 10676 and by order of Court made the 24th
day of June, taken possession of the defendant's Washington Biologists’ Field Club, property
designated in said proceedings as parcels "A" and "B" in tract no. 7, and

WHEREAS, This property was acquired by the Washington Biologists’ Field Club, Inc. and has
been used by the said Club as a natural wild area for scientific research for over 50 years and a great
many scientific papers have been written in reference to biological and natural history discoveries
made on said land and, more particularly, on that part of said land known as parcel "B" and more
familiarly known as Plummers Island containing some 12.238 acres more or less, and

WHEREAS, The said Plummers Island has become among systematic biologists one of the world's
most famous collecting spots and type localities, and

WHEREAS, The discoveries have indicated the probability of new knowledge in the field of
biology and natural history, and

WHEREAS, The fame of this island is world-wide and many scientific organizations are interested
in its preservation as a source of discovery, and

WHEREAS, The Washington Biologists' Field Club, Inc. and the United States Government desire
to preserve this natural wild area as a sanctuary and scientific research preserve.

Therefore, The United States Government's petitioner in the United States District Court for the
District of Maryland in Civil No. 10676 and the Washington Biologists’ Field Club, Inc., defendant,
and the owner of said parcel of land known as parcel "B" containing some 12.238 acres more or

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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less which said land is an island in the Potomac River and is more familiarly known as Plummers
Island, do hereby stipulate and agree that the said parcel "B" be withdrawn from these proceedings
and that the said Washington Biologists’ Field Club, Inc. does hereby agree to deed the said island
to the United States Government without monetary consideration reserving in said deed to the
Washington Biologists’ Field Club, Inc., the right to continue to maintain the island as a natural wild
area and use it for scientific research and for meetings of the Club and to pursue its studies in the
field of biology and natural history on the said island so long as the Washington Biologists’ Field
Club, Inc. exists and desires to continue to use the island for scientific research and so long as the
further provisions and stipulations contained herein are complied with which are as follows:

1. The Washington Biologists’ Field Club, Inc. agrees to supply the National Park Service with
copies of scientific papers resulting from research conducted on said island when available.

2. The Washington Biologists’ Field Club, Inc. will supply the National Park Service with an annual
report and will include the names and addresses of the officers, list of the members, and a
summarization of the scientific investigations carried on.

3. The Washington Biologists' Field Club, Inc. will indemnify the United States against any loss or
damage or injury due to the Club's negligence or any of its members or guests in the use and
occupancy permitted under this agreement.

4. The Washington Biologists' Field Club, Inc. shall maintain its building and facilities on the island
or replace the same in orderly and safe condition without expense to the United States.

5. No additional buildings, structures, or other physical facilities shall be constructed on the island
by the Washington Biologists’ Field Club, Inc. without first obtaining written approval of the
National Park Service.

6. It is further stipulated and agreed between the United States Government and the Washington
Biologists’ Field Club, Inc. that the membership of the Club as constituted on I August 1958,
Honorary Members:

Bartsch, Paul

Mann, William M.

Ricker, P. L.

Active Members:

Aldrich, John W.

Appel, William D.

Benedict, J. E.

Blake, S. F.

Brown, Edgar

Clarke, J. F. G.

Compton, Lawrence V.

Davis, Malcolm

Duvall, Allen J.

Erickson, Ray C.

Erlanson, C. 0.

Fredine, C. Gordon

Fuller, Henry $

Gabrielson, Ira N.

Gardner, Marshall C.

Graham, Edward H.

Griffith, Richard E.

Handley, C. 0., Jr.

Hotchkiss, Neil

Jackson, Hartley H. T. Johnson , David H.
Kelson, Keith R.

Killip. E. P.

Krombein, Karl V.

Leonard, Emery C.

Lincoln, Frederick C.

Linduska, Joseph P.

Mechean, 0. Lloyd

Morrison, J. P. E.

Nelson, A. L.

Oehser, Paul H.

Parker, Kenneth W.

Presnall, Clifford C.

Reed, Theodore H.

Russell, Paul G.

Setzer, Henry W.

Smith, Albert C.

Smith, Lyman B.

Sohns, Emest R.

Stevenson, James 0.

Stewart, Robert E.

Stickel, William H

Swifi, Emest F.

Uhler, F. M. Vogt, George B.

Walker, Emest P.

Wetmore, Alexander

Zahniser, HowardNonresident Members:
Allan, Philip F.

Allen, Durward L.

Archino, Samuel

Bartlett, H. H.

Bryant, Harold C.

Cahalane, Victor H.

Cottam, Clarence

Couch, Leo K.

Dargan, Lucas M.

Eklund, Carl R.

Fowler, James A.

Hamlet, John

Holt, Emest 0.

McAtee, W. L.

Myers, G. 8.

Peterson, Roger T.

Wallis, William W.

Wherry, Edgar T.

shall have the privilege of having their ashes placed on said island and a small bronze plaque in
their memory placed on the stones of said island and that this privilege shall apply only to the
membership as named above as it shall exist as of 1 August 1958.

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FINAL ENVIRONMENTAL IMPACT STATEMENT

7. It is further stipulated and agreed that the United States Government will allow the membership
of the Washington Biologists’ Field Club, Inc. to have access by foot over the land owned by the
United States Government to the island at all times and whenever desired.

8. The Washington Biologists’ Field Club, Inc. will be permitted to maintain and operate
passenger-carrying ferry boats from and to the island which is to be for the exclusive use of the Club
and its members and guests for access to the island.

9. The Washington Biologists' Field Club, Inc. will be permitted to erect and maintain a fence and
gate at a suitable location to exclude the general public from the island, but the National Park
Service is to be furnished keys to the lock or the National Park Service may provide its own lock if
keys are delivered to the Washington Biologists’ Field Club, Inc., and will also be permitted to clear
the channel between the island and the Maryland shore to maintain a free flow of water therein.

10. It is further stipulated and agreed that authorized agents and personnel of the National Park
Service shall have access to the island and the right to take scientists to the island, but, in that event,
the Washington Biologists’ Field Club, Inc. shall not be responsible for any injuries or damages
resulting to said persons due to conditions upon said island provided said injuries or damages are
not caused by negligence of the Club or by a failure on the part of said Washington Biologists' Field
Club, Inc. to comply with the requirements of this stipulation.

11. It ts further stipulated and agreed that all rights accruing to the Washington Biologists’ Field
Club, Inc, or to any member thereof by reason of the provisions of this stipulation or any
amendment thereto may be terminated if said Washington Biologists’ Field Club, Inc. no longer
exists or in the event after due written notice that the provisions of this stipulation and/or deed
which will be executed following signing of this stipulation have been violated and continue to be
violated by said Washington Biologists’ Field Club, Inc. or its members, guests, employees, or
servants for a period of time in excess of six months after receipt of said notice, and further in the
event the island shall be no longer used for scientific research by the Washington Biologists' Field
Club, Inc. for more than two years then this stipulation and any like provisions of the deed to be
executed conveying the property to the United States shall terminate.

12. It is further stipulated and agreed that the United States may construct or permit the
construction of needed nonrecreational public improvements upon the island or a portion thereof,
which said improvements shall not be inconsistent with the uses to which the island has been
dedicated by the Washington Biologists’ Field Club, Inc.

13. It is further stipulated and agreed that this stipulation shall become effective after the filing and
acceptance by the United States of a deed of conveyance containing the provisions outlined herein.
The United States of America

By: WILLIAM E. FINLEY

Director of the National

Capital Planning Commission

Condemning Authority

The Washington Biologists' Field Club, Inc.

By: LLOYD W. SWIFT

President

1, Albert C. Smith, certify that I am the Secretary of the corporation named as party herein; that
Lloyd W. Swift. who signed this contract on behalf of the party, was then President of said
corporation; that said contract was duly signed for and in behalf of said corporation by authority of
its governing body, and is within the scope of its corporate powers.

ALBERT C. SMITH, Secretary

Appendix 3. Washington Post Article, 1959.
Appendix 4. Potomac Basin Reporter - 1973 Beetles and Bees & Type locality

Appendix 5. Rare Plants of Plummers Island (Excerpt).

A total of 4 globally rare natural communities, two of which are state rare; 21 state-rare extant flora,
including one globally rare extant species; and 36 state-rare historic flora, including 4 globally rare
historic taxa are known from the island.

Rare Flora and Natural Communities
Rare Natural Communities (in order of lowest to highest in elevation)

Piedmont / Central Appalachian Sand Bar / River Shore (Low Herbs Type): Eragrostis hypnoides -
Lindernia dubia - Ludwigia palustris - Cyperus squarrosus Herbaceous Vegetation (USNVC:
CEGL.006483). Non-tidal mudflats. Global/State Ranks: G3/SNR

Potomac Gorge Riverside Outcrop Barren (Potomac Gorge Type): (Hypericum prolificum,
Eubotrys racemosa) / Schizachyrium scoparium - Solidago racemosa - Ionactis linartifolia
Herbaceous Vegetation (USNVC: CEGL006491). Global/State Ranks: G2/S1,

Mid-Atlantic High Terrace Hardwood Floodplain Forest: Acer saccharum - Fraxinus americana /
Carpinus caroliniana / Podophyllum peltatum Forest (USNVC: CEGL006459). Global/State Ranks:
G3?/SNR.

Potomac River Bedrock Terrace Hardpan Forest: Carya glabra - Quercus (rubra, montana) -
Fraxinus americana / Viburnum rafinesqueanum/ Piptochaetium avenaceum Forest (USNVC:
CEGL006209). Global/State Ranks: G1G2/S 1.

Rare Flora

Extant Flora

White Bear Sedge (Carex albursina) G5/S3 (last vouchered in 2004; observed by Soreng in 2020)
Pubescent Sedge (Carex hirtifolia) G5/S3 (last vouchered in 1934)

Flat-spiked Sedge (Carex planispicata) G4Q/S1S2 (R.H. Simmons 3525, 4 May 2013)

Northern Leatherflower (Clematis vioma) G5/S3 (last vouchered in 1982)

Needle-leaf Panic Grass (Dichanthelium aciculare) G3/S2? (R.J. Soreng, 8289a, 25 May 2013)
Open-flower Panic Grass (Dichanthelium laxiflorum) G5/S1? (last vouchered in 1960;
photographed by

Simmons in 2015)

Leatherwood (Dirca palustris) G4/S2 T (R.H. Simmons 4067, 6 Nov 2015)

Harbinger of Spring (Erigenia bulbosa) G3/S3 (last vouchered in 1983; observed by Soreng in 2020)
Halberd-leaf Rose-mallow (Hibiscus laevis) G5/S3 (last vouchered in 1982; photographed by
Soreng

in 2020)

Green Violet (Hybanthus concolor) G5/S3 (last vouchered in 1960)

Ostrich Fern (Matteuccia struthiopteris) G5/S8283 (One of the largest known stands in the state.
R.H. Simmons 3532, 5 May 2013)

Two-flower Melic (Melica mutica) G3/S3 (last vouchered in 2015, R.J. Soreng 8340)

Horse-tail Paspalum (Paspalum fluitans) G3/S2 E (E.F, Wells 4507, 20 Sep 1997)

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Coville's Phacelia (Phacelia covellei) G3/S2 E (R.H. Simmons 3920, 14 May 2015)

Miami-mist (Phacelia purshii) G5/S3 (last vouchered in 1983; observed by Soreng on mossy rocks
by

plot 21 between 2013 and 2015)

Hairy Hop-tree (Ptelea trifoliata var. mollis) G5/S3 (R.H. Simmons 3585, 2 Jun 2013)

Smooth Wild-petunia (Ruellia strepens) G4G5/S283 (R.H. Simmons 4221, 9 Oct 2016)

Pale Dock (Rumex altissimus) G5/S1 E (last vouchered in 1997)

Sticky Goldenrod (Solidago racemosa) G5T3?/S1 T (photographed by Soreng in 2020)

Pink Valerian (Valeriana pauciflora) G4/S1 E (last vouchered in 1982)

Golden-alexanders (Zizia aurea) G5/$3 (R.J. Soreng 9336, 29 Apr 2017)

Historic Flora

Earleaf False Foxglove (Agalinis auriculata) G3/S1 E (last vouchered in 1936)

Canada Milkvetch (Astragalus canadensis var. canadensis) G5/S1 E (last vouchered in 1940)
Blue Wild Indigo (Baptisia australis var, australis) G3/S2 T (last seen in 1935 by Killip & Blake)
Short's Rock Cress (Boechera dentata) G5/S3 (last vouchered in 1916)

Nottoway Valley Brome Grass (Bromus nottowayanus) G3G5/S$354 (last vouchered in 1947)
Hitchcock's Sedge (Carex hitchcockiana) G5/S1 E (last vouchered in 1933)

Short's Sedge (Carex shortiana) G5/S3S4 E (last vouchered in 1928)

Bur-reed Sedge (Carex sparganioides) G3/S3 (last vouchered in 1933)

Slender Dayflower (Commelina erecta) G5/S3 (last vouchered in 1960)

Spring Coralroot (Corallorhiza wisteriana) G5/S1 E (last vouchered in 1915)

Smartweed Dodder (Cuscuta polygonorum) G5/S1 E (last vouchered in 1961)
Many-flowered Flatsedge (Cyperus lancastriensis) G3/S2S3 (last vouchered in 1997)
Reflexed Flatsedge (Cyperus refractus) G5/S2? (last vouchered in 1960)

Dwarf Larkspur (Delphinium tricorne) G3/S3 (last seen in 1935 by Killip & Blake)

Toothed Tick-trefoil (Desmodium cuspidatum) G5/S1 (last vouchered in 1960)

White Trout Lily (Erythronium albidum) G5/S2 T (last vouchered in 1983)

Downy Milkpea (Galactia volubilis) G3/S3 (last vouchered in 1961)

Striped Gentian (Gentiana villosa) G4/S1 E (last vouchered in 1903)

Western Sunflower (Helianthus occidentalis) G5/S1 T (last vouchered in 1940)

Eastern Bloodleaf (Iresine rhizomatosa) G5/S1 E (last vouchered in 1915)

@ Violet Bush-clover (Lespedeza frutescens) G5/S3 (last vouchered in 1960)

Bog Twayblade (Liparis loeselii) G5/S182 (last vouchered in 1917)

Climbing Milkvine (Matelea obliqua) G4?/$1S2 E (last vouchered in 1937)

Purple Mecardonia (Mecardonia acuminata var. acuminata) G5/S2 E (last vouchered in 1939)
Basal Beebalm (Monarda clinopodia) G5/S3S4 (last vouchered in 1982)

Early Forget-me-not (Myosotis verna) G5/S3 (last vouchered in 1962)

Racemed Milkwort (Polygala polygama) G5/S1 T (last vouchered in 1950)

Small Pondweed (Potamogeton pusillus ssp. pusillus) G5/S2S4 (last vouchered in 1930)
Whorled Mountain-mint (Pycnanthemum verticillatum) G5/S1 E (last vouchered in 1951)
Virginia Sida (Ripariosida hermaphrodita) G3/S1 E (last vouchered in 1938)

Brown-eyed Susan (Rudbeckia triloba) G5/S3 (last vouchered in 1940)

Sessile-fruited Arrowhead (Sagittaria rigida) G5/S1 E (last vouchered in 1930)

Carolina Willow (Salix caroliniana) G5/83 (last vouchered in 1982)

Snowy Campion (Silene nivea) G4?/S1 E (last vouchered in 1917)

Riverbank Goldenrod (Solidago rupestris) G4?/S1 X (last vouchered in 1903)

Sand Grape (Vitis rupestris) G3/S1 (last vouchered in 1906)

@([= Lespedeza violacea (L.) Pers. (misapplied); "Due to a problem with the type
specimen of

Lespedeza intermedia, the name Lespedeza violacea, by which this species has long been known,
applies to L. intermedia, and the name L. frutescens now applies to [Lespedeza violacea]" (VBA

2020)]

Key to Global Rank

G1: At very high risk of extinction due to extreme rarity (often 5 or fewer populations), very steep
declines, or other factors.

G2: At high risk of extinction due to very restricted range, very few populations (often 20 or fewer),
steep

declines, or other factors.

G3: At moderate risk of extinction due to a restricted range, relatively few populations (ofien 80 or
fewer), recent and widespread declines, or other factors.

G4: Uncommon but not rare; some cause for long-term concern due to declines or other factors.
G5: Common, widespread, and abundant.

GH: Known only from historical occurrences but still some hope of rediscovery.

GNR: Not ranked.

GX: Not located despite intensive searches and virtually no likelihood of rediscovery.

Key to State Rank

SI: At very high risk of extirpation from the state due to extreme rarity (often 5 or fewer
populations),

very steep declines, or other factors.

$2: At high risk of extirpation from the state due to very restricted range, very few populations
(often 20

or fewer), steep declines, or other factors.

$3: At moderate risk of extirpation from the state due to a restricted range, relatively few
populations

(often 80 or fewer), recent and widespread declines, or other factors.

$4: Uncommon but not rare; some cause for long-term concern due to declines or other factors.
$5: Common, widespread, and abundant.

SIL: Known only from historical occurrences but still some hope of rediscovery.

SNR: Not ranked.

SX: Not located despite intensive searches and virtually no likelihood of rediscovery.

Federal and State Status

Legal status denotes a simple hierarchy of endangerment in three categories: Endangered (E),
Threatened (T), and Endangered Extirpated (X). Federal Status is determined by the U.S. Fish and
Wildlife Service.

Federal Status

LE = Listed Endangered - A taxon is threatened with extinction throughout all or a significant
portion of

its range.

LT = Listed Threatened - A taxon is likely to become endangered in the foreseeable future.

State Status

E = Endangered - A taxon is threatened with extinction throughout all or a significant portion of its
range.

T=T

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

WBFC DEIS Comments and Testimony, November 2020

My name is Ralph Eckerlin, WBFC President
My address is 4955 Roslyn Road, Annandale, VA 22003
| am a Research Biologist, B.A, M.S., Ph.D. (1974) in Zoology.
| am a Research Associate with the Smithsonian Institution, National Museum of Natural
History.
My name is Robert Soreng, WBFC Vice-president
My address is 5506 Uppingham St. Chevy Chase, MD 20815
| am a Research Biologist, B.S., M.S., Ph.D. (1986) in Plant Sciences.
| am a Research Associate with the Smithsonian Institution, National Museum of Natural
History.
This Authorized |-495 and |-270 P3 Program DEIS Testimony is submitted on behalf of The
Washington Biologists’ Field Club (WBFC). November 2020.

Our website is https://WBFC.science
Dear MDOT Officials:

Thank you for the opportunity to comment on this important issue.

The WBFC is OPPOSED to the highway expansion project including the American Legion Bridge

(ALB) expansion part.

WBFC supports the NO BUILD OPTION

None of the other presented DEIS alternatives are acceptable.

WBFC considers the DEIS legally faulty and incomplete for many reasons, including:

- Destruction and disturbance of State of Maryland and National parklands with wetlands,
including but not limited to several miles of Rock Creek Regional Park (including moving
substantial stretches of Rock Creek), and ca. 80 acres of the Chesapeake & Ohio National
Historical Park (CONHP), including ca. 5 acres of the 12 acre Plummers Island and moving
“Rock Run”.

- The destruction of “Rock Run Culvert” in building the American Legion Bridge violates the
integrity of Plummers Island (CONHP, Montgomery Co., Maryland).

- Lack of understanding or recognition of the value of the extensive historical and ongoing
biological research on Plummers Island and the WBFC’s 120 years of contributions and
commitments to that. Records of many rare plants, animals and habitats from the Island were
not considered.

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Response to DEIS Comment #1
Refer to Chapter 9, Section 3.3.B for a response to Analysis of Alternatives Retained for Detailed Study.

Since the DEIS and Draft Section 4(f) Evaluation, substantial efforts to avoid and minimize impacts to park and historic
resources around the American Legion Bridge (ALB) has occurred. MDOT SHA and FHWA met with the National Park Service
(NPS) on December 8, 2020 to discuss the limit of disturbance (LOD) in the vicinity of the ALB that was presented in the DEIS.
The ALB Strike Team considered bridge construction approaches to determine if any of the approaches could further reduce
the LOD. The Strike Team conducted detailed investigation of a top-down segmental construction approach; a top-down
cable stayed design approach; and a slide-in place bridge construction approach. In addition, after field analysis and review
of readily available information, MDOT SHA and the ALB Strike Team determined that access to the existing bridge could be
consolidated to the northwest quadrant along Clara Barton Parkway, eliminating the construction access from the other
three quadrants around the bridge and significantly reducing impacts to NPS land.

The Preferred Alternative does not impact Rock Creek Regional Park or Rock Creek. MDOT SHA has minimized impacts to the
Chesapeake & Ohio National Historical Park and would impact 0.28 acres of Plummers Island, of which less than 0.1 acres
would be permanent impact and 0.27 acres would be temporary impact. Impacts would not relocate Rock Run or destroy
the Rock Run Culvert. MDOT SHA assembled a team of bridge specialists from around the country to consider all alternatives
for replacement of the American Legion Bridge. The Preferred Alternative represents the least impactful alternative to NPS
land and resources. MDOT SHA understands the value of the extensive historical and ongoing biological research on
Plummers Island and has considered the rare plants, animals, and habitats on Plummers Island and within the Chesapeake
and Ohio Canal National Historical Park in general. MDOT SHA is working closely with NPS to devise an ecological restoration
plan to mitigate for project impacts in this area. A four season survey of RTE plant species on NPS lands within the project
LOD was conducted in 2020 and will inform the ecological restoration in this area. MDOT SHA conducted a thorough analysis
of potential COVID-19 impacts on traffic and determined that there would be a short-term reduction in traffic load, however
it would soon return to pre-COVID 19 levels.

As described in Chapter 2 of the Supplemental DEIS, the Preferred Alternative includes the full replacement of the ALB on I-
495 spanning the Potomac River with a new, wider bridge on the existing centerline. Comments on the Build Alternatives
presented in the DEIS reflected a common support for advancing replacement of the ALB. With its location over the Potomac
River and adjacent to several federally-owned parks, MDOT SHA created a separate group (the ALB Strike Team) whose
mission was to investigate alternative bridge designs and construction techniques that could be employed to reduce,
minimize, and avoid impacts to water and parkland resources in and around the ALB. The results of the effort are reflected
in the Preferred Alternative and are the result of the coordination with key agency and public stakeholders, including NPS,
M-NCPPC, USACE, MDE, and Maryland DNR. The National Park Service properties that border the Potomac River at the ALB
include the George Washington Memorial Parkway, the Chesapeake and Ohio Canal National Historic Park (including the
Chesapeake and Ohio Canal Towpath and Plummer's Island), and Clara Barton Parkway. In addition to these sensitive
properties, there are also many construction challenges associated with replacement of the ALB, such as access constraints.
A number of bridge types and construction methods (both standard and innovative) were evaluated during the Strike Team's
analysis. A westward/upstream shift of the bridge alignment and additional phases of construction were also evaluated for
the different bridge options. These options were presented to the stakeholders and a conventional structure was
recommended that remained on the existing bridge centerline. Impacts to Plummer's Island were significantly reduced
compared to those presented for the Build Alternatives in the DEIS by strategically locating the proposed piers for the
replacement bridge and eliminating construction access from the island. In addition to a reduction of total impacts at the
bridge construction site, the Strike Team effort resulted in a reduction of the number of construction access locations from
all four quadrants, as noted in the DEIS, to the northwest quadrant only, due to its grade and proximity to a nearby roadway.
This change substantially minimized impacts to the surrounding land.

Refer to Chapter 9, Section 3.2.B for a response to Alternatives Not Retained for Detailed Study.

MDOT SHA did consider records of many rare plants, animal, and habitats within the Potomac Gorge. Information related
specifically to Plummers Island was added to the SDEIS and FEIS.

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WBFC DEIS Comments and Testimony, November 2020

- Lack of Due Diligence on study of impacts on Plummers Island’s wetlands and rare plant
communities, and rare plant and animal species (the evaluation of the organisms on the Island
was apparently based on one summertime visit to the head of the Island in 2019). DEIS
APPENDIX L. (Natural Resources Technical Report) subordinate Appendices A-R cover Natural
Resources considered along the route. Asis documented below, APPENDIX L is woefully
incomplete as concerns Plummers Island. Plummers Island is in the large Potomac River / Rock
Run (PR/RR) Natural Resources unit. The DEIS surveys for rare plants and animals on the Island
was cursory, brief, and at the wrong season of the year to identify many of the organisms of
concern.

- Lack of alternatives to condemning part of Plummers Island for the ALB proposed project.

- Lack of consideration of the impact of the Covid-19 epidemic on present and future

With peak traffic flows down due to changed behavior patterns resulting from Covid-19, toll
lanes will be unlikely to provide revenue streams of sufficient reward to P3 contractors, likely
leaving taxpayers on the hook for billions of dollars.

- Lack of forward thinking on Climate Change (only more cars powered by petrol).

- Lack of accepted Build options with mass transportation options (trains, light rail, monorail,
etc.)

- Massive costs, with near certain cost overruns passed on to taxpayers. Regarding
Washington Suburban Sanitary Commission (WSSC) expenditures, estimated to be $2 billion, It
remains unclear if ratepayers would be responsible for this cost.

- Toll lanes that could cost as much as $50 in peak traffic hours, which would provide little
benefit to the average commuter.

- Massive traffic congestion and delays during the construction period lasting 5-10 years, after
which the traffic flow will be just as congested as it was prior to the construction due to the
encouragement of more cars to be on the road, also known as induced demand.

- Because the DEIS’s analysis is incomplete, it is impossible for the concerned Agencies to
assess, and the public to comment on, the proposed project’s impacts. The Agencies cannot
wait until a final ElS is complete to analyze the project’s full impacts, as it will then be too late
for the public to meaningfully comment on them and for the Agencies to consider the public’s
comments and choose the alternative that best alleviates the impacts based on this
information. We respectfully request that the Agencies conduct a supplemental EIS to provide

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transportation loads and patterns (many folks are teleworking and attending virtual meetings).

MDOT SHA conducted a detailed, four-season rare plant survey on National Park Service lands within the project LOD,
including the 0.28-acre portion of Plummers Island that is within the project LOD and would be affected. The survey targeted
41 rare plant species and methodology and results are included in the Rare, Threatened, and Endangered Plant Survey Report
(November 2020).

Refer to Chapter 9, Section 3.1 for a response on Purpose and Need, effects of the Pandemic, and impacts of
teleworking/remote working.

Refer to Chapter 9, Section 3.4.G for a response to climate change considerations.

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Comments addressed above.

WBFC DEIS Comments and Testimony, November 2020
see
the public the ability to meaningfully review and comment on the impacts before a final EIS is

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produced.

Cont
Alternative placement of the Bridge not considered in the DEIS

- MDOT should consider building and placing construction platforms only upstream from the
current bridge to reduce impacts to the Chesapeake and Ohio Canal NHP and Plummers Island.

- MDOT should consider construction of other crossings to alleviate traffic over the ALB
instead of bridge enlargment.

- We respectfully ask that agencies consider these options to the ALB portion of this project to
reduce and minimize impacts to Plummers Island and the surrounding area.

WBFC Background. The WBFC (the Club) was founded in 1900 by professional field biologists
living and working in the Washington, DC vicinity (Perry 2007). Perry (2007) provides a detailed
history of the Club, the Island, and brief biographies of the hundreds of past and present
members up to that time. The members are all professional biologists. Plummers Island,
Chesapeake & Ohio Canal National Historical Park, Montgomery County, Maryland, has been
the WBFC research station and meeting place since 1901 (Appendix 1). Plummers Island is
located immediately downstream from the ALB. The Island covers 12.2 acres of land, the
widest part of which is on the ALB end. The proposed expansion of the ALB, as part of the |-
495 expansion, threatens the existence, and violates the integrity, of the Island as a designated
natural wild area (Appendix 2). “Rock Run Culvert” as identified in the DEIS is actually a
natural Potomac River channel that has divided the Island from the mainland since time
immemorial (Perry 2007). There is a small true concrete and pipe culvert running under the
ALB which drains into the river channel where the channel bends eastward (water apparently
rarely flows from this ALB culvert).

The current ALB proposal would cut across the Island, move or destroy the true channel
“Culvert” that separates the Island from the mainland, clear the trees and level a substantial
part of the Island, clear the significant healthy native beech tree forest on the mainland side
(Popkin 2019, a deadly beech disease is spreading in the NE US), destroy the wetlands
associated with the island and mainland, and result in major infestations of invasive plants. If
implemented this DEIS project would jeopardize future research on trends in biodiversity on
the Island. Noise pollution from expanding the ALB onto the Island would make WBFC
meetings meetings on the Island nearly impossible.

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Old map (above) showing the real Rock Run and Plummers Island (copied from Perry 2007). Map of Plummers
Island Pre-ALB (below). Calling the Potomac River channel “Rock Run Culvert” allows it to be “excluded” from
consideration as a protected wetland in the DEIS Natural Resources APPENDIX L. It is nota Culvert! And “Rock

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Run” has been misapplied to it.

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Comments addressed above.

WBFC DEIS Comments and Testimony, November 2020

Head of Plummers Island adjacent to ALB separated by “Rock Run” channel or “Culvert” from the mainland,
showing Potomac Gorge Riverside Outcrop Barrens, wetland mud flats (inundated here) and sandbars.

ati
#1 The Draft EIS is seriously flawed in many ways. The most pertinent to the WBFC is the failure
Cont to discuss and evaluate the impact of the destruction of part of Plummers Island, a historical

and biological treasure within the Chesapeake and Ohio Canal National Historical Park. There
is not even a footnote about the incalculable value of the long-term research on the biology of
this Island, and nothing about WBFC’s place in it.

The WBFC leased Plummers Island in June 8, 1901, for a meeting place and research station,
and built the cabin that year. The WBEC finally settled the legal purchase the property known
as Plummers Island (Appendix 1), and most of the adjacent mainland up to the C&O Canal Tow
Path, in 1908 (Perry 2007).

The Club has been meeting on Plummers Island continuously for nearly 120 years, and
conducting research there on a wide range of subjects. The Club gave the property to the
National Park Service on July 24, 1959, with the written understanding (Appendix 2) that the
Club retained the right to maintain the island as a natural wild area, use it for scientific

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Comments addressed above.

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research, for meetings of the Club, and to pursue its studies in the field of biology and natural
Cont

history.

Plummers Island is known as “The most thoroughly studied island in North America”, and
perhaps in the world.

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The Club holds events each year on the Island where members gather with guests. We
maintain the historic Club cabin, “Winnemana Lodge,” built in 1901. The name Winnemana
was the name originally given to the cabin (Lodge) in 1906 and is translated from a Native
American language meaning "beautiful island." The epithet winnemana has been given to
Latin names for various insects and mammals described from Plummers Island collections.

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Winnemana Lodge built in 1901. The Cabin is still standing and well maintained by WBFC.

There are always research projects ongoing on the Island, conducted both by members and by
grantees funded by our Endowment Research funds. Many of these projects run for years,
and are follow-ups to pre-ALB censuses, showing impacts of pollution, and changes in fauna
and flora. WBFC reviews dozens of research grant proposals each year and usually funds 5 to
10 of them each year, with first priority given to studies on the Island, second priority to the
Potomac Gorge, eventually allowing studies in the Mid-Atlantic region. Voucher specimens for
plants and animals collected for the scientific studies on the Island are housed and catalogued
in the National Museum of Natural History, Smithsonian Institution. These specimens and
observations from catch and release and other sightings are reported in hundreds of published
scientific papers.

The ALB was constructed immediately to the west (up river) of the island starting in 1962. The
placement of the original bridge was intentionally positioned to protect the Island (Appendix 2
& 3) to ensure the continuation of WBFC’s valuable long-term biological research program.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-364

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When the ALB was expanded in the early 1990s, the expansion was done by filling in the gap
between the north and south-bound lanes, again avoiding direct damage to the Island. Despite
the best efforts of engineers and construction implementation to avoid impacting the Island,
the original ALB construction and 1992 expansion led to many invasive plants infesting the
Island, and disturbing the water flow to its flanking wetlands. The worst of the invasive plant
infestations are on the head of the Island adjacent to the ALB. Negative impacts of local
environmental pollution on lichens and insects have been documented on the Island. Traffic
on the ALB also led to Lead pollution from vehicle exhaust and declines in lichen species, which
are particularly sensitive, from 70 to 20 (Lawrey & Hale 1979). This illustrates the importance
of long-term scientific research on the Island, which influenced legislation to reduce lead in
gasoline, and eventual reduction in lead contamination locally and world-wide.

Excerpt of Washington Post article 19 May 1994 by D’Vera Cohn about lichens and Pollution.

Lichen research also shows that the bridge’
has become a dominant factor in shaping the is-.
land's ecology.

Lichens, which are crusty combinations of al-
gae and fungus, are superb barometers of pollu-
tion. They soak up nutrition from the air, along
with any toxins hanging about. There were 70-
species of lichen on Plummers Island at the
turn of the century; now there are 20.

Their decline began after the bridge was
built. When Lawrey and his late colleague and
mentor, Mason Hale, scraped lichen samples
off rocks and had them analyzed, they fount
their lead content had more than tripled from’
1958 to 1970, Their joint article on their find-
ings, blaming car exhaust for the pollution, was’
published in the journal Science in 1979. ~ -

Recent lichen research is more encouraging.
Lead concentrations have been dropping, in
tandem with the phasing out of leaded gasoline.
Eventually, Lawrey hopes, the number of li-
chen species will rise, as has happened in other
locales.

“We'll have to just wait and see,” he said. ©
“Fortunately, the club will be here forever, and
some club member—if it is not me—will find:
out the answer.” ‘

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Since 1901, over 400 scientific publications have focused on the Island's biota: birds, fish,
mammals, reptiles and amphibians, plants, insects, arachnids, nematodes, and other groups
(Many published titles in the Proceedings of the Biological Society of Washington, available at
https://WBFC.science/biological-studies/) (see Appendix 7 for titles in this series)

An article in the Potomac Basin Reporter (1973) (Appendix 4) cited “1,226 species of plants
and 4,293 species of animals on the Island...” including “1500 species of beetles” and “300 to
400 species of bees”. The Island “is ‘type-locality’ for at least 175 species, ...” “No less than 16
genera and three families of plants and animals have been described on the basis of
specimens collected on the Island.” Some of these numbers were overestimates made before
computer databases were compiled. Insect inventories are still substantially incomplete (see
Brown & Bahr 2008). The number of vascular plants recorded on the Island, stands around
900 (Shetler et al. 2006; including newer records).

Many thousands of plants and animals have been documented from Plummers Island over 120
years of WBFC research.

Invertebrates on the Island

The Brown & Bahr (2008b) appendix lists all Invertebrate taxa known from the Island, including
Insects. (Taxa are taxonomic groups of any rank, such as a species, genus, family, order, or
class).

Class Insecta diversity on the Island

Brown & Bahr (2008a & b) documented the known insect species records for the Island.
“Based on an examination of the insect collection of the National Museum of Natural History
and a review of relevant literature, we document 3012 insect species in 253 families,
encompassing 18 insect orders: Collembola, Odonata, Dermaptera, Blattodea, Phasmatodea,
Orthoptera, Psocoptera, Thysanoptera, Hemiptera, Neuroptera, Megaloptera, Coleoptera
(beetles), Mecoptera, Trichoptera, Lepidoptera, Diptera, Siphonaptera, and Hymenoptera.”
The authors acknowledge that 16 families of the 600 beetle species have been recorded for
the Island, yet they conclude this probably includes only a quarter of the families likely
present. Among insects recorded from Plummers Island are 836 species of butterflies and
moths (Lepidoptera), with 27 different species of moths described from specimens collected
on the island (Brown et al. 2008). Many of these species were described from collections made
on the Island. No site in North America has been surveyed as intensively, yet much of the
insect fauna remains to be studied, with hundreds of additional species likely to be
documented.

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Plummers Island.

A few of the many Tenebrionidae from Plummers Island and nearby. (Steiner 2008 fig. 1-16)

Many of these Insect orders depend on wetland habitats for all or much of their life-cycles.
Seven types of wetlands are characterized on the Island (Simmons et al. 2016, units 1-5).

Steiner (2000) documented a globally and state-rare click beetle on the Island. Steiner (2008)
inventoried 128 species of Tenebrionidae beetles from Maryland, most of which occur on

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WBFC DEIS Comments and Testimony, November 2020

In 2015 Steiner collected the first Emerald Ash Borer (EAB) on the Island. Within the following
two years nearly all the mature American and Green Ash trees on the Island were dead or
dying. These trees were major components of vegetation types 5 to 11 (see Plummers Island
Plant Communities section, below), and they have been decimated over much of Eastern
North America.

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Imperial moth caterpillar (Eacles imperialis) at head Plummers Island, Oct. 2013 (Soreng photo). These moths
are rarely seen any more in the area.

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Insects, like other organisms, are experiencing major declines globally (Borenstein 2018;
Hallman et al. 2017; Jarvis 2018; Vogel 2017). Giant silk moths (Saturniidae) include Imperial,
Cercropia, Luna, Polyphemus, Royal Walnut, Rosy maple etc. In New England, most of these
are state endangered species because they have been hammered by an introduced biocontrol
agent -- a non-native tachinid fly, Compsilura concinna, which was introduced to try and
control gypsy moths in Massachusetts. That fly has wreaked havoc in New England because it
is a generalist and the Saturniids have been heavily impacted. This pest has arrived in DC and
vicinity but impacts here are not yet known (John Lil pers. comm. 2020). Thanks to the long

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WBFC DEIS Comments and Testimony, November 2020

history of research on insects of Plummers Island, the Island would be a key place to further
document this “insect apocalypse,” assuming the Island remains intact. The DE/IS ALB project
puts WBFC Plummers Island research on trends in biodiversity in jeopardy.

Birds on the Island and American Legion Bridge

An established Peregrine Falcon nest is located on the American Legion Bridge and two adults
and at least one chick was observed this past June (Putnam 2020). The nest box was put there
by MD State Highway Association (SHD) working with US Fish & Wildlife Service (USFWS) in
2007, and peregrines have been nesting there for 12 years. In the DEIS document, “they
propose moving the nest box to another location just before nesting season when the bridge
constructions begins, but as an established nest this recommendation may not be successful”
(Carla Dove, WBFC member, Smithsonian Ornithologist, pers. comm.). A Mississippi Kite was
also observed this year. Wetmore & Manville (in Manville 1968) account for birds known from
the Island to that time. Johnston & Winings (1987) attribute the decline of forest breeding
birds on the Island and vicinity to vehicular traffic.

Mammals on the Island

Five bat species are documented by Smithsonian collections from the Island. Among these are
the Endangered northern long-eared bat, Myotis septentrionalis, and the eastern small-footed
Myotis, Myotis leibii. The latter was separately described as Myotis winnemana. Other
mammals collected include shrews, moles, mice, voles, eastern cottontail, eastern gray
squirrel. Georgian bat, large brown bat, red bat, evening bat, whitetail deer, eastern skunk,
mink, eastern long-tailed weasel, fox squirrel, eastern flying squirrel, eastern otter, chipmunk,
eastern red fox, Virginia muskrat, and woodchucks have also been recorded (Manville 1968).
Mammologists these days often monitor by catch and release and other methods, rather than
preparing museum specimens from animals on the Island. For example, the last regional
report of an eastern wood rat was reported on Plummers Island. Also, DNA from bones,
feathers, fur, or feces can now be used to precisely identify species.

Plummers Island Plant Communities

The National Park Service prepared a map of the vegetation zones in the region with a coarse
map for Plummers Island. The plant communities were remapped in finer detail in 2016

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Response to DEIS Comment #1

WBFC DEIS Comments and Testimony, November 2020
It appears from Simmons et al., 2016 that Unit 1 is outside of the Study Preferred Alternative Limits of Disturbance. Our plant

survey did document populations of Hibiscus laevis and Paspalum fluitans within Unit 2 of Simmons et al., 2016, which is
within the Study Preferred Alternative Limits of Disturbance. The project has agreed to conducting additional rare plant
surveys during the flowering season of each of the rare plant species documented in the 2020 rare plant survey prior to

(Simmons et al. 2016). (Appendix 6, also available at WBFC.science). This map included 12
communities, 8 within wetlands, and one upland type that is unique to the Potomac Gorge.

These plant communities are proxies for where other organisms also live or might be found. :
construction.

Plummers Island wetlands (units 1 to 7),

The Island’s wetland habitats were mapped by Simmons et al. (2016). These were divided into
5 major communities, and 3 subdivisions within those. These include sandbars and mud flats
(units 1 & 2), rocky outcrop barrens (3A & B), to regularly flooded bottom land forests (4-6).
These areas flood frequently. Community 7 is higher and infrequently flooded. Community 8, i
Piedmont Basic Mesic Forest, includes a rich herb layer that is rare in the Potomac Gorge and
is rarely flooded.

The sandbars, mud flats, and rock barrens occur on the Potomac River side. Mud flats also
occur along the usually sluggish “Rock Run” channel. The flooded bottom bench lands (units 5,
6 & 7) cover much of the area adjacent to “Rock Run” channel and the toe of the Island. There
are some rock-bottomed swales in the interior the Island (unit 5A). The low benches are
mostly flooded only when high waters reach above the 9 ft mark at Little Falls Gauging Station
(3 miles downstream)
(https://water.weather.gov/ahps2/hydrograph.php?gage=brkm2&wfo=Iwx). This level is
reached or exceeded often in winter and spring, but frequency and duration vary greatly from
year to year. There are rare plants and animals in these zones. Many species records for the
Island come only from these zones, and many of these species are reliant on these different
wetland habitats for some or all of their life-cycles. Flooding above the 4.5 ft mark, basically
makes the Island inaccessible even by wading, and covers all the sand and mud flats up to the
breaks to the bench lands. See Brown & Bahr (2008) for Insect inhabitants of the riparian
zones.

Populations of two rare plants of concern were observed within the zone of disturbance in
the riverside mud flats (Simmons et al. 2016, unit 1) on 31 October 2020 Hibiscus laevis and
Paspalum fluitans. Neither of these were reported by the survey crew contracted for the
DEIS. Any DEIS related construction plans should seek to avoid changes to water flowing to

Plummers Island wetlands including “Rock Run” channel.
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Hibiscus jaevis in mud flats between Potomac Gorge Riverside Outcrop Barrens (by DEIS SHH102 survey stake,
Soreng photo 2020). This species also occurs at the closer head of the Island

Potomac Gorge Riverside Outcrop Barrens

The rocky Potomac Gorge headlands on Plummers Island harbor the rare Solidago racemosa,
and Hypericum prolificum. These barrens are routinely scoured by high floods, but these plants
hang on!

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Potomac Gorge Riverside Outcrop Barrens near the head of the Island Hibiscus laevis in foreground. ALB in
background (Simmons photo 2020).

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Piedmont Basic Mesic Forest (unit 8).

This vegetation zone floods rarely, being more than 15 ft above the low flow. This area is rich
in herbaceous plant species known only here on the island. And it is gorgeous to see in the
spring. It includes the largest population of Jeffersonia diphylia (Twinleaf) that we know of in
the Potomac Gorge. The rare Phacelia covillei thrives here, as does the rare Erigenia bulbosa
and Valeriana pauciflora, and the leatherwood shrub, Dirca palustris.

Piedmont Basic Mesic Forest includes a large stand of Jeffersonia diphylla (Soreng photo).

Potomac River Bedrock Terrace Hardpan Forest (unit 12)

This Globally and State rare plant community is endemic to the Potomac River Gorge. On the
Island it covers the east and west knolls which rarely ever flood, being as much as 60 ft above

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the riparian zone. The vegetation is markedly different from the other zones as soils are thin
over bedrock, and the trees and shrubs are stunted and slow growing. Various sedges and
grass species (e.g. including Melica mutica, Dichanthelium aciculare, Piptochaetium
avenaceum), and trees and shrubs, are only known from this zone on the Island.

Potomac River Bedrock Terrace Hardpan Forest (unit 12) — Piptochaetium avenaceum / blackseed needle
grass glade on ALB survey line. The bridge is visible in the background (Simmons photo 2020).

The Potomac Gorge is a gem among our National Parks
https://academic.oup.com/bioscience/article/54/1/8/234660),

Plummers Island is a special part of the middle section of the Potomac Gorge. The plant and
animal diversity are tremendous with many rare species and long-term ongoing research
projects. State and Globally rare plants and Natural Vegetation Communities are documented
in Simmons et al. 2016 & 2000 (Appendix 5 & 6). These reports were based on over 120 years

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Comments addressed above

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of collecting plants and making herbarium vouchers (detailed in Shetler et al. 2006), species
surveys for a DNA barcoding project led by J. W. Kress (Gambino, 2009), and vegetation plots
established from 1998 to 2000 by E. Fortson-Wells to document invasive plants in the flood
plains of the island, followed up by a three year survey of invasive plants and vegetation
between 2012 and 2015, conducted by the WBFC Invasive Biota Committee. Voucher
specimens, housed at the United States National Herbarium, Department of Botany, National
Museum of Natural History, Smithsonian Institution, are recorded and mostly imaged (records
available online at https://collections.nmnh.si.edu/search/botany/ ). Many plants and animals
occur in the Potomac Gorge at the northern extensions of their geographic ranges.

Many biologists have walked and observed every nook and cranny of this topographically
diverse island with its rocky hills and cliffs, including the globally and state rare Potomac River
Bedrock Terrace Hardpan Forest, and sensitive wetland bottoms of “Rock Run” Channel and
sand lenses and mud flats on the Potomac River side of the Island. We love this place and its
historical, current, and hopefully future biological relevance. Rebuilding and expanding any
part of the American Legion Bridge or access to that on the Island would destroy or seriously

damage much of it and violate the integrity of the Island. Response to DEIS Comment #2
The noise pollution and visual impact of the current ALB are annoying at best to our meetings In earlier coordination, NPS requested that no noise barriers be constructed within NPS-managed land due to Section 4(f)
concerns.

on the Island. Expanding the ABL onto the Island will make conversation at meetings at the
Cabin on the Island nearly impossible. The noise and air pollution will be much worse during
the construction phase. The noise impact on birds may be more extreme (Johnston & Winings
1987). Rare plants and animals and habitat will be lost. It will no longer be “Winnemana”, a
beautiful island.

If you argue otherwise, we are lost as a Nation. The efforts of science are meaningless. Losing
even a piece of this Island is to lose the heart and soul of what our conservation ethic means.

We believe Plummers Island is as important as any of the national museums in Washington,
DC, and WBFC members implore MDOT to preserve intact this Historical and Biological
National Treasure.

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Please visit our web site — https://WBFC.science

Thank you

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WBFC President, Vice President, and members

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The following pages reflect the attachments included in the letter. There are no comments or responses provided on these
WBFC DEIS Comments and Testimony, November 2020 pages; they are included for the record.

Vogel, G. 2017. Where have all the insects gone! Science 2 May 2017, Vol. 356, Issue 6338,
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Appendices:

1. WBFC Deed to Plummers Island (1908).

2. Transfer of the WBFC property to United States Government (1959).

3. Washington Post article, 1959

4. Potomac Basin Reporter, 1973 [Plummer Island Beetles & Bees and Type locality]

5. Rare Flora and Natural Communities of Plummers Island, Montgomery County. Maryland.
6. Natural Communities of Plummers Island, Montgomery County, Maryland.

(Vegetation plots are numbered. Plot 4 was lost due to the ALB abutments redirecting the
flow of Rock Run Channel / ”Culvert” between 2000 and 2013. Plots not mapped, nor are two
newer plots and older NPS plots)

7. Titles in the Bulletin of the Biological Society of Washington series “Natural History of
Plummers Island, Maryland,” and other key publications.

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Appendix 1. cont.
Appendix 1. Title to Plummers Island and adjacent mainland

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Appendix 1. cont.

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Bartsch, Paul
Mann, William M.
Ricker, P. L.

Active Members:

Aldrich, John W.
Appel, William D.
Benedict, J. E.
Blake, S. F.
Brown, Edgar
Clarke, J. F. G.

Compton, Lawrence V.

Davis, Malcolm
Duvall, Allen J.
Erickson, Ray C.
Erlanson, C. 0.
Fredine, C. Gordon
Fuller, Henry $
Gabrielson, Ira N.
Gardner, Marshall C.
Graham, Edward H.
Griffith, Richard E,
Handley, C. 0., Jr.
Hotchkiss, Neil
Jackson, Hartley H. T.

Krombein, Karl V.
Leonard, Emery C.
Lincoln, Frederick C.
Linduska, Joseph P.
Meehean, 0. Lloyd
Morrison, J. P. E.
Nelson, A. L.
Oehser, Paul H.
Parker, Kenneth W.
Presnall, Clifford C.
Reed, Theodore H.
Russell, Paul G.
Setzer, Henry W.
Smith, Albert C.
Smith, Lyman B.
Sohns, Ernest R.
Stevenson, James (0).
Stewart, Robert E.
Stickel, William H
Swift, Ernest F.
Uhler, F. M.

Zahniser, HowardNonresident
Members:

Allan, Philip F.
Allen, Durward L.
Arechino, Samuel
Bartlett, H. H.
Bryant, Harold C.
Cahalane, Victor H.
Cottam, Clarence
Couch, Leo K.
Dargan, Lucas M.
Eklund, Carl R.
Fowler, James A.
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Appendix 3. Washington Post Article, 1959.

—It’s for the Birds

Pl Island is for
the b and it’s going to

that way.

The National Capital
Planning Commission voted
yesterday to accept an offer
by the Washington Biolo-
gists Field Club, Inc., to
donate the Potomac island
near Cabin John as part of
the George Washington Me-
morial Parkway.

The deed wil] stipulate
that the nature group can

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Appendix 4. Potomac Basin Reporter - 1973 Beetles and Bees & Type locality

Plummers Island: Unknown,
But Famous in Its Way

Plummers Island, a tiny, rocky 12 acres jutting out of
the Potomac River above Washington, D.C., is unknown to
the general public. Among biologists, however, this spot
downstream from Cabin John is one of the world’s most
famous spots for studying plants and animals. On any given
day, a scientist probably could discover a new insect species
on the Island.

Discovering new species or a preponderance of old ones
has been the particular concern of members of the
Washington Field Biologists Club, a professional organiza-
tion of limited membership, since the turn of the Century.
The Club acquired the Island in 1901 and later gave it to
the National Park Service with the stipulation that members
could continue research on flora and fauna. Inaccessibility
and a heavy insect population at certain times of the year
have made the Island undesirable to visitors — and thus

reserved it, somewhat.

> rn os ate ie island 3 Members of the Club have listed more than 1,226 species
3 Cc udies, The of plants and 4,293 species of animals on the Island
t ommission will drop a 1 (everything from a dog to a jumping mouse or a rare bird;
condemnation suit to ac- r 1500 species of beetles alone live on Plummers, along with
quire the island, but ‘still 8 300 to 400 species of bees). It is the “type-locality” for at
3 lans to push / t least 175 species, meaning it is associated with the
2 r ol another suit A discovery of new species. No less than 16 genera and three
in § v ving Club-owned land | J families of plants and animals have been described on the
on the Maryland shore. . i} basis of specimens collected on the Island.
3 : e Because these scientists have had unique access to
i- specimens collected over three-quarters of a century, many
d comparative studies were possible. One recent study of
8 lichens suggests thal metropolitan Washington air pollution
- is weakening the relative immunity of certain kinds of
it lichen to insects, causing them to disappear.
d Important news about measuring environmental changes

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from these and other biological indicators will be forth-
coming from the Biologists Club.

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Appendix 5. Rare Plants of Plummers Island (Excerpt).

A total of 4 globally rare natural communities, two of which are state rare; 2] state-rare extant flora, including one
globally rare extant species; and 36 state-rare historic flora, including 4 globally rare historic taxa are known from the
island.

Rare Flora and Natural Communities
Rare Natural Communities (in order of lowest to highest in elevation)

Piedmont / Central Appalachian Sand Bar / River Shore (Low Herbs Type): Eragrostis hypnoides - Lindernia dubia -
Ludwigia palustris - Cyperus squarrosus Herbaceous Vegetation (USNVC: CEGL006483). Non-tidal mudflats.
Global/State Ranks: G3/SNR

Potomac Gorge Riverside Outcrop Barren (Potomac Gorge Type): (Hyperician prolificwn, Eubotrys racemosa) |
Schizachyrium scoparium ~ Solidago racemosa - lonactis linariifolia Herbaceous Vegetation (USNVC: CEGL006491).
Global/State Ranks: G2/S1.

Mid-Atlantic High Terrace Hardwood Floodplain Forest: Acer saccharwwn - Fraxinus americana / Carpinus caroliniana |
Podophylium peltatum Forest (USNVC: CEGL006459), Global/State Ranks: G3?/SNR.

Potomac River Bedrock Terrace Hardpan Forest: Carva glabra - Quercus (rubra, montana) - Fraximus americana |
Viburmon rafinesqueanum/ Piptochaetium avenaceum Forest (USNVC: CEGL006209). Global/State Ranks: G1G2/S1.
Rare Flora

Extant Flora
White Bear Sedge (Carex albursina) G5/S3 (last vouchered in 2004; observed by Soreng in 2020)
Pubescent Sedge (Carex hirtifolia) G3/S3 (last vouchered in 1934)
Flat-spiked Sedge (Carex planispicata) G4AQ/S182 (RH. Simmons 3525, 4 May 2013)
Northern Leatherflower (Clematis viorna) G3/S3 (last vouchered in 1982)
Needle-leaf Panic Grass (Dichanthelium aciculare) G5/S2? (R.J. Soreng, 8289a, 25 May 2013)
Open-flower Panic Grass (Dichanthelium laxiflorum) G5/S1? (last vouchered in 1960; photographed by
Simmons in 2015)
Leatherwood (Dirca palustris) G4/S2 T (R.H. Simmons 4067, 6 Nov 2015)
Harbinger of Spring (Erigenia bulbosa) G3/S3 (last vouchered in 1983, observed by Soreng in 2020)
Halberd-leaf Rose-mallow (Hibiscus laevis) G5/S3 (last vouchered in 1982; photographed by Soreng
in 2020)
Green Violet (/7ybanthus concolor) G3/S3 (last vouchered in 1960)
Ostrich Fern (.Matteuccia struthiopteris) GS/S253 (One of the largest known stands in the state.
R.H. Simmons 3532, 5 May 2013)
Two-flower Melic (Melica mutica) G5/S3 (last vouchered in 2015, R./. Soreng 8340)
Horse-tail Paspalum (Paspalum fluitans) G5/S2 F (E.F. Wells 4507, 20 Sep 1997)
Coville’s Phacelia (Phacelia covellei) G3/S2 E (R.A. Simmons 3920, 14 May 2015)
Miami-mist (Phacelia purshii) G5/S3 (last vouchered in 1983; observed by Soreng on mossy rocks by
plot 21 between 2013 and 2015)
Hairy Hop-tree (Ptelea trifoliata var. mollis) G5/53 (RH. Simmons 33585, 2 Jun 2013)
Smooth Wild-petunia (Ruellia strepens) G4G5/S$2S3 (RH. Simmons 4221, 9 Oct 2016)
Pale Dock (Rumex altissimus) G5/S1 E (last vouchered in 1997)
Sticky Goldenrod (Solidago racemosa) G5T3?/S1 T (photographed by Soreng in 2020)
Pink Valerian (Valeriana pauciflora) G4/S1 E (last vouchered in 1982)
Golden-alexanders (Zizia aurea) G5/S3 (R.J. Soreng 9336, 29 Apr 2017)

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Historic Flora
Earleaf False Foxglove (Agalinis auriculata) G3/S1 E (last vouchered in 1936)
Canada Milkvetch (Astragalus canadensis var. canadensis) G5/S1 F. (last vouchered in 1940)
Blue Wild Indigo (Baptisia australis var. australis) G5/S2 T (last seen in 1935 by Killip & Blake)
Short’s Rock Cress (Boechera dentata) G5/S3 (last vouchered in 1916)
Nottoway Valley Brome Grass (Bromus nottowayamis) G3G5/S3S4 (last vouchered in 1947)
Hitchcock’s Sedge (Carex hitchcockiana) GS/S1 E (last vouchered in 1933)
Short’s Sedge (Carex shortiana) G3/S3S4 E (last vouchered in 1928)
Bur-reed Sedge (Carex sparganioides) G5/S3 (last vouchered in 1933)
Slender Dayflower (Commelina erecta) G3/S3 (last vouchered in 1960)
Spring Coralroot (Corallorhiza wisteriana) G5/S1 E (last vouchered in 1915)
Smartweed Dodder (Cuscuta polygonorwn) G5/S1 E (last vouchered in 1961)
Many-flowered Flatsedge (Cyperus lancastriensis) G5/S2S3 (last vouchered in 1997)
Reflexed Flatsedge (Cyperus refractus) G5/S2? (last vouchered in 1960)
Dwarf Larkspur (Delphiniwn tricorne) G3/S3 (last seen in 1935 by Killip & Blake)
Toothed Tick-trefoil (Desmoditum cuspidatum) G5/5 1 (last vouchered in 1960)
White Trout Lily (Erythronitun albidwmn) G3/S2 T (last vouchered in 1983)
Downy Milkpea (Galactia volubilis) G3/S3 (last vouchered in 1961)
Striped Gentian (Gentiana villosa) G4/S1 E (last vouchered in 1903)
Western Sunflower (Helianthus occidentalis) G3/$1 T (last vouchered in 1940)
Eastern Bloodleaf (/resine rhizomatosa) G5/S1 E (last vouchered in 1915)
'Violet Bush-clover (Lespedeza frutescens) G3/53 (last vouchered in 1960)
Bog Twayblade (Liparis loeselii) G3/S1S2 (last vouchered in 1917)
Climbing Milkvine (Matelea obliqua) G4?/S1S2 E (last vouchered in 1937)
Purple Mecardonia (\Mecardonia acuminata var. acuminata) G3/S2 E (last vouchered in 1939)
Basal Beebalm (\Monarda clinopodia) G5/S3S4 (last vouchered in 1982)
Early Forget-me-not (\/yosotis verna) G3/S3 (last vouchered in 1962)
Racemed Milkwort (Polygala polygama) G3/S1 T (last vouchered in 1950)
Small Pondweed (Potamogeton pusillus ssp. pusillus) G5/S$2S4 (last vouchered in 1930)
Whorled Mountain-mint (Pycnanthemwmn verticillatum) G5/S1 E (last vouchered in 1951)
Virginia Sida (Ripariosida hermaphrodita) G3/81 E (last vouchered in 1938)
Brown-eyed Susan (Rudhbeckia triloba) G5/S3 (last vouchered in 1940)
Sessile-fruited Arrowhead (Sagittaria rigida) G5/S1 E (last vouchered in 1930)
Carolina Willow (Salix caroliniana) G5/S3 (last vouchered in 1982)
Snowy Campion (Silene nivea) G4?/S1 E (last vouchered in 1917)
Riverbank Goldenrod (Solidago rupestris) G4?/S1 X (last vouchered in 1903)
Sand Grape (itis nupestris) G3/S1 (last vouchered in 1906)

‘(= Lespedeza violacea (L.) Pers. (misapplied); “Due to a problem with the type specimen of
Lespedeza intermedia, the name Lespedeza violacea, by which this species has long been known,
applies to L. intermedia, and the name L. frutescens now applies to [Lespedeza violacea]” (VBA 2020)]

Key to Global Rank
GI: At very high risk of extinction duc to extreme rarity (often 5 or fewer populations), very steep
declines. or other factors.

G2: At high risk of extinction due to very restricted range, very few populations (often 20 or fewer), steep

declines, or other factors.

G3: At moderate risk of extinction due to a restricted range, relatively few populations (often 80 or
fewer), recent and widespread declines, or other factors.

G4: Uncommon but not rare, some cause for long-term concern due to declines or other factors.
G5: Common, widespread, and abundant.

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Appendix 6. Natural Communities of Plummers Island

GH: Known only from historical occurrences but still some hope of rediscovery.

GNR: Not ranked.

GX: Not located despite intensive searches and virtually no likelihood of rediscovery.

Key to State Rank

$1; At very high risk of extirpation from the state due to extreme rarity (often 5 or fewer populations),
very steep declines, or other factors.

$2: At high risk of extirpation from the state due to very restricted range, very few populations (often 20
or fewer), steep declines, or other factors.

$3: At moderate risk of extirpation from the state due to a restricted range, relatively few populations
(often 80 or fewer), recent and widespread declines, or other factors.

54: Uncommon but not rare: some cause for long-term concern due to declines or other factors.

$5: Common, widespread, and abundant.

SH: Known only from historical occurrences but still some hope of rediscovery.

SNR: Not ranked.

SX: Not located despite intensive searches and virtually no likelihood of rediscovery.

Federal and State Status

Legal status denotes a simple hierarchy of endangerment in three categories: Endangered (E). Threatened (T), and
Endangered Extirpated (X). Federal Status is determined by the U.S. Fish and Wildlife Service.

Federal Status

LE = Listed Endangered - A taxon is threatened with extinction throughout all or a significant portion of
ils range.

LT = Listed Threatened - A taxon is likely to become endangered in the foreseeable future.

State Status

E = Endangered - A taxon is threatened with extinction throughout all or a significant portion of its range.
T = Threatened - A taxon is likely to become endangered in the foreseeable future.

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XIL. A biological note on Trypoxylon richardsi Sandhouse, by Karl V. Krombein. Vol. 72, pp. 101-102.
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XIII. Descriptions of new wasps from Plummers Island, Maryland (Hymenoptera: Aculeata), by Karl V.

The series “Natural History of Plummers Island, Maryland,” was published in the Proceedings of the ENE AR VOLTS BENT RRR SES Li

Biological Society of Washington as listed below, except for XX, XXV, and XXVI, which were published
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XIV. Biological notes and description of the larva and pupa of Copelatus glyphicus (Say) (Coleoptera:
Dytiscidae), by Paul J. Spangler. Vol. 75, pp. 19-23. March 30, 1962.

IL. Introduction, by William R. Maxon. Vol. 48, p. 115-117. August 22, 1935.

XV. Descriptions of the stages of Chaetodactylus krombeini, new species, a mite associated with the bee,
Osmia lignaria Say (Acarina: Chaetodactylidae), by Edward W. Baker. Vol. 75, pp. 227-236.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS Cco-391

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FINAL ENVIRONMENTAL IMPACT STATEMENT

WBFC DEIS Comments and Testimony, November 2020

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-392

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DB I-495 & |-270 Managed Lanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

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WEST END CITIZENS ASSOCIATION — BRIAN SHIPLEY

WEST END CITIZENS
ASSOCIATION

Rockville, Maryland

November 9, 2020

Maryland Department of Transportation
707 North Calvert Street, Mail Stop P-601
Baltimore, MD 21202

To Whom It May Concern,

| am writing to you as President of the West End Citizen Association (WECA), a community of
1,600 homes in Rockville, MD. |-270 Exits 5 and 6 offer direct access to our community and our
entire western boarder is |-270— we rely on |-270 and will be greatly impacted by any changes.

Our community members have been actively engaged in understanding and evaluating the
seven alternatives presented in Chapter 2 of the Draft Environmental Impact Study. When put
to a vote, the community selected the NO BUILD option because we believe that the other six Response to DEIS Comment #1

alternatives will NOT positively impact congestion along |-270. Additionally, it is predicted that . . . = a

calewerlinn ail be ee ate and midoW aleaaied inte cure: hou will likely Refer to Chapter 9, Section 3.3.A for a response to Analysis of Alternatives Retained for Detailed Study.
lower traffic volumes on [-495 and |-270. Therefore, it only makes sense to hold off on next
steps for this project until anew purpose and need is defined.

Thank you.

Sincerely,

(a Wry
Brian Shipley X

President, West End Citizens Association

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-393

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

WEST MONTGOMERY COUNTY CITIZENS ASSOCIATION — CAROL VAN DAM FALK

From: Carol Van Dam Falk <carolvandam1(@gmail.com>

Sent: Monday, November 9, 2020, 10:52 AM

To: Lisa Choplin; governor.mail(@maryland.gov; pfranchot(@comp.state.md.us;
‘Treasurer@treasurer.state.md.us; mare.elrich@montgomerycountymd. gov:
councilmember.friedson(@montgomerycountymd. gov;
councilmember.albornoz@montgomerycountymd. gov;
councilmember.glass(@montgomerycountymd. gov;
councilmember.jawando@montgomerycountymd. gov;
councilmember.riemer(@montgomerycountymd. gov; susan.lee(@senate.state.md.us:
ariana.kelly@house.state.md.us; Korman, Mare Delegate, sara.love@house.state.md.us
Subject: Beltway Expansion DEIS

November 9, 2020

Dear Ms. Choplin, Director, I-495, |-270 P-3 Office, Md-DOT,

The Draft Environmental Impact Study (DEIS) and other independent
analyses has shown that Governor Hogan’s beltway expansion project
would hurt local ratepayers, Maryland taxpayers, and would be
especially devastating for local residents. In March, the Washington
Suburban Sanitary Commission (VWWSSC) estimated the cost would be
$2 billion to move water and sewer pipes to make way for the project;
that’s more than double the original estimate from MDOT. The state has
consistently refused to acknowledge who will cover the cost. WSSC

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Response to DEIS Comment #1
Refer to Chapter 9, Section 3.4.M for a response to impacts to utilities and associated costs.

Refer to Chapter 9, Section 3.5 for a response to the P3 Program and Project Cost.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Response to DEIS Comment #2
#1 fears it may have to raise ratepayers’ water bills. Despite Governor Thank you for your comment concerning impacts to Rock Creek Stream Valley Park and Indian Spring Terrace Local Park. As
Cont Hogan's claims that the proposal will cost Maryland taxpayers nothing described in the Supplemental DEIS, the Preferred Alternative was identified after coordination with resource agencies, the
the DEIS admits that upwards of $1 billion in state subsidies might be public, and stakeholders to respond directly to feedback received on the DEIS to avoid displacements and impacts to
needed to complete the project (Washington Post) significant environmental resources, and to align the NEPA approval with the planned project phased delivery and permitting
approach which focused on Phase 1 South only. The Preferred Alternative includes two new, high-occupancy toll (HOT)
Other public/private partnership projects like the Purple Line have run managed lanes on I-495 in each direction from the George Washington Memorial Parkway to west of MD 187 and conversion
over budget to the tune of $755 million. Developers have demanded the of the one existing high-occupancy vehicle lane in each direction on I-270 to a HOT managed lane and adding one new HOT
state cough up additional funding to keep the project alive. The managed lane in each direction on |-270 from |-495 to north of |-370 and on the I-270 east and west spurs. The Preferred
governor’s response? Crickets. The DEIS acknowledges that under high Alternative includes no action or no improvements at this time on I-495 east of the |-270 spur to MD 5 in Prince George's
cost and high inforest rats ScenanGs Avery Sindle alternative will tena County. See Figure 1-1 in the FEIS. The potential impacts raised in your comment had been identified in the DEIS related to
deficit hae $482 million to $1 01 bison for Crile the Purele Line build alternatives that would have spanned the entire study area. Because Rock Creek Stream Valley Park and Indian Spring
——__—_ . g P , Terrace Local Park are located outside the Preferred Alternative limits of build improvements, those impacts have now been
Loxal‘eonnnuniites-vdil Gay the hissed piss feria beliway oroiket completely avoided. Any future proposal for improvements to the remaining parts of I-495 within the study limits, outside
#2 The DEIS acknowled ah 1 ae P ri ‘Ib he ject. of Phase 1 South, would advance separately and would be subject to additional environmental studies, analysis, and
: 2 BERT OM ERBPE TIRE Ts ‘ BFOPSUIeS YT De Savery collaboration with the public, stakeholders, and agencies.
impacted, and up to 34 homes will have to be bulldozed completely.
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The project will disproportionately impact local communities, particularly Response to DEIS Comment #3
#3 i «ys «ge .
_ ten oe ~ oe of a all oe a Refer to Chapter 9, Section 3.4.D for a response to Environmental Justice and equity concerns.
orced to cope with Increased noise and air po ution and Increased ris
of flooding and water pollution.
ee
——— Response to DEIS Comment #4
#4 The proposal would also negatively impact dozens of community Refer to Chapter 9, Section 3.4.C for a response to analyses of parklands and historic resources.
resources including schools, parks, and hospitals, not to mention the
numerous environmental concerns. The DEIS acknowledges that the Refer to Chapter 9, Section 3.4.F for a response to adverse impacts to air quality.
project will lead to increased particulate matter, carbon monoxide, Refer to Chapter 9, Section 3.4.G for a response to climate change and greenhouse gas considerations.
ozone, carbon dioxide, and greenhouse gas emissions in local
communities, yet it does not adequately address these concerns.
== Response to DEIS Comment #5
The goal of the project is to increase highway capacity, which obviously Refer to Chapter 9, Section 3.4.G for a response to climate change considerations.
we leads to far more vehicles on the road and increased greenhouse gases
for generations to come. Climate change, the number one priority for
people across the world, is mentioned only once in the main body of the
350 page report and makes no attempt to mitigate the increased
greenhouse gas emissions.
At a time when all efforts should be concentrated on reducing climate
pollution, this project would do the exact opposite. Over 550 acres of
new impervious surfaces will be added, drastically increasing
stormwater runoff, pollution, and flash flood risk for local communities.
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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#6

#7

#8

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Nearly all of the stormwater mitigation efforts will need to be done off
site, frequently outside the impacted watersheds, further burdening local
communities and their watershed. Rock Creek, Sligo Creek, Northwest
Branch, and other local creeks will all be impacted. Over 50 acres of
wetlands could be impacted, further worsening stormwater runoff and
destroying wildlife. Nearly 30 miles of local streams, creeks, and rivers
would be negatively impacted in total (Table ES-2). Dozens of local
parks, including the C&O Canal, Cabin John Regional Park, Indian
Spring Terrace Local Park, Rock Creek Stream Valley Parks, and many,
many more (Table 4-5)- will be negatively impacted.

Approximately 1,500 acres of forest canopy will be removed. 155 acres
of area of sensitive species review will be impacted, hurting wildlife,
increasing habitat fragmentation, and harming endangered and
threatened plant species (Table ES-2). From the beginning, the DEIS
review process has been deeply flawed. The state has always favored
an extensive-build option, even though every Environmental Impact
Statement is required to include a “Statement of Purpose and Need,” a
justification of why the proposed project should be built. This project's
purpose and need includes language to ensure that the only project that
could receive approval are massive highway expansions that have the
potential to create revenue for private corporations. All proposed and
studied alternatives include nearly identical impacts to the environment
and local communities (Table ES-2), which intentionally allows the state
to exclude viable alternatives to massive highway expansion, such as
expanding other transit options that are likely to involve a lower cost and
far less impact on the environment.

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Beyond all that, the burning question now is do we even need this
project? Private and public companies, corporations and agencies
based in Maryland and DC have demonstrated convincingly during the
coronavirus pandemic for the past nine months that commuting to work
by car is unnecessary. Work from home/telework and staggered
commute times is the new norm, all of which is to say there is no
evidence that this project will be needed once the nation recovers from
the COVID-19 pandemic.

Even if there was no pandemic, numerous studies have shown that
expanding highways almost never results in the desired goal of traffic

—————_

Response to DEIS Comment #6
The Preferred Alternative would have an estimated permanent impact of 1.0 acres to the Chesapeake and Ohio Canal
National Historical Park, and an estimated temporary impact of 9.1 acres during construction.

The Preferred Alternative would have an estimated permanent impact of 5.7 acres to Cabin John Regional Park, and an
estimated temporary impact of 0.6 acres during construction.

SWM quantity management will be required on-site. SWM water quality treatment will be required to be maximized on-
site. Amore detailed analysis for the FEIS has resulted in a significant reduction in offsite water quality treatment. However,
some offsite SWM water quality treatment is expected due to the numerous constraints located along the study corridor,
which is heavily developed with numerous natural, cultural, and socioeconomic resources.

Response to DEIS Comment #7

The 1-495 & I-270 Managed Lanes Study fulfills the requirement to review potential impacts and allowed the agency decision-
makers and the public to understand the various advantages and disadvantages of a range of reasonable alternatives. As
required by the CEQ NEPA regulations, the DEIS and SDEIS summarize the reasonably foreseeable social, cultural, and natural
environmental effects of the alternatives retained for detailed study to a comparable level of detail. This analysis directly
contributed to MDOT SHA’s evaluation of these alternatives and to recommendations for a full suite of potential measures
to avoid and minimize impacts, as well as comprehensive mitigation proposals where impacts could not be avoided. Refer to
Chapter 9, Section 3.4 for a response on the NEPA approach, analysis, and impacts.

Response to DEIS Comment #8
Refer to Chapter 9, Section 3.1 for a response on Purpose and Need, effects of the Pandemic, and impacts of
teleworking/remote working.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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MARYLAND

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#8 reduction; the costly |-270 expansion in Montgomery County more than
Cont 20 years ago serves as a perfect example. Within a few years of the
project's completion, bottlenecks were a common site along the I-270
corridor.

A recent study by the Maryland Transportation Institute at the University
of Maryland found that only a 5-15% reduction in cars on the road
during rush hour would virtually end congestion, making any expansion
pointless (Maryland Matters). Even if only a small percentage of people
switch to teleworking for good, the state needs to fully examine and
study whether this project is viable.

Response to DEIS Comment #9

West Montgomery County Citizens Association firmly believes a more : . - - :
Refer to Chapter 9, Section 3.3.A for a response to Analysis of Alternatives Retained for Detailed Study.

thorough examination is required before the state moves forward with
the beltway expansion project. We support the “no-build” option.

———

#9

Sincerely,

Carol V. Falk, WMCCA Board Member
On behalf of the West Montgomery County Citizens Association

Carolvandam1@gmail.com

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-397

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1-495 & |-270 Managed Lanes Study
MARYLAND

FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

WINGATE CITIZENS ASSOCIATION — ROSS CAPON

|-495 and I-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: Ross Capon

Joint Public Hearing Date: 9/3/2020
Type/Session: Live Testimony/Afternoon
Transcription:

‘m Ross R-O-S-S, Capon C-A-P-O-N. | live 24 years at 9220 Shelton Street, Bethesda. Former
president of Wingate Citizens Association, which abuts the Beltway, I’m testifying on their behalf.
The association supports the No Build option, not the toll lanes project. Investments that
encourage idle commuting would worsen our serious air quality and global warming problems
and our ability to compete with regions which are adhering to sustainability principles. Some of
the recent shift to telecommuting is likely permanent. So, this is the wrong time for big
investments and expanded highway capacity. An article posted today at Maryland Matters says
if just 50 percent of drivers take the toll lanes, congestion would disappear. This is nonsense.
Since congestion avoidance is the primary incentive to use the toll lanes. The same commentary
is silent on environmental issues and on the recent continuing improvements being made to 270
and presumes that more road capacity is the only meaningful transportation investment. Some
early promises are invalid. This project will impose big dollar costs on taxpayers and WSSC
ratepayers. Arecent report cites the roughly $1 trillion dollar shortfall over the next decade facing
US surface transportation and continues, “P3’s are often mentioned as a solution to this shortfall,
This idea is simply wrong as the US Treasury Department notes, all infrastructure investments
ultimately depend on either user fees, government tax revenues or a combination of the two.
Second, the project will not remain within the existing highway footprints there will be major
takings. Moreover, it will increase pressure to widen the Beltway east through Silver Spring and
beyond, where more substantial takings will be required. The DEIS identifies loss of park land, 15
hundred acres of tree canopy, impacts to 1,500 properties, and the taking of up to 34 homes.
Moreover, Parks and Planning says the limits of disturbance are not realistic and the impacts
could be greater, especially regarding parks and open space. Chapter four notes increased flood
risk in adjacent communities, impacts on 47 parks, removal of trees and landscaping that buffer
parks, decrease in available wetland and waterway habitat and plant and animal species in those
areas, and destruction of 21 known national historic properties. It would be financially
irresponsible for Maryland to undertake this project when two huge transit needs and
replacement of the aging Bay Bridge must be addressed. And with MTA proposing big cuts to
transit service with no clear plan duration, we need a transportation system that reduces
economic inequality, not increases it, and that system will provide jobs if we just get the right

leadership and direction. Thank you very much for your time.
a

Response to DEIS Comment #1
Refer to Chapter 9, Section 3.3.A for a response to Analysis of Alternatives Retained for Detailed Study.

MDOT SHA and FHWA appreciate your comment on the proposed action. As a result of the NEPA process, including
consideration of all public, stakeholder and agency comments concerning the project, MDOT SHA and FHWA have identified
Alternative 9 — Phase 1 South as the Preferred Alternative giving consideration to economic, environmental, technical, and
other factors as detailed in the SDEIS and FEIS.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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1-495 & |-270 Managed Lanes Study
MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT
WOODMOOR-PINECREST CITIZENS ASSOCIATION — HARRIET QUINN This page is intentionally left blank.
From: wpatraffic <wpcatraffic@yahoo.com>
Sent: Monday, November 9, 2020 10:11 PM
To: MLS-NEPA-P3
Ce: Gregory Slater; Nick Brady; wpcatrffic@yahoo,com
Subject: Woodmoor-Pinecrest Citizens Association MLS DEIS Comments
Attachments: WPCA_MLS_P3_DEIS_Comments. pdf

Dear Director Choplin:

Attached are comments on the Draft Environmental Impact Statement for the I-495/l-270 Managed
Lanes Study from the Woodmoor-Pinecrest Citizens Association in Silver Spring.

We thank you for your work and request your careful and thoughtful consideration of these
comments.

sincerely,
Harriet Quinn
Woodmoor-Pinecrest Citizens’ Association

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-399

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

WOODMOOR
PINECREST

CITIZENS’ ASSOCIATION

November 9, 2020

Lisa Choplin

Director, 1-495 & I-270 P3 Office
Maryland Department of Transportation
State Highway Administration

707 North Calvert Street, Mail Stop P-601
Baltimore, MD 21202

VIA EMAIL: MLS-NEPA-P3@mdot.maryland.gov
RE: I1-495/ I-270 Managed Lanes Draft Environmental Impact Statement (DEIS)
Dear Director Choplin:

The Woodmoor-Pinecrest Citizens’ Association (WPCA) is a civic association serving a
community of more than 1,150 families located in eastern Silver Spring. The
neighborhood is over 78 years old and has housed generations of families. The borders
of our neighborhood are I-495, the Northwest Branch of the Anacostia River, Colesville
Road (US 29) and University Boulevard (MD-193).

As a neighborhood bordered by three state highways, we have worked collaboratively for
decades with the Maryland Department of Transportation (MDOT) State Highway

Administration (SHA) on many projects that provided solutions to various issues. While

we appreciate the opportunity to submit comments on the I-495 /I-270 Managed Lanes
Study (MLS) DEIS, we object to the insufficient time allowed to review the 19,000+
pages contained In the Study that were released in the midst of the Covid-19 pandemic.

The WPCA previously submitted comments on the Scoping and Alternatives Retained for
Detailed Study (ARDS) for the MLS and provided testimony during the public hearing.

Oppose all Build Options

The proposed highway expansion project would cut through the heart of our community.
Due to the significant negative direct and indirect impacts of the proposed project and
the many unanswered questions, the WPCA voted unanimously to support the No Build
option (Alternative 1) and does not support the current slate of build alternatives

identified by MDOT.

Response to DEIS Comment #1

Thank you for your comment concerning impacts to the Woodmoore-Pinecrest Community. As described in the
Supplemental DEIS, the Preferred Alternative was identified after coordination with resource agencies, the public, and
stakeholders to respond directly to feedback received on the DEIS to avoid displacements and impacts to significant
environmental resources, and to align the NEPA approval with the planned project phased delivery and permitting approach
which focused on Phase 1 South only. The Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes
on 1-495 in each direction from the George Washington Memorial Parkway to west of MD 187 and conversion of the one
existing high-occupancy vehicle lane in each direction on I-270 to a HOT managed lane and adding one new HOT managed
lane in each direction on |-270 from 1-495 to north of |-370 and on the I-270 east and west spurs. The Preferred Alternative
includes no action or no improvements at this time on |-495 east of the |-270 spur to MD 5 in Prince George's County. See
Figure 1-1 in the FEIS. The potential impacts raised in your comment had been identified in the DEIS related to build
alternatives that would have spanned the entire study area. Because the |-495 interchange at Colesville Road and facilities
such as Montgomery Blair High School and the Silver Spring YMCA are located outside the Preferred Alternative limits of
build improvements, those impacts have now been completely avoided. Any future proposal for improvements to the
remaining parts of 1-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject
to additional environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.

The Supplemental DEIS and FEIS include additional details regarding the impact of the pandemic on travel, including results
of a COVID-19 Travel Analysis and Monitoring Plan developed for the project. Refer to FEIS, Appendix C for a copy of the
latest version of that plan and results.

The intent of the project is to improve operations for all users, not just those "willing to pay the tolls". The results of the
operational analysis indicate that congestion will be reduced in the general purpose lanes and delays will be reduced on the
local roads in most areas because the HOT lanes serve traffic that otherwise would be using the general purpose lanes and
local roads. Additionally, HOV 3+ and transit vehicles will also be able to use the managed lanes (and obtain the associated
speed and travel time benefits) without paying a toll.

The Preferred Alternative includes no action or no improvements at this time on I-495 east of the I-270 spur to MD Sin Prince
George's County. See Figure 1-1 in the FEIS. The potential impacts raised in your comment had been identified in the DEIS
related to build alternatives that would have spanned the entire study area. However, widening adjacent to Colesville Road
is no longer included in this project. Any future proposal for improvements to the remaining parts of |-495 within the study
limits, outside of Phase 1 South, would advance separately and would be subject to additional environmental studies,
analysis, and collaboration with the public, stakeholders, and agencies.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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} 1-495 & |-270 Managed Lanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

MARYLAND

Comments addressed above.

November 9, 2020

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Request to Pause MLS during Covid-19 and Reassess Purpose and Need

#1 We request that the project be paused during the Covid-19 pandemic. The pandemic
Cont has fundamentally altered this region’s commerce, employment, and traffic patterns. All
of the current project’s key assumptions and financials, Including traffic volumes and the
expected tolls, are based on assumptions and projections from prior to the Covid-19
pandemic and are no longer applicable. The project should be reassessed after the
pandemic subsides.

Experts agree that there is great uncertainty regarding traffic and congestion in the
years to follow COVID-19 stay-at-home orders. A recent study performed by AECOM - a
widely respected transportation consultant for Northern Virginia Transportation Authority
(NVTA) - predicts far lower Vehicle Miles Traveled (“VMT”) across the DMV in 2025: VMT
post pandemic could see a 40% decrease. *

Another recent study by Maryland’s leading transportation analysts, the Maryland
Transportation Institute (MTI) at the University of Maryland, found that a 5% -15%
reduction in cars on the road during rush hour would virtually end congestion and that a
10% reduction in peak-hour outer loop Beltway traffic resulted in a 61% reduction in
delays. ?

Yet, the DEIS only makes a passing reference to the effects of the pandemic on
commuting in one short paragraph in 19,000+ pages. It is clear, that the DEIS does not
have an adequate analysis of something that will likely impact this project in its entirety.

We should fully study whether this project will even be viable if just a small percentage
of people switch to telework on a long-term basis. Even without COVID-19, numerous
studies show that expanding highways almost never results in the desired reduction of
traffic and congestion. Induced demand has led to highway expansion projects being
back to pre-build traffic levels in as little as 5 years.

Finally, nearly all of the benefits listed in the DEIS for traffic speed and travel times only
benefit those willing to pay the tolls, which the DEIS shows could be well over $2.00 per
mile for some segments (Appendix C, p. 883). For some sections of the highway, the
DEIS admits that average travel speed will actually decrease for those in the toll-free
lanes during peak times (Table 3-5),

—$$—_$_

pandemic has Reshaped Northern Virginia’s Commute for Years to Come. WTOP, August, 19,
2020 3 -transit/2 n ic-has-resh -northern-viraini mm for-

years-to-come

2 Analysts: More Telework, Change in Habits Could Dramatically Ease Congestion, Maryland

Matters, August 14, 2020. www.marylandmatters.ora/2020/08/14/analysts-more-telework-
-ha amatically-ease-congestion
Page 2 of 6
APPENDIX T - DEIS COMMENTS - COMMUNITY ORGANIZATIONS CcO-401

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~ OP>LANES” Case 8:22-cv-02597-DKC Document 61-9 Filed 10/30/23 Page 61 of 82
. |-495 & |-270 Managed Lanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

MARYLAND

Comments addressed above.

November 9, 2020

Neighborhood Community Impacts

#1

Zonk Our Woodmoor neighborhood and the surrounding Four Corners communities that abut

I-495 would be disproportionately affected by the proposed project. These communities
were already established prior to the construction of the Beltway and have experienced
the negative impacts and separation due to the highway construction and expansion over
the years. The DEIS analysis minimizes the actual impacts to these communities and
suggestions for mitigation are insufficient. Moreover, the limits of disturbance (LOD) in
the DEIS do not adequately reflect the likely impacts. Since MDOT SHA will not finalize
the design until after it awards a contract to a private partner to engineer, design and
construct, there is significant risk that the LOD will be much broader than what is
characterized in the DEIS and would affect more property owners and businesses than
currently shown.

MDOT is proposing to add up to six additional lanes (not four) to the Beltway between
Brunett Avenue and University Boulevard. Two of those lanes would be elevated to
Colesville Road, causing even more property and noise impacts to the adjacent areas.
This appears to be the only area in the project with a configuration that adds six lanes.
This configuration would also include adding three additional traffic signals at the ramps
with Colesville Road, which would cause additional backups that will result in cut through
traffic through our neighborhood. Colesville Road would be one of the few access points
to the toll lanes in the Silver Spring area, which would result in redirecting many vehicles
through this community and would increase, not reduce traffic on our local roads.

Three bridges within our community would require reconstruction: Colesville Road over
the Beltway, University Boulevard over the Beltway and the Beltway Bridge over the
Northwest Branch. Our neighborhood is adjacent to the latter two bridges, and both were
reconstructed within the last five years. The impacts to our community were significant
during reconstruction, in terms of traffic backups on the highway, resulting neighborhood
cut through traffic as well as construction noise at night.

Our neighborhood high school, Montgomery Blair, the largest public school in Maryland,
would lose athletic field space. It is already very constrained in terms of land. Blair High
School is home to a very diverse population of over 3,200 students and 400 staff, who
would be Ill-served by losing space that is currently dedicated to sports and recreational
activities. The students at Blair represent underserved communities and deserve to be
able to play sports at school on the currently existing fields.

The intense construction activity and noise immediately adjacent to the school and
neighborhoods and the resulting additional emissions would surround the area for years,
Impacting the health and well-being of residents, students and staff.

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Page 3 of 6

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-402

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Case 8:22-cv-02597-DKC Document 61-9 Filed 10/30/23 Page 62 of 82

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above.

November 9, 2020

The preliminary noise pollution analysis map indicates noise levels above 66 dB into the
#1 Montgomery Blair High School building area. In addition to traffic noise levels beyond the
acceptable standards propagating to the school building with perhaps the Inability to
mitigate due to the proposed height of the new lanes, the school would be subjected to
years of very significant construction noise from 3 adjacent sides because in addition to
the Beltway reconstruction, as previously mentioned, the adjacent bridges over the
Beltway on Colesville Road and University Boulevard would have to be reconstructed.
The students at Blair HS, particularly those from underserved communities, can ill-afford
the long-term negative effects of these unnecessary distractions on their studies.

Cont

Dozens of homes within our neighborhood boundaries would lose property to additional
Beltway expansion. Dozens of other residences in the surrounding Four Corners
neighborhoods would also lose property and some would be completely displaced.
Several businesses in Four Corners on Forest Glen Road would be displaced. In addition
to displacing residents and businesses and reducing property values for owners, these
takings would also affect the character of the neighborhoods.

The historic Silver Spring YMCA would be forced to leave the neighborhood area. This
facility is a longstanding and tremendous community resource for our area, providing
fitness classes, workout facilities, two swimming pools, as well as day care and summer
camps and recreation for area families. The loss of the YMCA in this densely populated
area would be devastating.

The DEIS does not address the impact of widening on the connecting local roads, such as
Colesville Road (US 29), where there are currently five access ramps for the Beltway, or
University Boulevard (MD-193) where there are six access ramps. The DEIS should
provide analysis of the traffic impacts of Beltway expansion on local neighborhood
streets and arterials, especially for those areas with proposed access points to toll lanes.

Eventual widening of Colesville Road in the Four Corners area would devastate our
robust commercial district. The numerous neighborhoods surrounding Four Corners rely
on the shops and restaurants in this district, which is the exact mix of walkable
commercial and residential property that is so desired by both the planners in our region
and by residents.

The loss of adjacent park land would have a negative impact on the health and
environment of the surrounding area.

The loss of hundreds of acres of adjacent irreplaceable tree canopy would have a
negative impact on the health and environment of the surrounding area. There would not
be room In the immediate area for replacement of the trees lost.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-403

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|-495 & |-270 Managed Lanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

MARYLAND

Comments addressed above.

November 9, 2020

Stormwater Management and Public Utilities in the Area
#1
Cont We are very concerned with how proposed expansion would affect stormwater
management in this area that impacts three watersheds. We also do not want WSSC or
any other utilities to shoulder any costs related to relocation of water, sewer, gas,
power, or telecommunications infrastructure and then transferring that cost to their
customers. WSSC has estimated the expansion would cost them over $2 billion for
relocation of pipes. There has been no assessment performed of the actual costs of and
subsidies for this project. No budget has been shared with the public.

Purple Line P3 Default

The massive budget overruns on the Purple Line implementation demonstrate the risks
with management of P3 transportation projects. Given that the private contractor has
stated their intention to abandon the Purple Line project in the middle of construction,
those issues must be resolved before the State considers any contracts for another
massive P3 transportation project for Montgomery County.

Alternatives Omitted from Study

Prior to the DEIS, the Agencies unreasonably defined the study’s purpose and need so
narrowly that they only considered alternatives which involved construction of two to six
new toll lanes. The Agencies did not analyze other, much less expensive and less
disruptive options for smaller scale roadway improvements, or transportation systems
and transportation demand management options. Given the changing dynamic in
commuting patterns with the current public health emergency, it is irresponsible to not
take these tremendous shifts into account.

Further, there has been insufficient study of both the MD-200 (ICC) Diversion Alternative
as well as Transportation Systems Management (TSM) and Travel Demand Management
(Alternative 2). Under NEPA requirements, Agencies must consider all alternatives that
are “practical or feasible from a technical and economic standpoint.”

Conclusion

In conclusion, due to numerous harmful impacts to residents, homes, students,
parkland, and the environment, as well as the many unanswered questions and
insufficient information, the WPCA supports the No Build option (Alternative 1) for I-495
east of I-270.

MDOT should prioritize and consider other immediate, easier to implement, less
disruptive, less harmful, and less expensive solutions to traffic and congestion Issues
such as the MD-200 Diversion Alternative as well as Transportation Systems and Travel
Demand Management.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-404

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1-495 & |-270 Managed Lanes Study
MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

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November 9, 2020

Respectfully submitted,

Greg Siers, President
Woodmoor-Pinecrest Citizens’ Association
Silver Spring, Maryland 20901

Ce:
Gregory Slater, Secretary, Maryland Department of Transportation

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-405

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

WOODMOOR-PINECREST CITIZENS ASSOCIATION — MICHELE RILEY

1-495 and I-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: Michele Riley

Joint Public Hearing Date; 9/3/2020
Type/Session: Live Testimony/Afternoon
Transcription:

My name is Michele Riley. M-I-C-H-E-L-E, R-I-L-E-Y. My address is 416 Hillmoor Drive, H-I-L-L-M-
O-O-R Drive in Silver Spring 20901. I'm a resident of the Woodmore neighborhood in the Four
Corners area of Silver Spring and a member of the board of the Woodmore Pine Crest Citizens
Association, which has over 1,100 homes. Our association will be providing more comprehensive
written comments on the DEIS to be submitted prior to the close of the public comment period.
Our neighborhoods boundaries are |-495, University Boulevard, Colesville Road, and the
northwest branch of the Anacostia. This project would cut through the heart of our community.
Our association supports the No Build option for the Beltway east of I-270 because of the
significant direct and indirect impacts to our neighborhood and surrounding community,
including 1.) the limits of disturbance that would be required for any of the build alternatives will
likely be much broader than characterized in the DEIS. 2.) the Silver Spring YMCA would be forced
to leave the neighborhood area. This facility is a longstanding and tremendous community
resource for our area, providing fitness classes, workout facilities and two swimming pools, as
well as day care and summer camps for area families, and the loss of the YMCA in this densely
populated area would be devastating. 3.) Our neighborhood high school, Montgomery Blair, the
largest high school in Maryland, would lose athletic field space, which is already very constrained.
Blair High School is home to a very diverse population of over 3,200 students and 400 staff who
would be ill served by losing space currently dedicated to sports and recreational activities to this
beltway expansion. The students at Blair High School represent underserved communities and
deserve to be able to play sports at school on the currently existing field. Moreover, the intense
construction activity and noise immediately adjacent to the school and the resulting additional
emissions would surround the school for years, impacting the health and well-being of students
and staff. 4.) The eventual widening of Colesville Road in the Four Corners area would devastate
our robust commercial district. The numerous neighborhoods surrounding Four Corners rely on
the shops and restaurants in this district, which is a mix of walkable commercial and residential
property that is so desired by the planners in our region and by residents. 5.) Dozens of homes in
our neighborhood would lose property to the beltway expansion project. And 6.) the loss of
adjacent park land and irreplaceable tree canopy would have a negative impact on the health
and environment of the surrounding area. There would not be room in the immediate area for
replacement of the trees lost. For these reasons, the Woodmore Pine Crest Citizens Association
supports the No Build option. We encourage MDOT to reconsider this project and evaluate other
alternatives that are less impactful and reflect the fact that congestion and vehicle miles traveled
have dropped significantly due to the global pandemic. These changes may be permanent due to

significant increases in adoption of telework by many employers. Thank you for your time.
ee

Response to DEIS Comment #1

Thank you for your comment concerning impacts to the Woodmore community. As described in the Supplemental DEIS, the
Preferred Alternative was identified after coordination with resource agencies, the public, and stakeholders to respond
directly to feedback received on the DEIS to avoid displacements and impacts to significant environmental resources, and to
align the NEPA approval with the planned project phased delivery and permitting approach which focused on Phase 1 South
only. The Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes on I-495 in each direction from
the George Washington Memorial Parkway to west of MD 187 and conversion of the one existing high-occupancy vehicle
lane in each direction on I-270 to a HOT managed lane and adding one new HOT managed lane in each direction on I-270
from 1-495 to north of I-370 and on the |-270 east and west spurs. The Preferred Alternative includes no action or no
improvements at this time on |-495 east of the I-270 spur to MD 5 in Prince George's County. See Figure 1-1 in the FEIS. The
potential impacts raised in your comment had been identified in the DEIS related to build alternatives that would have
spanned the entire study area. Because the Four Corners community is located outside the Preferred Alternative limits of
build improvements, those impacts have now been completely avoided. Any future proposal for improvements to the
remaining parts of 1-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject
to additional environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-406

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

WOODSIDE FOREST CIVIC ASSOCIATION — DANIEL HATTIS

From: Daniel Hattis <danhattis@gmail.com>

Sent: Monday, November 9, 2020 4:35 PM

To: MLS-NEPA-P3

Cc: aklase@marylandtaxes.gov; treasurer@treasurer.state.md.us
Subject: Comment to I-495/I-270 DEIS.

To Whom It May Concern:

| write on behalf of the Woodside Forest Civic Association (WFCA) to oppose widening of !-495 and |-270, and to support
the no-build option.

sy
Woodside Forest is a community in Silver Spring between Georgia Avenue to the west and Colesville Road to the east. |-
495 and Sligo Creek Park form our northern boundary. As such, any change to |-495 would have a dramatic impact on
our neighborhood.

Being so close to Washington, DC and surrounded by major roads, transportation issues are critical to Woodside

Forest. Many of our residents use |-495 every day to commute or to go about their daily business. We are very familiar
with the flow of traffic on that road and, during the hours when traffic is slow, we get just as frustrated as anyone

else. Therefore, we welcome reasonable efforts to improve our ability to move more expeditiously and safely
throughout the region.

However, the current expansion effort under discussion is not the answer. Not only would it fail to fix traffic flow, it
would lead to major problems both for Woodside Forest, for our region, and for the entire state.

As noted, Woodside Forest is adjacent to |-495 and some homes are very close to the soundwall. It is clear that any
expansion to the existing roadway would cause these residents would lose their homes. The residents who remain will
need to contend with far more noise pollution and the sight of the soundwall or road right next to their homes. This is
untenable, would reduce the quality of life for residents, and lower home values significantly.

In addition, bringing the road closer to residents would increase air pollution for those families. Studies have shown that
living within 200 yards of an interstate can have a negative impact on child development, including showing a
correlation to reduced IQ. Bringing the road closer to hundreds of homes would impact many children and others who
are vulnerable, such as those with asthma. |n addition to the road being closer to homes, studies have shown that the
additional lanes would bring an increased number of vehicles. This would further exacerbate the amount of air pollution
in Woodside Forest.

Expansion of |-495 would also require a reduction to Sligo Creek Park. This is an extremely popular park and is one of
the few remaining green spaces in southern Montgomery County. It isa home to many different plant and animal
species, many of which are rare to see this close to a major city. In addition, thousands of residents from all over the
area use its trails each day, both for recreation and to commute. Every day, children can be seen playing alongside the
water and biking past deer, rabbits, toads, foxes, turtles, and other park residents. Expanding the road would do great
damage to this critical natural resource. Along with the loss of trees, there would certainly be damage from water
runoff from which the creek and park would never be able to recover. In addition, the state's plan to mitigate this
damage by protecting lands in other parts of Maryland is not a solution. This is an area where there is a distinct lack of
nature with the exception of this wonderful park right outside our homes. For most residents here, the park is a big
reason why we live here. It is not a solution to replace the parkland with a land far from where we live, and from which

we will not derive any benefit.
a

Response to DEIS Comment #1

Thank you for your comment concerning impacts to the Woodside Forest community. As described in the Supplemental
DEIS, the Preferred Alternative was identified after coordination with resource agencies, the public, and stakeholders to
respond directly to feedback received on the DEIS to avoid displacements and impacts to significant environmental
resources, and to align the NEPA approval with the planned project phased delivery and permitting approach which focused
on Phase 1 South only. The Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes on 1-495 in
each direction from the George Washington Memorial Parkway to west of MD 187 and conversion of the one existing high-
occupancy vehicle lane in each direction on |-270 to a HOT managed lane and adding one new HOT managed lane in each
direction on I-270 from |-495 to north of I-370 and on the |-270 east and west spurs. The Preferred Alternative includes no
action or no improvements at this time on I-495 east of the I-270 spur to MD 5 in Prince George's County. See Figure 1-1 in
the FEIS. The potential impacts raised in your comment had been identified in the DEIS related to build alternatives that
would have spanned the entire study area. Because the Four Corners community is located outside the Preferred Alternative
limits of build improvements, those impacts have now been completely avoided. Any future proposal for improvements to
the remaining parts of |-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject
to additional environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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Comments addressed above.

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#1 Beyond the physical and environmental issues, this plan will do additional damage to our community and to all Maryland
Cont residents. While there are claims that this project will not cost taxpayers any money, this has been refuted by numerous

reports and from the experiences of communities with similar projects. Already, we have seen that the Purple Line is
costing the state vast sums of money, with more costs on the horizon. The media has also reported that the costs of
moving water delivery systems is likely to be at least $2 billion--money which will be borne by residents. This does not
even account for at least $1 billion which the state is putting on taxpayers to move this project forward. And then there
are likely to be huge costs down the line, if there are cost overruns or if revenue does not meet expectations. In these
cases, the taxpayers have been on the hook. At a time of decreased state revenue and great need to fix aging
transportation infrastructure, these costs will greatly hinder the state's ability to keep up with existing and ongoing
needs for decades to come. This creates a major burden on all Maryland residents.

Despite all of these problems, some may argue that the cost is worth the benefit. However, this plan will not actually
reduce traffic congestion or improve the lives of Maryland residents. In fact, studies and experience have found that
these types of express lanes suffer from fatal errors. First, they are only useful when there is significant traffic
congestion in the free lanes. This means they are not going to reduce congestion, but are actually dependent on

it. Second, they get more expensive depending on how much the roadway is used--very likely up to nearly $50 each
way. This means that during the heaviest traffic periods--the time periods these lanes are supposedly most intended to
address--they will be so expensive that only the wealthiest will be able to use them. We have seen from pricing in places
like Virginia that the average resident will not be able to benefit from these lanes. In effect, taxpayers are subsidizing
(through loss of money, land, and the environment) the wealthiest people and corporations which are willing and able
to pay such exorbitant costs. Third, as noted above, it has been found that these projects only increase traffic. |n all
likelihood, the free lanes will wind up more congested than ever and the toll lanes will carry more cars in addition.

Once again, the WFCA opposes widening of |-495 and |-270 and supports the no-build option for the reasons noted
above. We are very willing to discuss any of these issues in more detail.

Best,
Daniel Hattis
President, Woodside Forest Civic Association

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-408

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

#2

#3

#4

WYNGATE CITIZENS ASSOCIATION — JAMES LAURENSON

1-495 and I-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: James Laurenson

Joint Public Hearing Date; 9/3/2020
Type/Session: Live Testimony/Morning
Transcription:

Hi, my name is James Laurenson, it's J-A-M-E-S L-A-U-R-E-N-S-O-N. | am at 5916 Melvern Drive
Bethesda. I'm the chair of the Land Use and Legislation Committee of the Wyngate Citizens
Association of Bethesda, Maryland, and co-founder of the Montgomery County Faith Alliance for
Climate Solutions in the Cedar Land Ecosystems Study Group, a member of several local
environmental and public interest groups. In December, | emailed the State to express Wyngate’s
support of the non-concurrent expressed by the Park and Planning Commission of the ARDS.
Sadly, these issues still exist and now there are more. Many of which, others have gone into in
great, great detail. The DEIS fails to conduct and display the required hard look at the potential
for adverse health and environmental, including environmental justice effects, especially in light
of recently curtailed national air pollution, fuel efficiency and other rules, which thus violates
rules allowing the public to understand and comment, and allowing relevant agencies to

completely consider impacts and litigations.
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Second, it uses an overly narrow set of options, which are simply variations on a theme of

highway expansion and polls with no meaningful variety, and especially any locals serving transit

and related options, which thus violates EIS rules regarding the need for a reasonable range of
alternatives as clearly described in cases such as NRDC versus Mortin, 1972.

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Third, it fails to address the pandemic’s effects, and per 40 CFR 1502.9C1, which states that
agencies shall prepare supplements if there are significant new circumstances or information and
it does not do this. This is a monumental omission that demands a full stop to the process until

|__ adequate supplements are developed and given proper public review,

Fourth, it will not pay for itself as claimed, and rather, will cost the state billions, especially given
the pandemic's long-term effects. And yet no itemized budget has ever been shared, which is yet
another violation of the rules. And fifth, perhaps the most significant issue of all — lacks any
consideration of county, state, or international climate crisis plans without even one mention of
climate effects in the DEIS and with flawed and laughable assumptions that just little or no
increase in VMT. Let me be clear. This failure ignores the very real and existential impact on our
shear existence and that of every other species, which would be, and this is no exaggeration, a
crime against humanity and nature. Therefore, |, and those | represent do not support the 495
270 Managed Lanes P3 Program. And instead, because we have no other choice, support the No
Build option. Federal and state employees — do the right thing, That should be why you joined

government work. And in any case, that is what we pay you for. Thank you.
a

Response to DEIS Comment #1

MDOT SHA and FHWA appreciate your comment on the proposed action. As a result of the NEPA process, including
consideration of all public, stakeholder and agency comments concerning the project, MDOT SHA and FHWA have identified
Alternative 9 — Phase 1 South as the Preferred Alternative giving consideration to economic, environmental, technical, and
other factors as detailed in the SDEIS and FEIS.

Response to DEIS Comment #2
Refer to Chapter 9, Section 3.2.A for a response on Screening of Preliminary Alternatives Process.

Response to DEIS Comment #3
Refer to Chapter 9, Section 3.1 for a response on Purpose and Need, effects of the Pandemic, and impacts of
teleworking/remote working.

Response to DEIS Comment #4
Refer to Chapter 9, Section 3.5 for a response to the P3 Program and Project Cost.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

ROCK CREEK CONSERVANCY — COMPLETE LETTER SUBMITTAL

From: Jeanne Braha <jbraha@rockcreekconservancy.org>
Sent: Monday, November 9, 2020 2:32 PM

To: MLS-NEPA-P3; Lisa Choplin

Subject: Rock Creek Conservancy Comments on 495/270 DEIS
Attachments: 2020 11 09 RCC DEIS Comments to SHA 495 270.pdf

Thank you,
Jeanne

Jeanne Braha
Executive Director
Rock Creek Conservancy

720

jbraha@rockcreekconservancy.org

301-579-3105

By

onsin Avenue, Suite 500, Bethesda, MD 20814

Friend us on Facebook
Follow us on Twitter
Follow us on Instagram

Please find attached comments from Rock Creek Conservancy. | appreciate your confirming receipt.

—= ROCK CREEK
SS ee NY flock Creek Conservancy exists to restore Rock Creek and lis
porklends os ¢ natural oasis for ail people ta appreate and protect.
Rock Creek Conservancy
Comments on Managed Lanes Study Draft Environmental Impact Statement
November 3, 2020

Submitted via email to: MLS-NEPA-P3@madot.maryiand.gov, LOhoplin@mdet.moarylond.gov

Lisa B. Chaplin, DBIA

Director, |-495 & |-270 P3 Office

Maryland Department of Transportation State Highway Administration
1-495 & |-270 PS Office

707 North Calvert Street

Mail Stop P-601

Baltimore, MD 21201

Re: Rock Creek Conservancy Comments on 495 and I-270 Managed Lanes Study Draft Environmental
Impact Statement/Draft Section 4{f} Evaluation

Rock Creek Conservancy (the Conservancy] submits these cornments in support of the no-build option.

The alternatives presented in the Draft Environmental Impact Statement (DEIS) and Draft Section 4(f}
Evaluation for the 475/270 Managed Lanes Study would create major— and avoidable —impacts on Rock
Creek. Given the lack of specificity and accountability suggested by the DELS, the Conservancy supports
the no bulld alternative at this time.

The U.S. Department of Transportation (DCT} Federal Highway Acministration (FHWA) and the Maryland
Department of Transportation {MDOT} State Highway Administration (SHA} (together, Agencies) should
not go forward with this fawed DEIS. Ata minimum, the Agencies should not move forward with any of
the fundamentally flawed bulld aternatives without redoing the DEIS and providing the public an
opportunity to review and comment on the impacts the Agencies fallec to evaluate, particularly the
specific plans for mitigation of impacts to the Rack Creek watershed.

Rock Creek Conservancy is a non-profit organization based in Bethesda, MD that restores Rock Creek and
Its parklands for all people to appreciate and protect, and annually engages more than 4,500 volunteers
In peaple-powered restoration.

L Alternatives

The DEIS acknowledges that the preliminary range of altermatives “could have a varying degree of
potential environmental Impacts” but states that the Agencies screened out all options that did not meet
“the transportation purpose and need,” and so “the consideration of the potential for varying degrees of
environmental [mpacts was not a differentiator In whether the alternative should be retained or
dismissed.” DEIS, App. B, at 94. The cbjective of NEPA Is to rigorously explore all reasonable alternatives
in light of their environmental impacts. By not considering and comparing the environmental impacts of
the preliminary range of alternatives, the Agencies falled to Identty whether any of these preliminary
alternatives may have had less environmental Impact than the screened alternatives. This Is particularly

7200 Wleconsin Avenue, Sulte 500 |Bethecdn, MP 20814

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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problematic because, as the DEIS acknowledges, “The overall difference in environmental impacts
between the Screened Alternatives was not significant.” DEIS, App. B, at 95. The Agencies improperly
screened out any alternatives that may have had less impact and improperly narrowed the alternatives to
be studied in detail in the DEIS to those that have almost identical environmental impacts. This result
directly conflicts with the objectives of NEPA and is a fundamental flaw of the DEIS.

The alternatives presented in the Draft Environmental Impact Statement (DEIS) for the 475/270 Managed
Lanes Study would have significant impacts on Rock Creek and these impacts can be avoided by the
selection of other alternatives. Of particular concern, is the Agencies’ failure to consider alternatives that
would avoid or minimize adverse impacts to wetlands, streams, floodplains and parks. There is virtually
no difference in impacts to Maryland wetlands and streams regardless of which alternative is selected,
and no difference at all in impacts to Palustrine Open Waters and Virginia wetlands and streams. The DEIS
fails to consider any alternatives, other than the no build alternative, that might have fewer adverse
environmental impacts. None of the alternatives considered would avoid or minimize adverse impacts.
Furthermore, the DEIS fails to demonstrate that there is no practicable alternative with less extensive
impacts to wetlands and waterways than the proposed highway expansion alternatives. One obvious
alternative is the MD 200 (ICC) Diversion Alternative, which would have avoided direct impacts on Rock
Creek and avoided residential property takings. This alternative should be analyzed fully in a new DEIS.

The DEIS presents an MD 200 Diversion Alternatives Analysis but it improperly adds managed lanes to I-
95 to the model, which reduces that alternative’s environmental and traffic benefits. The addition of
these managed lanes is not necessary to evaluate the MD 200 Diversion Alternative and the Agencies
must analyze the Diversion without this addition. The MD 200 Diversion Alternative should be studied in
more detail with various modeling assumptions, including analyses with and without the I-95 segment.
Furthermore, the Agencies failed to consider a variety of assumptions that would incentivize the MD
200/I-270 route as opposed to traveling on |-495/1-95 through operational changes such as restructuring
the tolling systems and speed limits currently in place and adding more dynamic signage. Without the |-95
managed lane segment, the reduction in environmental impact provides a greater benefit for the MD 200
Alternative. Therefore, the analysis provided by MDOT SHA fails to demonstrate that it not a reasonable
alternative under NEPA or a reasonable avoidance technique under Section 4(f).” This alternative would
eliminate impacts to the Rock Creek watershed.

Il. Impacts on Wildlife and Habitat

Rock Creek is a primary driver of quality of life in our region — for people and for our ecosystems. The
ribbon of green around Rock Creek from Laytonsville to Georgetown provides not only recreational
benefits to residents but also habitat connectivity to wildlife, from the endangered Hays spring
amphipod* to birds who use the parks as part of their migratory flyway.

A. The DEIS Fails to Adequately identify and Analyze Impacts on Aquatic Species, Aquatic Habitat,
and Fisheries

The Project would impact more than 16,000 linear feet of Rock Creek, and yet the DEIS fails to provide a
detailed description and analysis of the impacts of the Project on aquatic biotic resources. Instead the

' Center for Biological Diversity. Hay’s Spring Amphipod.
https://www.biologicaldiversity.org/specics/invertebrates/Hays_spring_amphipod/index.html

DEIS provides only a “watershed quality index” that includes a brief narrative description (“good,” “poor,”
“very poor”) of existing aquatic conditions for habitat, benthic invertebrates, and fish but provides no
analysis of direct or indirect effects on aquatic biotic resources. See DEIS, at 4-106. Rock Creek’s aquatic
habitats are rated fair to good/fair; benthic invertebrate score range is very poor to poor/fair; fish range is
very poor to good. This current state is, in large part, a function of degradation due to stormwater runoff
from existing highway surfaces? and should not preclude protection of the creek.

The DEIS Natural Resources Technical Report (NRTR), see DEIS, App. L, is referenced several times as
containing further information regarding impacts to aquatic resources, but this appendix also fails to
indicate how aquatic habitat, benthic invertebrates, or fish will be impacted by the build alternatives.
Appendix L simply provides additional information on the current conditions of aquatic habitat, fish
populations, and benthic macroinvertebrates, DEIS, App. L, at 113 to 146. The analysis of impacts in the
NRTR is limited to one conclusory statement:

all Screened Alternatives have the potential to affect aquatic biota in the corridor study
boundary due to direct and indirect impacts to perennial and intermittent stream
channels. Stream channel impacts associated with the Screened Alternatives range from
153,702 to 156,984 LF and wetland impacts range from 15.4 to 16.5 acres. Impacts are
provided in more detail in Section 2.3.3 and in Table 2.9-58 and Table 2.9-59 below.”

DEIS, App. L, at 146. Wetland impacts in Rock Creek are relatively modest, but the features in the
watershed are particularly notable: one of the largest remaining wetlands in the downcounty
area and the DEIS notes that Rock Creek had the most vernal pools in its floodplain throughout
the project area (at 4-103),

The citations referenced in the above excerpt from the DEIS provide no further analysis, but
rather present summaries of the impervious surface, in feet and acres, that would be added under the
build alternatives. The linear feet and acres of impervious surface to be added by the build alternatives
tells the Agencies and the public nothing about how the build alternatives would impact aquatic biota.
Other than the no-build alterative, the alternatives would add 54.5 to 62.9 acres of impervious surface to
the Rock Creek watershed.

Given the complete lack of information on impacts, it is no surprise that the DEIS also fails to
provide any information on how the Agencies plan to mitigate potential impacts to aquatic biota. Section
4.18.4 of the DEIS states that MDOT SHA will continue to coordinate with regulatory agencies and
resource managers to identify sensitive aquatic resources and determine potential avoidance and
minimization as Project designs are refined, DEIS, at 4-109, but these issues must first be addressed in the
DEIS in order for the environmental impacts of the Project to be considered. There is general information
on aquatic resources and mitigation in several DEIS appendices, but none of this information provides any
analysis of impacts to the existing aquatic biota. See DEIS, NRTR, App. N, Agency Correspondence; DEIS,
App. M, AMR; DEIS, NRTR, App. M; DEIS, App. N, Compensatory Mitigation Plan, App. A— M. The DEIS
must be supplemented with sufficient data to analyze direct and indirect effects on biotic aquatic
resources and provide a detailed description of proposed mitigation of those impacts.

2 MNCPPC staff report October 22, 2020 (ck date)

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The delineated parameters of the Corridor Study Boundary defines the area in which data on C. The DEIS Fails to Adequately Identify Impacts on the Northern Long-Eared Bat
existing environmental conditions were gathered (300 feet on either side of the centerline of I-495 and I-
270). DEIS, at 4-2. This area is too limited to fully evaluate the direct effects of the Project on aquatic Two federally listed bat species, including the Northern Long-eared Bat, which is found in Rock
biota in streams and wetland and is certainly too restricted to evaluate indirect downstream effects. For Creek Park, have been identified by FWS as potentially being impacted by the build alternatives. DEIS, at
direct effects, the study boundary needs to be expanded to include all waterways and wetlands that 4-111. Therefore, a formal ESA § 7 consultation must take place, requiring FHWA to perform biological
would receive stormwater from or otherwise be impacted by construction and operation of the Project. assessments and FWS to issue biological opinions pursuant to 50 C.F.R. § 402.14(h). The DEIS states that
For indirect effects, the analysis should consider all cumulative and secondary effects on aquatic field studies will be conducted to identify whether the bats are using habitat that may be impacted by the
ecosystems, including those downstream from the waters that are directly impacted. Rock Creek Park, a build alternatives. DEIS, at 4-111. It appears that no biological opinion has been issued yet, given that
national park, is approximately three miles downstream of the project area and would be adversely none is referenced in the DEIS. Moreover, the field studies FWS directed FHWA to conduct have not yet
impacted by increased stormwater flows. been performed. DEIS, at 4-111. The biological assessments along with the FWS determinations as to
whether the build alternatives will cause “jeopardy or adverse modification” must be completed prior to
Separately, the Conservancy requests that the Agencies reference in the body of the DEIS the the conclusion of the NEPA process. Furthermore, if FWS determines that the species may be
aquatic biota maps that currently are buried in appendices. See, e.g., DEIS, NRTR, App. B, Natural jeopardized, destroyed or adversely modified, then the Project must incorporate the alternative actions
Resources Inventory Mapbook_Part1 to Part 4; See also, NRTR, App. K, Aquatic Biota and Surface Water suggested by FWS.
Sampling Monitoring Map. Although this information does not help the public determine the potential
impacts of the project on aquatic biotic resources, it at least provides information on the location of these D. The DEIS Fails to Adequately Identify Maryland Aquatic Species and Fails to Account for Impacts to
resources. Maryland Species
a oe ee PCTS AAO RE AR, The DEIS does not identify Maryland special-status aquatic species that may be present in
waterways within the corridor study boundary area or areas that may be affected downstream. Some fish
The Endangered Species Act (ESA) establishes a process for identifying and protecting plant and species and aquatic invertebrate species possibly occurring in the project area are identified in Appendix
animal species that are “threatened” or “endangered.” 16 U.S.C. §§ 1533-1544. Section 7 of the ESA N of DEIS Appendix L (NRTR: Agency Correspondence), however, it is unclear whether this appendix
requires federal agencies to consult with U.S. Fish and Wildlife Service (FWS) and National Marine provides the complete list of Maryland aquatic rare, threatened, or endangered species. This information
Fisheries Service (NMFS) to make sure that any proposed federal agency action is “not likely to jeopardize should be provided in the main DEIS document.
the continued existence of any endangered species or threatened species or result in the destruction or 2 2
adverse modification of {the species’ critical] habitat .. ..” 16 U.S.C. § 1536(a)(2). If FWS or NMFS advises The DEIS also fails to provide any information on how the Agencies plan to avoid, and if

the agency that the proposed action area includes neither a listed species nor its critical habitat, then necessary, mitigate any harm to Maryland rare, threatened, or endangered species. See DEIS, at 4-109 to
there is no need for further consultation. 50 C.F.R. § 402.12(d}(1). However, if the agency determines that 4-112. All proposed mnittgation MES should be Included WV NEFA coctliments 0 provide ie publk:
the action is likely to adversely affect a listed species or its critical habitat, then the agency must engage with information regarding how the Agencies plan to avoid illegal takings of these species during any

in formal consultation, which requires the agency to prepare a "biological assessment" of the action and Proposed construction and operation of the build.

requires FWS or NMFS to issue a “biological opinion” as to whether the action is likely to “jeopardize the

continued existence of any listed species or destroy or adversely modify” critical habitat. 50 C.F.R. § Ill. The DEIS and Section 4(f) Analysis Fail to Adequately Address the Project's Effects on Historic and

402.14(h). Cultural Resources Impacts to Parklands
In addition, the Agencies may need to reopen the consultation process when “new information Approximately three miles of the Rock Creek stream channel runs alongside the current Beltway and
reveals effects of the action that may affect listed species or critical habitat.” 50 C.F.R. § 402.16(b). If the within Rock Creek Stream Valley parks (units 2 and 3), managed by the Maryland-National Capital Parks
biological opinion finds jeopardy of species or destruction or adverse modification of critical habitat, the and Planning Commission. Section 4(f) of the US Department of Transportation Act mandates that
FWS or NMFS must suggest “reasonable and prudent alternatives” to the proposed activity that would projects like this may only use parks, recreation areas, or wildlife refuges if no feasible and prudent
not violate the ESA. 16 U.S.C. § 1536(b)(4). The agencies would have to agree to a reasonable and avoidance alternative exists.
prudent alternative approved by FWS or NMFS and receive an incidental take statement from FWS or
NMFS before the proposed action can move forward. /d. In its 4(f) review, the DEIS fails to consider alternatives to taking these significant wetlands and
floodplains on parkland by considering only single-mode road alternatives. Data on parks and rec facilities
The Maryland Nongame Endangered Species Conservation Act regulates activities in a similar were gathered using desktop sources including GIS data and relevant county planning documents®. A
fashion but applies to impacts on plants and wildlife, including their habitats, listed on the Maryland project with this scale of impact merits careful analysis, including ground truthing of those assumptions.
Threatened and Endangered Species list. Md. Code Ann., Nat. Res., § 10-24-01 to 10-2A-09. The Maryland Had DEIS preparers walked the three miles of Rock Creek along the beltway, they would have seen one of
Threatened and Endangered Species list is more expansive than the federal list and also requires the largest remaining downcounty wetlands, as well as migratory birds that use the Rock Creek stream
protections for animals that are deemed in “Need of Conservation.”
3p 18, ch4
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valley parks as part of their migration along the Atlantic flyway. A more thorough investigation would
allow for more qualitative — rather than just quantitative — assessment of impact, ensuring that the
myriad ecosystem services of the area are protected. Mitigation of these impacts should include building
noise barriers along the highway to protect wildlife and recreational users from the significant noise more
traffic will create.

In addition, the DEIS fails to analyze the extent of impacts to parkland, including their connection as a
cohesive system, as is required by Section 106 of the National Historic Preservation Act. The DEIS’s
reliance on a smaller “Limits of Disturbance” radius, instead of a broader Area of Potential Effect that
would consider all potential direct, indirect, and cumulative effects, impermissibly restricts consideration
of the Project's true effects on historic and cultural resources and incorrectly limits effects considered to
physical impacts only, even though adverse visual, audible, and atmospheric effects are also expected.
The DEIS includes only rudimentary information about Rock Creek Stream Valley Parks units 2 and 3,
which are part of a National Register-eligible site and does not consider the project’s proximity impacts to
parkland. The DEIS notes that, in addition to the negative effects of permanent conversion of Rock Creek
Stream Valley units 2 and 3 from parkland to highway/use for transportation, ‘construction impacts MAY
also temporarily diminish the integrity of the setting and feeling of the property.’ There is no doubt that a
project like this would diminish the setting and feeling of the property to the thousands of visitors who
use the park each year.

Rock Creek Park, a unit of the National Park Service, is just a few miles downstream of the project area
and would be adversely affected by polluted stormwater runoff. In addition, the Capper Cramton Act*
envisioned continuous stream valley protection extending from the national park into Montgomery
County —this project would frustrate that experience for recreational users and wildlife.

IV. The DEIS Fails to Examine How Increased Stormwater Will Affect Receiving Waterways

Under NEPA, the Agencies must “carefully consider detailed information concerning significant
environmental impacts” and make the public aware of those environmental effects before a proposed
action is chosen. Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989); see also
Theodore Roosevelt Conservation P’ship v. Salazar, 616 F.3d 497, 503 (D.C. Cir. 2010). Among other
things, the Agencies must provide detailed information on how polluted stormwater from the Project will
affect receiving waterways.

The Clean Water Act (CWA) prohibits discharges of pollutants to waters of the United States
without a permit. 33 U.S.C. §§ 1311, 1342. The Agencies state that they will meet all required permitting
for stormwater runoff but fail to address how increased stormwater runoff and the associated increase in
pollutant loads to receiving waterways will meet established effluent limitations. See id. § 1362(11)
(defining an effluent limitation as “any restriction established by a State or the Administrator on
quantities, rates, and concentrations of chemical, physical, biological, and other constituents which are
discharged from point sources into navigable waters, the waters of the contiguous zone, or the ocean,
including schedules of compliance”), The type, quantity, and contents of the discharge determine the
types of limitations the permit must impose on the discharger and should be carefully considered in the

DEIS. Stormwater collects pollutants on its way to stormwater management facilities and eventually into
municipal storm sewer systems, when they exist, and receiving waterways. These discharges can
negatively impact the chemical, physical, and biological conditions of waterways. It is well recognized that
stormwater can degrade water quality, particularly in urban settings, yet the DEIS fails to take a hard look
at how the large increases in stormwater from the build alternatives will impact water quality.> The
Maryland Department of the Environment has itself stated that “(i]t becomes fairly easy for all
organizations, individuals, and government agencies to agree that urban stormwater is a problem that
must be addressed.” MDE, Response to Formal Comments for Montgomery County NPDES Permit (2009).

This project will dramatically increase stormwater runoff to Rock Creek, at a time when Maryland is
struggling to manage suburban stormwater pollution under the Chesapeake Bay agreement. The
alternatives retained for design would add between 52 and nearly 63 additional acres of impervious
surface to the Rock Creek watershed. Alternative 5, which has been dropped from consideration, would
add only 43.7 acres of impervious surface — and the |-200 diversion would add 0 additional acres to the
Rock Creek watershed.

The Rock Creek watershed is already impaired by phosphorus, bacteria®, and sediment’ in Maryland for
one or more designated use, meaning that the waterways in these watersheds currently do not meet
water quality standards because they already receive high levels of one or more pollutant. DEIS, App. L, at
47, 48; see 33 U.S.C. § 1313. DEIS, App. L, at 55. The build alternatives would increase impervious surface
and the numbers of vehicles traveling the Beltway and |-270, thereby increasing stormwater runoff and
pollutant loads. Stormwater impacts will be one of the largest environmental impacts of this Project and
yet the DEIS fails to identify to what extent new stormwater loads will impact the water quality of
receiving waterways.

A. The DEIS Fails to Identify Stormwater Volume and Pollutant Loads

DEIS Section 2.7.2 provides an overview of applicable federal, state, and local stormwater and water
quality requirements that the selected alternative will need to meet under the Clean Water Act, Maryland
Stormwater Management Act, and Montgomery County and Prince George’s County stormwater
management requirements, and identifies how much impervious surface would be added by the build
alternatives (Table 2-5) and how many major culvert crossings may be built. DEIS, pp. 2-37 to 2-39. The
DEIS fails, however, to provide an estimate of stormwater volumes or pollutant loads by alternative. DEIS,
at 2-39. Instead, the Agencies punt this analysis until after the NEPA process is concluded. DEIS, at 2-39
(“A detailed SWM analysis will be performed for the Selected Alternative during final design to determine
required and provided stormwater management volumes.”). It appears the Agencies may have already
conducted some volume calculations given that this information is needed to estimate the location and
type of stormwater facilities needed along the proposed new highway lanes, DEIS, at 2-37 to 2-38, but
this information is not included in the DEIS.

5 See, e.g., National Academies of Science, Committee on Reducing Stormwater Discharge Contributions to Water Pollution,
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See eee a MOLAR OroIrRe DLS Pee TMOL final | Rock | Creek : Nutrient.aspx
7 https://mde. maryland gov/programs/water/TMDI/ApprovedFinal TMDLs/Pages/TMDL. | final _| Rock | Creck Nutrient.aspx

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B. The DEIS Fails to Take a “Hard Look” at How Increased Stormwater Will Affect Receiving
Waterways

The impacts of stormwater on receiving waterways is discussed only superficially in the DEIS.
Although the DEIS mentions that “[a]n evaluation of potential water quality loss and major culvert
crossings was also conducted,” DEIS, at 2-37, there are no data presented for water quality loss, only
tables and estimates of the amount of impervious surface to be added and conclusory statements
indicating that stormwater will negatively impact receiving waterways. The DEIS also fails to model how
anticipated increases of stormwater volumes will impact water chemistry.

For example, DEIS § 4.13.3 states:

All Build Alternatives would affect surface waters, surface water quality, and watershed
characteristics in the corridor study boundary due to direct and indirect impacts to
ephemeral, intermittent, and perennial stream channels and increases in impervious
surface in their watersheds. The impacts to jurisdictional surface waters by classification
are summarized in Table 4-20 of this chapter. The impacts to jurisdictional surface waters
by MDNR 12-digit and USGS HUC8 watersheds are provided in the Natural Resources
Technical Report (Appendix L, Section 2.3).

DEIS, at 4-89; see also id. at 4-90 to 4-91. However, those references do not discuss the likely impacts to
water quality in any detail. Table 4-20 provides information on the total square footage and acres of
wetlands and waterways that would be disturbed by each alternative but provides no information on
impact to water chemistry. The flaws in Appendix L, also referenced here, are discussed further below.

Similarly, DEIS § 4.13.3 states:

In addition to tree removal, stormwater discharges also have the potential to increase
surface water temperatures in nearby waterways. The effect of the temperature change
depends on stream size, existing temperature regime, the volume and temperature of
stream baseflow, and the degree of shading. Thermal effects from decreased shading and
stormwater discharge are of particular concern for Use III and IV stream networks, such as
Paint Branch and Northwest Branch, as they support aquatic biota less tolerant of
warmwater conditions.

DEIS, at 4-90. Yet the DEIS fails to quantify the likely temperature changes or to discuss their likely
impacts on the affected waterways. See a/so discussion at DEIS, at 4-90 to 4-91 (providing general
descriptions of the effects of chlorides, organic pollutants, and sediments on water quality, but neglecting
to specify or otherwise analyze their effects in the context of the Project, except to say that they
“increase in impervious areas”). The DEIS identifies where the most and least impervious areas would be
added, but still does not analyze the impacts and refers to the same flawed Appendix L that is discussed
below.

Id. at 4-91. Table 4-29 simply provides the amount of impervious surface (52.5 — 62.9 acres in Rock Creek)
to be added to each of the seventeen impacted watersheds.

Appendix L, Section 2.3, identifies existing water quality conditions for the watersheds and the most
common contaminants found in highway stormwater before making the conclusory statement that:

There would be no effect on surface waters and watershed characteristics from the No
Build Alternative. However, all Screened Alternatives would affect surface waters and
watershed characteristics in the corridor study boundary due to direct and indirect impacts
to ephemeral, intermittent, and perennial stream channels. Impacts to jurisdictional
surface waters are discussed in Section 2.3.3 and the impacts to jurisdictional surface
waters by MDNR 12-digit watershed are included in Table 2.3-8. Watersheds would also
be impacted by increasing impervious surface area. SWM controls will be included in the
final design to reduce velocity of runoff flow and negative impact to water quality. Section
2.4.3.C includes more information regarding environmental effects to water quality.
Additional information regarding SWM assumptions are discussed in Section 2.7.3 of the
DEIS. Note that although the corridor study boundary intersects the Piscataway Creek Tier
|| watershed, no features were identified and therefore no impacts would occur within this
watershed.

DEIS, App. L, at 78.

Appendix L, Section 2.3.3 makes no reference to stormwater impacts. Table 2.3-8 provides the total area
of wetlands and waterways that will be disturbed. Appendix L, Section 2.4.3 simply restates information
provided in Section 4.13.3 of the main DEIS document.

In Appendix L, Section 2.3, the Agencies pravide thirty-three pages of data and discussion showing the
existing chemical and physical conditions of each impacted watershed, DEIS, App. L, at 45-78, but fail to
provide any analysis of the effect the most common contaminants found in highway stormwater runoff
would have on the water quality in these watersheds. /d. at 78; § 2.4.3(A), (C). In fact, the only time the
effects of stormwater are ever mentioned in the summary of watershed existing conditions is in a small
section discussing Sligo Creek that states, “direct effects of runoff would likely affect water quality.” DEIS,
App. L, at 66. There is no information cited to support how the Agencies arrived at this conclusion or to
what extent Sligo Creek would be impacted. There is no discussion of stormwater in the existing
conditions sections for the other sixteen watersheds, including the Rock Creek watershed.

The Agencies must identify specifically how building new highway lanes and reconstructing existing lanes,
which are the only build alternatives being considered, will increase stormwater flow and pollutant loads.
DOT should mode! the anticipated stormwater runoff to identify and characterize the quantity and quality
of runoff, including identifying estimated total volumes, peak discharge, and velocity. This discussion
should include an itemized calculation of stormwater from each drainage area for each proposed
alternative and models showing how this stormwater would impact the ability of the receiving waterway
to meet existing effluent limitations. This analysis should also consider the impact on local waterways
from the lack of proposed onsite treatment and the impact of using water quality trading credits relied
upon by the Agencies to meet stormwater permitting requirements.

More information on issues with the proposed water quality trading proposed in the DEIS is provided in
the Subsection |I.C.4. of this comment document. There are models readily available to the Agencies that
would allow them to provide meaningful information about the risk of adverse effects of runoff on
receiving waterways, which can then inform a determination of impact, the need for mitigation
measures, and the potential effectiveness of such management measures for reducing these risks. See for
example, Stochastic Empirical Loading Dilution Model, FHWA (2013), https://pubs.usgs.gov/tm/04/c03/.

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The Agencies must provide a supplemental EIS containing a stormwater impact analysis and provide the
public with an opportunity to comment on these proposed projects impacts.

C. The Analysis Used to Identify Stormwater Management Needs Is Incomplete and Lacks Supporting Data

The Agencies must evaluate all relevant data and “articulate a satisfactory explanation” for the
conclusions reached in the EIS. Motor Vehicle Mfrs. Ass‘n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
463 U.S. 29, 43 (1983). The Agencies fail to explain and provide sufficient data in the DEIS to support the
stormwater management needs identified in the DEIS. The Agencies must provide an explanation for the
findings in Table 2-5 as to the number of lanes that will need to be reconstructed. Additionally, the DEIS
fails to consider impacts to smaller culverts.

i. TI IS Provides | icient Da’ upport its Impervious e Iculations and the
Selection of Stormwater Management Facilities Proposed

Section 2.7.2 identifies the types of stormwater management to be used to manage the large quantities
of stormwater that will be produced by all build alternatives. DEIS, at 2-37 to 2-39. The DEIS identifies the
type of stormwater facilities (quantity ponds, ESD ponds, swales, quantity vaults, and water quality vaults)
and water culverts to be used and their proposed locations based on the amount of impervious surface
area calculated for each build alternative. DEIS, at 2-38; Table 2-5. However, no photos, maps, or data are
provided to support the calculated impervious areas presented in Table 2-5. /d. (Table 2-5 provides the
acres of impervious area for each build alternative broken down by: Required Quantity surface area
(acres); Provided Quantity surface area (acres); Required ESD surface area (acres); Provided ESD surface
area (acres); and Impervious Area Requiring Offsite Treatment (acres)). A footnote to Table 2-5 states
that, “Offsite requirements are based on the engineering design as of January 2020.” This design should
have been included in the DEIS, but it was not.

The DEIS proposes new stormwater facilities to be built along the study corridor to accommodate
stormwater runoff but fails to consider impacts to existing stormwater management facilities. DEIS, at 2-
38; see DEIS, App, D, EnvMapping_web_part1 to EnvMapping_web_part4. The DEIS does not provide
information on existing stormwater management facilities. Given this lack of information, it is unclear
how the construction of new facilities will impact existing facilities proposed at the same site. It appears
that some newly proposed facilities would be built on top of or overlapping existing stormwater
management facilities. For example, Map 99 in Appendix D, Environmental Mapping, proposes three new
facilities within the traffic loops where 1-270 meets Democracy Boulevard. There are already seven
existing facilities located at the same location as the proposed facilities (numbers 150657 through
SOD See MDOT SHA NPDES SWM FAC mapping tool, available at

a i bi Atm

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The DEIS also fails to describe or account for how existing stormwater runoff will be managed if and when
existing facilities are removed or replaced to site new facilities. Moreover, in situations where new
facilities replace old facilities, the DEIS should explain how they will be built with sufficient capacity to
address all existing and new stormwater runoff. There are several publicly available resources the

Agencies can use to identify existing facilities along the study corridor.® The Agencies established the
limits of disturbance (LOD) by estimating the areas around the build alternatives that will be impacted by
“construction, construction access, staging, materials storage, grading, clearing, erosion and sediment
control, landscaping, drainage, stormwater management, noise barrier replacement/construction, and
related activities.” DEIS, at 2-40. The LOD for each alternative should be cross-referenced with the
appropriate local map and loss of treatment and storage should be accounted for in the planning and
design of stormwater management facilities. Proposed stormwater management facilities are shown on
the DEIS Environmental Resource Maps, but the maps fail to show the drainage areas to the facilities. See
DEIS, App. D, EnvMapping_web_parti to EnvMapping web_part4. These maps also fail to show where
facilities will connect into existing drainages networks. All drainage areas and areas used to connect
facilities to existing drainage networks need to be included within the LOD. It is unclear whether the LOD
currently includes these areas given that they are not shown on any of the DEIS maps. Without maps
showing the drainage areas and any other data used to calculate the impervious surface areas provided in
Table 2-5 and identify connection points to existing drainage infrastructure, the public is foreclosed from
reviewing and commenting on the sufficiency of the proposed stormwater management facilities.

ii. No Information is Provided to Support the Percentage of Existing Lanes to be
Reconstructed

The amount and type of stormwater management required under the Maryland Stormwater
Management Act of 2007 is dictated in part by the amount of impervious surface area created and
reconstructed. Md. Code Ann., Env't §§ 4-201.1, 4-203 (2014). Specifically, if the percentage of lanes that
need to be reconstructed exceeds 40 percent, “all existing impervious areas located within a project's
LOD are required for management.” Maryland Stormwater Design Manual, Chapter 5, p. 5-117. To
calculate the amount of new and reconstructed impervious surface, the Agencies “assum[ed] all
shoulders and 25 percent of the existing lanes would need to be reconstructed.” DEIS, at 2-37. The
Agencies calculated this percentage by conducting “field investigat[ions] to determine existing
conditions.” fd. However, no information is provided to support the conclusion that only 25 percent of
existing impervious surface will be reconstructed. The public is currently unable to review and comment
on this finding given a lack of supporting information. The Agencies must provide sufficient information to
support their conclusion, including field logs, maps, photos, or other information used to calculate this
important number.

Regardless of the percentage of reconstructed impervious surface, the Conservancy encourages the
Agencies to account for and provide for treatment of all stormwater from existing lanes given that much
of this polluted water is currently untreated, as is clear from a visual observation of degraded outfalls
along the highway. Additionally, the DEIS assumes that culverts that need to be replaced to accommodate
increased stormwater volumes will be installed using trenchless construction techniques that will not
disturb the existing road. Although this would be an ideal outcome, there is no information presented in
the DEIS to suggest all culverts can be replaced using trenchless technology and the Conservancy urges

a MDOT SHA NPDES SWMFAC:

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the Agencies to consider that at least some percentage of replaced culverts may require road
reconstruction.

Figure 2-6: Alternative 9 Typical Sections

iii. Impacts to Culverts Smaller Than 36 Inches Must be Considered

DEIS Section 2.7.2.c looks at how major culverts, defined as culverts 36 inches in diameter or greater, will
be impacted by the increase of stormwater flow and proposes that some culverts will need to be replaced
by larger culverts. DEIS, at 2-38. However, no consideration is given to smaller culvert channels. Adding
impervious surface area will have more significant detrimental impact on smaller channels with smaller
drainage areas given that the percentage of impervious surface area added will be higher for these
channels. As is the case for the issues discussed above, the DEIS fails to identify exactly which culverts
would need to be replaced with larger ones and where these culverts are located. A list of the culverts to
be replaced should be provided along with the data used to identify these culverts. The proposed new
culverts should be included on the Environmental Resource Maps, DEIS, App. D, EnvMapping_web_part1
to EnvMapping_web_part4.

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E, The DEIS Fails to Consider Viable Stormwater Avoidance and Mitigation Options

|
The DEIS fails to sufficiently consider stormwater avoidance and mitigation options that would avoid or SWM Swale UG
minimize stormwater impacts. The DEIS fails to consider areas immediately surrounding the build
alternatives, but outside the LOD, for possible stormwater management. The DEIS explains that “[t]he
design for on-site SWM [stormwater management), including ponds and large facilities along the roadside
and within interchanges, was developed to a concept level of detail and was included within the LOD.”
DEIS, App. L, at 32. This statement effectively means that any amount of stormwater that cannot be

managed and treated by a stormwater management facility within the LOD will be addressed offsite and G. The DEIS suggests Using a Water Quality Bank Rather Than Mitigation Within Affected

possibly outside of the Rock Creek watershed. . Wateshacs:. . ; : Ge: ‘ :

The Agencies propose using a project-specific Water Quality Bank that will utilize water quality trading
The Agencies propose to address a large amount of stormwater from the Project through the use of credits to meet the requirement to make up for the lack of onsite treatment for any build alternative
compensatory stormwater management, i.e., treating stormwater in another area instead of treating the selected. The DEIS states that this bank will be “developed through a variety of means including but not
stormwater created by the Project (also known as water quality trading). The Agencies base this proposal limited to the transfer of excess water quality credits from other MDOT programs (e.g. the TMDL
on a finding that there is not enough land available along the study corridor to hold and treat all program).” DEIS, at 2-38. The DEIS fails to provide information regarding where these offsite treatment
stormwater projected by the selected alternatives. DEIS, at 2-37, The DEIS explains the need for so much credits would come from or whether there are sufficient credits available within the local watershed.
offsite treatment as follows: “[dJue to the large amount of impervious area requiring treatment for each Furthermore, it is unclear how many credits will be coming from the MDOT SHA banking program ar if
Build Alternative and existing site constraints, ESD could not be met for the Build Alternatives within the MDOT SHA currently has sufficient credits available within its program to meet the credit needs of this
study area.” DEIS, at 2-38. For example, alternative 10 (add two priced managed lanes in each direction proposed project. MDOT SHA already struggles to meet its requirements under its NPDES MS4 permit and

it is unclear how the Agency intends to supply sufficient credits to meet the proposed project stormwater

on I-495 and on |-270 and retain one existing HOV lane in each direction on I-270 only) would require 434
permitting requirements. Will credits be obtained from within the local 8-digit watershed? Will the credits

acres of offsite treatment, id., meaning that the stormwater from 434 acres of impervious surface (a

volume that is not disclosed in the DEIS, as is discussed above) will go untreated if alternative 10 is come from an MDOT SHA or private stream restoration project or some other credit source? Where

selected. would the credits come fram if MDOT SHA’s NPDES MS4 permit is not reissued? Without knowing where
the credits will come from it is impossible for the Agencies to determine whether the proposed build

F. The DEIS fails to analyze whether underground storage or stormwater swales could be used to manage alternatives will cause violations of the Clean Water Act, 33 U.S.C. §§ 1311, 1342. If the Agencies have

stormwater, conducted this analysis and know the source of these credits, this information must be provided during
the NEPA process and the public should be afforded the opportunity to comment on this new

For example, the build alternatives could utilize more space within the right of way for stormwater information.

treatment, and proposed drainage swales could be designed as stormwater management swales.

Underground storage could also be built into the shoulders/medians where there is less regular traffic. The Conservancy objects to the manner with which the credit ratio for impacts is restricted to stream

See the revised alternative image below for an example: resources classified as having “medium” function value. Rock Creek’s classification Is less than high quality

primarily because of degradation caused by lack of stormwater and environmental treatment from

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existing runoff from |-495, as well as inadequate and inconsistent maintenance of the current outfalls?.
MDOT SHA cannot cause the degradation, then use the degradation it caused to suggest that less
mitigation is needed. The stream features should be treated in the same way as the high quality
resources are treated, The highly urbanized nature of the Rock Creek area must be accounted for and the
extremely high functional value ecosystem functions of these resources must be appropriately mitigated.

Replacing land in or mitigating damages to the Rock Creek stream valley parks with land miles away strips
local residents of the quality of life benefits in favor of a short-lived travel time benefits’ for drivers and
at a great cost to the taxpayers of Maryland. In addition, the DEIS underestimates the amount of
mitigation required because it may have underestimated the limits of disturbance of the project. The
limits of disturbance should be expanded to accommodate onsite treatment of new and existing runoff to
protect Rock Creek from the impacts of this roadway.

H. The DEIS Does Not Consider All Alternatives for Mitigation of Project-Generated Stormwater.

Stormwater management should be as close as possible to the project site, and all facilities should be
within the Rock Creek watershed. The stormwater management strategies used should reduce more
stormwater runoff than the volume flowing off all existing and additional lanes into Rock Creek. Rainfall
estimates used to calculate those stormwater volumes should account for the more intense storms
expected as a function of climate change. Techniques used should emphasize reduction in sediment,
bacteria, and phosphorous. Section V.C., below, offers comments on specific sites proposed in the DEIS.

The project’s innovative design should extend to stormwater management. This might include
considering the significant opportunity for restoration projects that exist downstream, particularly in Rock
Creek Park of the National Park Service in Washington DC. Areas of parkland that currently hold
recreational facilities (such as ballfields) could be restored and additional parkland acquired elsewhere
nearby. Green streets projects could be used creatively to manage stormwater that flows to the creek
and calm traffic that may be an incidental effect of the new traffic patterns. Stormwater storage could be
placed under the current |-495road bed, or the road could be raised to cover additional storage.

Acredit system to develop stormwater management on private (or federal, like the Uniformed Services
University) land could be developed similar to the stormwater retention credit program in the District of
Columbia: landowners would be compensated for the value of stormwater management on their private
property. An independent entity would need to approve plans, inspect, and ensure annual maintenance
of the facilities. These could be placed throughout the Rock Creek watershed to reduce volume into the
creek and its tributaries, with emphasis on lands that drain to the project area or those areas that
experience indirect stormwater impacts.

The highway could be covered with a “roof” over the current highway and add parkland on top to replace
recreational areas along the creek and then restore existing recreational areas as natural areas. Freeway
cap parks have been constructed in Dallas (Klyde Warren Park) and Seattle (Freeway Park)™.

* From MNCPPC pr tion to ission (httpsy//ww ppc.org/D: Center! View/15750/102120-Commission-Mecting-Staff-
Report-DEIS-and-JPA-comments-. SB)
‘0 https://www.bloomberg, inews/articles/2018-09-06/traffic-jam-blame-induced-d d

\" https://www-americancityand ry.com/2019/08/07/from-freeway-to-
walkway/#:~:text=0n%20June%2014%2C%20the%20city,called%20a%20frecway%20cap%20park.

V. The Joint Federal/State Application (JPA) for a Clean Water Act § 404 permit fails to meet Clean Water
Act requirements and is not in the public interest.

A. The JPA Fails to Meet CWA § 404(b)(1) Requirements

The Corps should deny the JPA for a Section 404 permit because the permit application fails to meet
EPA's Section 404(b)(1) requirements. First, the JPA must be denied because there is “a practicable
alternative to the proposed discharge which could have less adverse impact on the aquatic ecosystem.”
40 C.F.R. § 230.10(a),. Second, pursuant to 40 C.F.R. § 230.10(b), the Corps must deny the permit unless it
finds that the proposed discharges would not violate state water quality standards or toxic effluent
standards under CWA § 307, 33 U.S.C. § 1317(a)(1), or jeopardize the existence of endangered or
threatened species, including all species listed in the DEIS Natural Resources Technical Report, Appendix
N, Agency Correspondence. Third, pursuant to 40 C.F.R. § 230.10(c), the Corps should deny the JPA
because the discharges are likely to contribute to significant degradation of water quality. The additional
discharges proposed under the JPA will contribute cumulatively to significant degradation of wetlands,
life stages of aquatic life and other water-dependent wildlife, aquatic ecosystem diversity, and aesthetic
value of the impacted wetlands and waterways. Fourth, pursuant to 40 C.F.R. § 230.10(d), the JPA must
be denied because the Agencies have failed to take sufficient steps to minimize harm to protected
waters, which includes waters of the United States and wetlands that serve as habitat to plants and
animals, 40 C.F.R. § 230.3.

B. Issuing a CWA § 404 Permit Would Not be in the Public Interest

Even if the JPA for a Section 404 permit meets EPA’s Section 404(b)(1) guidelines, the Corps should deny
the permit because the proposed build alternatives are not in the public interest. The Corps must conduct
a public interest review to evaluate "the probable impacts, including cumulative impacts, of the proposed
activity and its intended use on the public interest.” 33 C.F.R. § 320.4(a). This review should also reflect
that “wetlands constitute a productive and valuable public resource, the unnecessary alteration or
destruction of which should be discouraged as contrary to the public interest.” 33 C.F.R. § 320.4(b).

C. The Draft Compensatory Mitigation Plan is Incomplete, and the Final Plan Should be Made
Available to the Public Prior to Issuing any Permit

The current Draft Compensatory Mitigation Plan is incomplete, and the final plan should be made
available to the public prior to issuing any permit. the draft compensatory mitigation plan does not
provide detailed information on the proposed maintenance plan, performance standards, mitigation work
plan, monitoring requirements, long-term management plan, adaptive management plan, or financial
assurances but states that these issues will be addressed during the development of the Phase ||
Mitigation Design Plans. DEIS, JPA, Part 13, at 29-31. Additionally, the DEIS does not appear to consult
existing watershed planning, although the document does refer to county master plans to justify the need
for expanded highways. The organizations urge the Corps to take a watershed approach to compensatory
mitigation as is recommended by guidance.” Although the JPA provides a brief summary of Project

"2 The 2000 in-licu fee guidance embraces the watershed approach for in-licu fee mechanisms, stating, “[IJocal watershed
planning efforts, as a general matter, identify wetland and other aquatic resources that have been degraded and usually have

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objectives it fails to provide sufficient details as to how the lost wetland and stream functionality will be
replaced by the proposed compensatory mitigation. See DEIS, JPA, Part 13, at 30. This of particular
concern given that most of the Phase | proposed sites are far away from the proposed build alternatives
and will not abate localized wetland and stream functionality degradation. See DEIS, JPA, Part 18, Figure J-
1, at 69. Furthermore, the objectives fail to provide concrete information determining what success will
look like at the proposed sites because there are no performance standards provided. See DEIS, JPA, Part
13, at 30. The JPA simply states, “[p]erformance standards for all of the wetland mitigation sites will be in
accordance with the Performance Standards and Monitoring Protocol for Permittee-Responsible Nontidal
Wetland Mitigation Sites in Maryland, April 20, 2018.” /d.

The Conservancy does not support the use of mitigation banks rather than permittee-responsible
mitigation or in-lieu fee programs. Although this stated goal for the mitigation package is “to improve
upon the ecological functions in these watersheds with a focus on the impaired conditions and needs,”
and the mitigation sites are to be selected in part on their “potential for watershed improvements,” and
proximity to the impaired areas and “replacement of lost functions and values,” DEIS, App. N, at 4, 9, 20,
in practice construction feasibility and mitigation credits tied to theoretical functional uplift seemed to be
more important criteria. Ultimately, the sites selected were those with the simplest index, acreage, for
wetland credit, and its analog, linear feet for streams. This gives no real way to assess the true value of
the exchange of the wetland or stream lost to highway construction for one or another alternative
proposed mitigation site, as a function-based system might.

Should the Corps decide to approve the permit, the Conservancy supports the selection of the proposed
site in Rock Creek (MPAO0032)* particularly as it is in the same watershed where the Rock Creek
Conservancy recently did a conservation landscaping project. Furthermore, the Conservancy also
supports proposed restoration sites: MO 000294, MO 00034, WSS150159.** The Conservancy generally
recommends coupling stream restoration projects with upland stormwater management — if there is not
a reduction in stormwater flows to restored streams, they are vulnerable to degradation in the future.
The Organizations also support the restoration of the mainstem of Portal Branch, particularly if paired
with green streets installations within the watershed (as most of its impairment is due to stormwater that
flows from nearby outfalls). Most of the watershed that feeds (and damages) Portal is in Montgomery
County. Deerprint Run, a small stream off Daniel Road near Beach Drive, is currently inundated with
sediment and is a good candidate for restoration given that the removal of sediments and the addition of
regenerative stormwater conveyances would allow for the reestablishment of amphibian habitat in what
is an existing wetland. Finally, the organizations encourage the Agencies to review the Potomac River

established a prioritization list of restoration needs, In-lieu fee mitigation projects should be planned and developed to address the
specific resource needs of a particular watershed.” 65 Fed. Reg. 66,914-17 (Nov. 7, 2000),

The 1995 mitigation banking guidance encourages a watershed-based approach as the overall goal of a mitigation bank: “The
overall goal of a mitigation bank is to provide economically efficient and flexible mitigation opportunities, while fully
compensating for wetland and other aquatic resource losses in a manner that contributes to the long-term ecological functioning
of the watershed within which the bank is to be located. The goal will include the necd to replace essential aquatic functions that
are anticipated to be lost through authorized activitics within the bank’s service arca. In some cases, banks may also be used to
address other resource objectives that have been identified in a watershed management plan or other resource assessment.” 60
Fed. Reg. 58,605-14 (Nov. 28, 1995).

13 Although many of Rock Creek's tributaries and the maain stem are in poor to fair condition. This should not exclude them from
consideration; expectations should just be managed accordingly.

'4 This site wes eliminated because of a culvert in need of repair. The culvert should be included in the project. While potential
for ecological uplift may be somewhat limited, removal of current and reduction of sediments would be a benefit from a
stormwater perspective.

'S Access constraints should be further explored before climinating.

‘6 Being high in the landscape should not be an immediate disqualifier; it may simply call for different techniques.

Tunnel project currently under development by DC Water under the C&O Canal and parts of Rock Creek
Park, as this project offers a model for adding stormwater storage relatively unobtrusively and without
significant disruption aboveground.

Additionally, the Conservancy requests that the permit require site monitoring for a period sufficient to
ensure the stream and ecosystems return to a self-stable state, and that the mitigation is meeting all
performance standards, and that the Corp not waive any monitoring. 33 C.F.R. § 332.6 (“The mitigation
plan must provide for a monitoring period that is sufficient to demonstrate that the compensatory
mitigation project has met performance standards, but not less than five years. A longer monitoring
period must be required for aquatic resources with slow development rates (e.g., forested wetlands,
bogs).”). The DEIS states that following construction, the public mitigation sites will be placed in MDOT
SHA’s monitoring program and will be monitored separately by the private remediation site providers for
up to ten years. DEIS, App. N, at 30-31. However, stream and wetland ecosystems, once disturbed,
including by restoration, may take up to 20 years to return to a self-stable state.

D. The DEIS Fails to Provide Information Regarding the Status of the CWA § 401 Certification
Process

The DEIS also fails to indicate the status of the state water quality certifications that are required before
any CWA § 404 permit is authorized unless the certification is waived. 33 U.S.C. § 1341(a)(1); 40 C.F.R.
Part 121. The DEIS simply indicates that a Section 401 Water Quality Certificate is required from both
Maryland and Virginia. DEIS, at 4-78. The Organizations ask for an update on the status of the certification
process.

Vi. The DEIS Does Not Sufficiently Present or Analyze the Costs of the Project or Its Impacts on
Public and Private Property.

Based on the promise of no taxpayer funding, together with claims that the State does not have the funds
to pay for improvements, alternatives that would require public subsidy to deliver were previously
eliminated from review. £.g., DEIS, at ES-9, id., App. B, at 29-30.

However, the DEIS shows that each of the retained build alternatives would require the government to
relocate 25-34 homes. DEIS, at ES-17. These build alternatives would also destroy hundreds of acres of
parkland and historic properties, and would directly affect, even if not condemn, nearly 1,500 additional
private properties. /d. It appears MDOT and state taxpayers will be responsible for the costs of these
takings and other damages.

The DEIS also estimates that the build alternatives might require a state subsidy to be paid to the
developer ranging from $482 million to more than $1 billion depending on the construction price and
interest rates. DE|S, at 2-48 to 2-50. Further, that subsidy does not include an estimated $1 to $2 billion
needed to fund the required relocation of water and sewer infrastructure,” nor does it account for the

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and 1495 Road Widening P3 Project on WSSCWATER Infastrcture (Mare 20, 2020),

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MDOT SHA Response to Rock Creek Conservancy:

Thank you for your comment concerning impacts to Rock Creek’s park and watershed as well as wetlands, streams,
and floodplains. As described in the Supplemental DEIS, the Preferred Alternative was identified after coordination with
resource agencies, the public, and stakeholders to respond directly to feedback received on the DEIS to avoid displacements
and impacts to significant environmental resources, and to align the NEPA approval with the planned project phased delivery
and permitting approach which focused on Phase 1 South only. The Preferred Alternative includes two new, high-occupancy
toll (HOT) managed lanes on I-495 in each direction from the George Washington Memorial Parkway to east of MD 187 and

cost of adequate environmental mitigation. Moreover, although it is not clear what risks MDOT, the State conversion of the one existing high-occupancy vehicle lane in each direction on |-270 to a HOT managed lane and adding one
of Maryland, and Maryland taxpayers will be liable for, it is likely these could be significant. These are all new HOT managed lane in each direction on |-270 from |-495 to north of |-370 and on the |-270 east and west spurs. The
funds the state might choose to use to enhance and protect our natural and cultural resources and Preferred Alternative includes no action or no improvements at this time on |-495 east of the I-270 spur to MD 5 in Prince

quality of life rather than destroying them. ‘
George's County.

As acknowledged in your letter of November 2021, the potential impacts raised in your comment had been identified
in the DEIS related to build alternatives that would have spanned the entire study area. Because the Rock Creek Stream
Valley Park is located outside the Preferred Alternative limits of build improvements, those impacts have now been
completely avoided. The Preferred Alternative impacts the MDE 12-Digit Rock Creek Watershed. The waterway impacts
include two culverts that will not be touched, but are included as impacts for regulatory review. There are also 0.8 acres of
new impervious surface being added within the MDE 12-Digit Rock Creek Watershed. Additional response to the issues
raised are responded to below.

|. Alternatives

Pursuant to the CEQ regulations and FHWA guidance, agencies perform an assessment of potential project
alternatives to determine if they warrant being advanced to detailed study in an ElS. The screening of alternatives is an
essential part of the NEPA process designed to focus attention of the public, stakeholders and the agency decision-makers
on the actions most likely to address the Purpose and Need and to avoid wasteful analysis on options that could not address
the identified fundamental needs. This process involves application of the Study’s established Purpose and Need elements,
as well as other criteria related to transportation planning and the sources of financing a proposed action. Refer to DEIS,
Appendix B.

For the Study, the alternatives screening process first focused on four transportation assessments. Each of the
preliminarily identified alternatives were evaluated on whether or how they addressed: (1) existing traffic and long-term
traffic growth, (2) trip reliability (dependable travel times); (3) additional roadway travel choice, and (4) ease of usage for
travelers. In addition, the Purpose and Need elements were applied to evaluate whether each alternative could: (1)
accommodate population evacuations or emergency response, (2) improve the movement of freight, services and
commuting employees, (3) provide a revenue source, (4) promote multi-modal connectivity, and (5) address expected
environmental impacts. These criteria were applied to all 15 preliminary alternatives to gauge how they would be expected
to satisfy the project Purpose and Need. Refer to DEIS, Appendix B.

In your comments on alternatives, you raised the concern about consideration of MD 200 as an alternative to avoid
environmental resources. Following the Spring 2019 Public Workshops and agency meetings, several Cooperating and
Participating Agencies requested that MDOT SHA evaluate an alternative that would provide an alternate route for travelers
to use MD 200 (Intercounty Connector) instead of the top side of |-495 between I-270 and I-95 to avoid or reduce impacts
to significant, regulated resources and residential relocations to that section of I-495. Refer to DEIS, Appendix B.

Could Raise Water Bills in Montgomery and Prince George’s, Maryland Matters (March 13, 2020),
bttos://www.marylandmatters.ore/2020/03/ 1 3/express-toll-lanes-could-raise-water-bills-in-monteomery-and-prince-peorges

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Importantly, this new screened alternative was developed and analyzed with input from the agencies to the same level of | preference for eliminating property and environmental impacts on the top and east sides of |-495.
detail and using the same approach for the anticipated limits of disturbance as all other screened alternatives. Detailed
traffic analyses were completed on the MD 200 Diversion Alternative to assist in evaluating its ability to meet the Study’s | Il. Impacts to Wildlife and Habitat
Purpose and Need, again, using the same methodology that was used for the Screened Alternatives. The methodology

= The Preferred Alternative impacts the MDE 12-Digit Rock Creek Watershed. The waterway impacts include two
included a three-step process:

culverts that won’t be touched, but were required by the regulatory agencies to be included as impacts. There are also 0.8
e A regional forecasting model was developed for the MD 200 Diversion Alternative using the Metropolitan | acres of new impervious surface being added within the MDE 12-Digit Rock Creek Watershed. Refer to Chapter 5, Section
Washington Council of Governments Travel Demand Model (MWCOG model), the model typically used by MDOT | 5.13 for information on watersheds and Section 5.18 for information on aquatic biota and FEIS, Appendix M for additional

SHA and other transportation agencies to evaluate projects in the Washington, DC metropolitan area; details.
e Outputs from the MWCOG model were used to develop balanced traffic volume projections for the design year of Throughout the NEPA phase of the Study, MDOT SHA has had extensive coordination with federal and state agencies
2040 for each roadway segment and ramp movement within the Study limits; related to the rare, threatened and endangered (RTE) species. The coordination related to RTE species was documented in

the DEIS in Chapter 4, Section 4.19, SDEIS, Chapter 4, Section 4.19, FEIS, Chapter 5, Section 5.19 and FEIS, Appendix M. The
species-specific surveys and additional coordination were documented in the Supplemental DEIS (October 1, 2021) in
Chapter 4, Section 4.19 as well as SDEIS, Appendix H.

MDOT SHA coordinated closely with the US Fish and Wildlife Service (USFWS) and the Maryland Department of
Natural Resources (DNR) to conduct bridge and acoustic surveys for Northern Long-Eared Bat and Indiana Bat within the
study corridors and reports for these efforts are appended to the SDEIS, Appendix H, and FEIS, Appendix M. Informal
consultation between the FHWA, MDOT SHA and the USFWS continued with submittal of the habitat assessment and
acoustic study report to the USFWS and MDNR. In a letter to the FHWA dated January 13, 2021, the USFWS issued a “no
effect” determination for the IB based on the absence of documented IB during bridge, emergence, and acoustic surveys.
The USFWS also indicated that the project is covered by the January 5, 2016, Programmatic Biological Opinion on Final 4(d)

Traffic analysis was performed using the same key traffic metric applied to all Screened Alternatives (System-Wide | Rule for the NLEB and Activities Excepted from Take Prohibitions since the area where forest clearing would occur does not
Delay, Corridor Travel Time and Speed, Level of Service (LOS), Travel Time Index (TTI), Vehicle Throughput; and Effect on | have known maternity roost trees or hibernacula. In their letter, the USFWS stated that the project was “not likely to
Local Roadway Network). After this comprehensive evaluation, MDOT SHA determined that the MD 200 Alternative would | adversely affect” the NLEB. MDOT SHA coordinated closely with USFWS and MDNR regarding NLEB and Indiana bat, and
not address the Study’s Purpose and Need of accommodating long-term traffic growth, enhancing trip reliability, or | Endangered Species Act Section 7 consultation has concluded. MDOT SHA and FHWA have worked closely with USFWS and
improving the movement of goods and services. In fact, the MD 200 Diversion Alternative was the worst performing of the | MDNR to ensure protection of listed bat species. While the Study was determined to have “no effect” on the IB and “not
various Build Alternatives and provided the least congestion relief benefits. Refer to DEIS, Chapter 2 and DEIS, Appendix B. | likely to adversely affect” the NLEB, MDOT SHA voluntarily committed to a time of year restriction for tree clearing from May
Similar to the MD 200 Diversion Alternative, the Preferred Alternative provides less improvement to traffic operations when | 1 through July 31 of any year within a 3-mile buffer around each positive NLEB detection location within the study corridor
compared to the Build Alternatives that included the full 48-mile study limits evaluated in the DEIS (such as Alternatives 9 | to go above and beyond what is required to protect this bat species. One of the three positive detection locations for NLEB
and 10). However, the Preferred Alternative was chosen based in part on feedback from the public and stakeholders who | is located within the Phase 1 South limits of the corridor study boundary. IB was not detected in the acoustic or bridge
indicated a strong preference for eliminating property and environmental impacts on the top and east side of I-495. As the | surveys.

e Traffic simulation models for the MD 200 Diversion Alternative were developed using VISSIM software to determine
the projected operational performance in several key metrics.

Two key underlying factors played a large role in evaluating whether the MD 200 Diversion Alternative could meet
the project Purpose and Need. First, the portion of |-495 proposed to be excluded from any improvements is one of the
most congested and least reliable segments of highway in Maryland. While the presumed TSM/TDM measures could slightly
improve congestion there, that portion of I-495 would still experience severe congestion. Second, while MD 200 currently
has adequate capacity to accommodate the potential for diverted traffic, it was anticipated that portions of MD 200 would
reach capacity during peak travel periods by 2040. Therefore, the ability to handle diverted traffic would be limited in the
future.

analysis indicates, congestion would still be present during the PM peak period on !-270 northbound and the I-495 inner Maryland special status aquatic species that may be present in waterways within the corridor study boundary were

provided by DNR and are included in the DEIS, Appendix L and presented in FEIS, Chapter 5, Section 5.18. MDE and USACE

will include permit conditions related to aquatic life passage to ensure that aquatic life is protected at new and replaced
Therefore, even recognizing that the MD 200 Diversion Alternative would have avoided all residential displacements | culverts and bridges. MDOT SHA is in coordination with MDE, DNR, USFWS, and NMFS to ensure that commitments are

and all but one business displacement and would have reduced the number of parks and historic resources potentially | included in the ROD to protect aquatic life passage.

impacted by the proposed action, MDOT SHA’s final conclusion, concurred in by the FHWA, was that this alternative would

not adequately meet the established Purpose and Need.

loop in the design year of 2045 due to downstream bottlenecks outside of the Preferred Alternative limits but would not
get worse due to implementing the Preferred Alternative.

Ill. Project’s Effects on Historic and Cultural Resource Impacts to Parkland

Although the Preferred Alternative also avoids improvements to the topside of |-495 and provides less improvement
to traffic operations when compared to the DEIS Build Alternatives, it was chosen based in part in response to comments
received from the public, partner agencies and stakeholders who indicated a strong

Section 4(f) of the U.S Department of Transportation (USDOT) Act of 1966 as amended (49 USC 303(c)) is a Federal
law that protects significant publicly-owned public parks, recreation areas, wildlife and/or waterfowl refuges, or

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any significant public or private historic sites. Section 4(f) applies to all transportation projects that require funding or other
approvals by the USDOT. As a USDOT agency, FHWA must comply with Section 4(f) and its implementing regulations at 23
CFR 774. The Draft Section 4(f) Evaluation for the proposed action is appended to the DEIS (Appendix F) and summarized in
Chapter 5 of the DEIS with updated information related to the Preferred Alternative summarized in Chapter 5 of the SDEIS.
The Final Section 4(f) Evaluation can be found in FEIS, Appendix G, and FEIS Chapter 6.

Selection of the Preferred Alternative was partly based on extensive coordination with and input from agencies and
stakeholders, including the Officials with Jurisdiction (OW4Js) for Section 4(f) properties. See DEIS, Chapter 5, Section 5.4;
SDEIS, Chapter 7; FEIS Chapter 6. Agency and stakeholder comments on the DEIS and Draft Section 4(f) Evaluation
specifically requested avoidance of parkland and historic resources within the study area. The Preferred Alternative is
responsive to the comments received and aligns the Study to be consistent with the phased delivery and permitting
approach, which limits the build improvements to Phase 1 South and avoids improvements on 1-495 east of the I-270 east
spur. The result is complete avoidance of a substantial number of Section 4(f) properties and a large reduction of parkland
acreage impacts within the Study limits, which remain the same as in the DEIS. Design refinements have progressed since
the Preferred Alternative was identified, resulting in additional avoidance and minimization of impacts. and quantified
impacts have been broken down into permanent or long-term effects and temporary or short-term construction-related
effects.

As noted previously, the Preferred Alternative avoids impacts to Rock Creek Stream Valley Park, in fact the Preferred
Alternative avoids over 100 acres of park and historic properties, including:

¢ Minimize impacts by over 50% to National Parks near the American Legion Bridge (George Washington Memorial
Parkway and Chesapeake & Ohio Canal National Historical Park) and completely avoid three other National Parks:
Baltimore Washington Parkway, Greenbelt Park, and Suitland Parkway.

e Avoids approximately 20 acres of Maryland-National Capital Park and Planning Commission parkland including Rock
Creek, Sligo Creek, and Northwest Branch Stream Valley Parks.

The Preferred Alternative will result in the use of 33.2 acres of Section 4(f) properties. The DEIS presented measures
that had been identified to ensure all possible planning to minimize harm and mitigate for adverse impacts and effects. See
DEIS, Appendix F; SDEIS, Section 5.4. Additional minimization and mitigation efforts have been implemented in conjunction
with the Preferred Alternative, as described in the Updated Section 4(f) Evaluation. SDEIS Chapter 5 and Final Section 4(f)
Evaluation FEIS, Appendix G. More specifically, MDOT SHA has identified and will pursue the acquisition of replacement
parkland in coordination with NPS, M-NCPPC, the City of Rockville, and the City of Gaithersburg as potential mitigation for
parkland impacts. MDOT SHA has also identified other potential mitigation opportunities, including trail and path
improvements; improvements to park facilities and amenities, tree planting and invasive species removal, water quality
improvements, ecological restoration, as applicable. Refer to FEIS, Chapters 6 and 7, and FEIS Appendix G. Mitigation for
the use of NPS-owned parkland would also be consistent with stipulations identified in the Section 106 Programmatic
Agreement and would be coordinated with the MHT and Section 106 consulting parties.

Final mitigation commitments are included in the Final Section 4(f) Evaluation and in the FEIS. Refer to Chapters 6
and 7 and FEIS, Appendix G. The final commitments include all possible planning to minimize harm.

IV. Analysis of How Increased Stormwater Will Affect Receiving Waterways

Maryland Stormwater Management Law is relatively strict with the goal of maintaining post development runoff as
nearly as possible to pre-development runoff characteristics. This project will require both Erosion and Sediment Control
permits and Stormwater Management Permits and will have to meet a high standard of providing protection to receiving
waters both during and after construction.

The project is required to provide stormwater treatment for all new impervious area, which includes approximately
0.8 acres in the Rock Creek watershed. Given the strict stormwater permitting requirements, impacts to downstream water
quality from stormwater runoff are not expected.

A conceptual preliminary level of identification of stormwater management (SWM) needs was considered
throughout the Phase 1 South limits when establishing the LOD for the Preferred Alternative. The Maryland Stormwater
Management Act of 2007 emphasizes environmental site design (ESD) and consideration of SWM early in the planning stage
of a project to better balance transportation needs, right-of-way considerations, and requirements of the Act, which include
both water quality (i.e., ESD) and water quantity management. Water quality management treats the first flush of rainfall to
remove pollutants and improve downstream conditions. Water quantity management stores and slowly releases water to
reduce downstream flooding.

Final design is necessary for completion of the SWM permits. One purpose of NEPA is to encourages and in some
cases forbids the use of federal funds for completion of final design until after a ROD to avoid the expense of performing
final design on multiple alternatives. If a Build Alternative is selected in the ROD, final design will progress and permits relying
upon final design will progress. Erosion and Sediment Control permits will be required and BMPs, such as, super silt fence,
clear water diversion and sediment traps will be used to protect receiving waters during construction. Stormwater
management permitting will be required to protect receiving waters after construction. Stormwater management permits
require that all discharges for the 10-year storm be controlled to match the existing discharges. Detailed calculations will be
required to show that runoff leaving the ROW will be conveyed in a stable manner and not worsen downstream flooding. In
addition, all new impervious area will require water quality treatment onsite. Onsite water quality treatment is preferred,
however, if it is not possible to provide all water quality onsite, offsite water quality will be allowed for existing
“reconstructed” impervious area. The offsite treatment must be provided in the same 6-digit watershed. Therefore, the
impacts to receiving waters both in terms of total pollutant loads and increased stormwater volumes will be minimal

In addition, sensitive waters, such as, Tier | watersheds and Use III and IV watersheds have additional requirements
and restrictions on the type of SWM that can be used to provide extra protection for these sensitive resources.

A SWM analysis was updated for the SDEIS and FEIS based on the Preferred Alternative. Refer to SDEIS, Chapter 2,
Section 2.3.2 and FEIS, Chapter 3, Section 3.1.6.lmpacts to existing SWM facilities, as identified in the NPDES database, was
also included in the analysis. All existing shoulders and 25% of existing lanes were assumed to require reconstruction, which
results in 39 to 44% of existing pavement assumed to be reconstructed. Environmental mapping included in Appendix E of
the FEIS displays the impervious area associated with the Preferred Alternative. It also shows the proposed large SWM
facilities along the alignment. Through continued coordination with agencies, including M-NCPPC, US Army Corp of
Engineers, and MDE, the proposed SWM facility locations have been refined in response to agency comments. The proposed
SWM facilities inform the LOD, which is then commented on by the public. Culverts under 36” in size were not included in
the culvert analysis because there are very few culverts smaller than 36”. Since MD SWM Law requires that stormwater
volumes be controlled to existing levels prior to leaving

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the site, existing culverts will not see increases in SWM flows from this project. Preliminary hydrology was done on all
culverts over 36" in diameter in order to identify culverts that are potentially undersized in existing conditions, due to
development upstream of the project.

Avoidance and minimization was considered in siting on-site and offsite SWM facilities in order to avoid or reduce
impacts to natural resources, Section 4(f), Section 106, and private properties. Coordination meetings with agencies,
including MNCPPC, MDE, US Army Corps of Engineers, National Park Service, etc., were conducted to minimize or eliminate
impacts to sensitive areas. Many SWM facilities were eliminated due to impacts, which is why underground vaults were
incorporated into the SWM analysis.

Section 2.3.2 of the SDEIS includes a discussion of the types of SWM considered. Both stormwater swales and
underground storage were included. Swales are provided along the alignment wherever feasible. Coordination meetings
with agencies, including MNCPPC, MDE, US Army Corps of Engineers, National Park Service resulted in elimination of some
swale locations in order to reduce/eliminate impacts to sensitive resources. In addition, underground vaults are provided
under both the outside and inside shoulders where feasible.

Due to the heavily urbanized areas and numerous resources along the study corridors that limit the amount of SWM
water quality that can be practically provided on-site, alternate means for providing SWM were evaluated. MDOT SHA
performed an extensive planning-level study to identify compensatory, or off-site, SWM opportunities to ensure the SWM
water quality requirements of the Preferred Alternative could be met. The results of this evaluation, as originally presented
in the SDEIS, were modified for the FEIS based on further analysis and development of the on-site SWM and the
compensatory SWM analysis. Refer to Appendix C of the SDEIS for the Draft Compensatory SWM Plan and Appendix D of
the FEIS for the Final Compensatory SWP Plan. Both documents show sufficient water quality credits to meet the anticipated
offsite requirements within the watershed.

Stormwater management permits will require that onsite SWM be maximized and that all new pavement and 50
percent of reconstructed pavement be treated. If the full water quality cannot be provided onsite, offsite stormwater
management locations will be allowed within the same 6-digit watershed.

V. The Joint Federal/State Application (JPA) for a Clean Water Act § 404 Permit

MDOT SHA has worked closely with the regulatory agencies to ensure that the JPA meets Clean Water Act
requirements. MDOT SHA maintains that the record supports a finding that there is no practicable alternative that could
have less adverse impact on the aquatic ecosystem, while still meeting the study’s Purpose and Need and other
environmental avoidance and minimization requirements. The Corps will determine based on its own separate analysis
whether the Preferred Alternative is the least environmentally damaging practicable alternative (LEDPA).

The Draft Compensatory Mitigation Plan was included as Appendix N to the DEIS. This plan outlined the detailed
mitigation site search as well as the resulting mitigation sites identified for stream and wetland restoration as 404 mitigation
for the |-495 & I-270 MLS. The Final Compensatory Mitigation Plan is included in FEIS Appendix O and includes the Phase II
mitigation plans for the selected stream and wetland mitigation sites in Maryland. Virginia has a mitigation credit program
that identifies appropriate sites for wetland and stream mitigation to compensate for unavoidable impacts. Onsite
stormwater management has been maximized to the greatest extent practicable within the Study Preferred Alternative
LOD. The remaining stormwater treatment will be achieved offsite. The Final Compensatory Stormwater Mitigation Plan is
in the FEIS, Appendix D and includes a summary of the site search process and the resulting stormwater sites identified for
offsite stormwater

management to cover the stormwater treatment need for the Study.

The Study requires a Clean Water Act Section 401 Water Quality Certification from Maryland and Virginia indicating
that anticipated discharges from the Study will comply with state water quality standards. MDOT SHA has coordinated closely
with MDE, the Virginia Department of Environmental Quality (VDEQ), and the USACE to ensure that all state water quality
standards are met for the Study. Permits will be sought from the USACE, MDE, and VDEQ for unavoidable impacts to
wetlands and waterways concurrent with publication of the FEIS. Maryland and Virginia Water Quality Certifications will be
requested at the same time. Minimization efforts for potential water quality impacts that could result from road crossings
may include the proper maintenance of flood-prone flows through proposed structures using flood relief culverts to avoid
increased scour and sedimentation. Most of the stream systems within the corridor study boundary currently have floodplain
access; this should be retained as much as possible to preserve benefits such as velocity dissipation, storage, and
sedimentation/stabilization. Other efforts would consider retaining or adding riparian buffers, as well as maintaining or
improving aquatic life passage. The complete Joint Permit Application is also included in FEIS, Appendix P.

VI. Costs of the Project and Its Impacts on Public and Private Property

As disclosed in the SDEIS and FEIS, the Preferred Alternative would between $3.0 and $3.5 Billion. This estimate
includes costs for construction, property acquisition, and environmental mitigation. The Preferred Alternative avoids all
residential and commercial displacements. The FEIS presents the results of the estimated property impacts based on
preliminary design. As the design of the Preferred Alternative progressed, property impacts were minimized where feasible.
All affected private property owners will be compensated for the fair market value of the acquired portion of land and any
structures acquired for the construction of the Preferred Alternative. The final right-of-way requirements for the project will
be determined in final design.

MDOT does not have enough funds to construct improvements of the magnitude associated with the Preferred
Alternative. Additionally, MDOT does not have enough bonding capacity to take out loans to pay for the improvements, even
with the promise of tolls to pay them back. Therefore, MDOT elected to use a Public-Private Partnership or P3 approach to
fund the project.

A P3 is an alternative model for delivery of a capital project in which the governmental sector works with the private
entities. The particular P3 model identified for the Study is a progressive multi step approach. This P3 model, like others,
seeks to make the most of private sector expertise, innovation, and financing to deliver public infrastructure for the benefit
of the public owner and users of the infrastructure. This P3 agreement includes designing, building, financing, operating, and
maintaining a transportation facility, however, MDOT SHA would continue to own all lanes and infrastructure on |-495 and
I|-270 and ensure the highway meets their intended transportation function. Many comments expressed concern over the
use of the P3 model, specifically pointing out challenges to the delivery of the Purple Line project, which was also done
through a P3 agreement. While concerns over the Purple Line project are understandable, the Study P3 Agreements are
different from the Purple Line and other P3s in Maryland, in that this process uses a multi-step Progressive P3 model to
further identify and reduce impacts and risks. The first step of this process is the collaborative Predevelopment Work. The
evaluation criteria for the Predevelopment Work focused on reducing project risk, providing schedule certainty and the
ability to deliver Phase 1 with no State of Maryland funding. The selected concessionaire for the project proposed a sound
approach to delivering Phase 1 that will greatly reduce the likelihood of challenges that other projects have faced. The
Progressive P3 approach allows the concessionaire to closely collaborate with MDOT, Maryland Transportation Authority
(MDTA) and other stakeholders during the Predevelopment phase before finalizing its

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design and pricing, which will reduce and mitigate risks and challenges that would exist in a more traditional procurement | This page is intentionally left blank.
process as well as other P3 models.

MDOT SHA acknowledges receipt of your SDEIS Comment Letter dated November 15, 2021. Refer to Appendix T for a
response to this SDEIS Comment Letter.

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